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                     Exhibit A
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  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14                                   SOUTHERN DIVISION
  15

  16   GREG BLATT,                             Case No. 2:19-cv-07046-MWF-FFM(x)
  17                      Plaintiff,
                                               FIRST AMENDED COMPLAINT
  18           v.
                                               JURY TRIAL DEMANDED
  19   ROSETTE PAMBAKIAN and
       SEAN RAD; and DOES 1 – 10,
  20   inclusive,
  21                      Defendants.
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   1           Plaintiff Greg Blatt (“Blatt” or “Plaintiff”), by his attorneys, Susman Godfrey
   2   L.L.P., for his First Amended Complaint against defendants Rosette Pambakian
   3   (“Pambakian”) and Sean Rad (“Rad”) (collectively, “Defendants”), alleges the
   4   following, on information and belief, except as to Plaintiff’s own acts, which are
   5   based on Plaintiff’s knowledge, as follows:
   6                                NATURE OF THE ACTION
   7          1.      This is an action for defamation and defamation per se. As part of their
   8   scheme to extract billions of dollars from IAC/InterActiveCorp (“IAC”) and Match
   9   Group, Inc. (“Match”), Pambakian and Rad have conspired to make false allegations
  10   of sexual harassment and sexual assault against Blatt with the specific intent to
  11   damage Blatt’s good name, personal and professional reputation, and credibility. In
  12   so doing, Rad and Pambakian have attempted to weaponize an important social
  13   movement, undermining the plight of true victims of sexual abuse by making false
  14   accusations in cynical pursuit of a $2 billion windfall. Blatt brings this action to obtain
  15   redress for the false accusations that have been leveled against him, accusations that
  16   have been motivated by greed and personal animus, not fact.
  17          2.      Pambakian and Rad are former executives at Tinder, Inc. (“Tinder”).
  18   Tinder is wholly owned and operated by Match, and Match is a controlled subsidiary
  19   of IAC. At various times, Blatt served as CEO of IAC, Match, and Tinder. In August
  20   2018, both Pambakian and Rad (along with several other current and former Tinder
  21   executives) filed a lawsuit in New York (the “Valuation Lawsuit”) claiming that IAC
  22   and Match, in large part through the actions of Blatt, failed to properly value their
  23   Tinder stock options. Specifically, the plaintiffs in the Valuation Lawsuit claim that
  24   they would be entitled to an additional $2 billion if their Tinder options were properly
  25   valued. Blatt is expected to be a key witness for IAC and Match in the Valuation
  26   Lawsuit. Damaging Blatt’s credibility and tarnishing his character are important
  27   elements of Pambakian’s and Rad’s litigation strategy in that action.
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   1          3.      Blatt had been Rad’s boss, directly or indirectly, throughout Rad’s
   2   tenure at Tinder. Over that time, Rad came to blame Blatt for a variety of perceived
   3   transgressions, including Rad’s failure to obtain control of Tinder soon after its launch
   4   in 2012, Rad’s demotion from the position of Tinder’s senior executive in 2015, and
   5   Rad’s ultimate dismissal from Tinder management in 2016.              Following Rad’s
   6   departure from the company, one executive told Blatt, “I have never met anyone who
   7   hated anyone as much as Rad hates you.”
   8          4.      But the event that pushed Rad over the edge happened in April 2017.
   9   The contractually agreed appraisal process, pursuant to which two investment banks
  10   would value the Tinder stock options, was scheduled for May. Hoping to avoid the
  11   process altogether, Rad and Blatt began negotiating in March to see if they could agree
  12   on a value, which would obviate the need to continue with the appraisal process.
  13          5.      Rad and Blatt had different perspectives regarding how Tinder should be
  14   valued under the relevant agreement, however, and it soon became apparent that an
  15   agreement on valuation was unlikely.        As discussions began to fall apart, Rad
  16   concluded that Blatt’s further participation in the valuation process would lead to a
  17   significantly lower payout to Rad.        In Rad’s eyes, Blatt had committed an
  18   unforgiveable sin: interfering with Rad’s dreams of a lucrative, outsized payout. Rad
  19   snapped.
  20          6.      On April 18, 2017, shortly before negotiations ended, Rad determined to
  21   destroy Blatt. In an email to his financial advisor, Rad wrote: “Fuck him. We’re at
  22   war. We will destroy him. This is going to be the biggest lesson of his life. He will
  23   be a changed man. . . excited for him 😊.” See Exhibit 22 (emphasis added). The
  24   following week, Rad made a false accusation that Blatt had sexually harassed
  25   Pambakian at a Tinder holiday party some five months earlier. As confirmed by
  26   multiple Tinder employees, including Pambakian, Rad made the complaint to obtain
  27   Blatt’s dismissal or suspension from his position as Tinder’s CEO in order to seek
  28   retribution against Blatt and secure a significantly higher valuation of Rad’s options.

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   1   At this time, Rad also began working on a lawsuit against IAC and Match, even
   2   though the appraisal process had not even started yet. Rad viewed the situation as a
   3   “war,” and he would fight it on all possible fronts.
   4          7.      Rad’s complaint against Blatt was thoroughly investigated by in house
   5   counsel and two outside law firms. Mandy Ginsberg, the current CEO of Match, later
   6   made clear that Pambakian had not supported Rad’s claim of sexual harassment at the
   7   time, stating in an email to Pambakian, “[Y]ou never reported Greg for sexual
   8   harassment. . . . you were interviewed on at least two separate occasions [during the
   9   investigation] and you never alleged sexual harassment.” See Exhibit 1. In fact, just
  10   before Rad undertook to level his false accusation against Blatt, Pambakian urged a
  11   friend to help Pambakian talk Rad out of going forward with his allegation, lamenting
  12   presciently that “[m]oney really is the root of all evil.” See Exhibit 2. It was clear to
  13   Pambakian that Rad was making accusations against Blatt to increase his long-sought
  14   payout from Tinder, and she didn’t want him to do it.
  15          8.      Rad’s gambit failed: the investigation concluded that Blatt had not
  16   engaged in any harassment or abuse, and Blatt was not dismissed or otherwise
  17   removed from the appraisal process. After completion of the appraisal in mid-July
  18   2017, Rad elected to sell all his stock options, personally making hundreds of millions
  19   of dollars, even though, after taking the money, he now claims that the price was
  20   “unfair.” Pambakian similarly elected to sell her stock options, pocketing nearly $5
  21   million. However, Rad became furious when the value of Tinder subsequently
  22   increased. If Rad had only held his stock options a few months longer, he would have
  23   made hundreds of millions of dollars more. Seething over this lost opportunity, Rad
  24   revisited his plans for a lawsuit against IAC and Match to get a “do over” on the value
  25   of the stock options he had already liquidated.
  26          9.      Rad continued to believe, that the key to obtaining the valuation he
  27   desired, this time through winning his lawsuit, was destroying Blatt’s credibility and
  28   tarnishing his character. Accordingly, Rad once again attempted to enlist Pambakian

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   1   to make a harassment or assault claim against Blatt. Rad was convinced that no jury
   2   would side with an accused sexual harasser or the company that employed him.
   3          10.     However, for a second time, Pambakian refused to join his scheme.
   4   Pambakian knew Blatt had neither harassed nor assaulted her. Blatt and Pambakian
   5   had a good working relationship and were also good friends. Her career at Tinder was
   6   thriving. Pambakian had recently received a meaningful promotion and was as happy
   7   at work as she had ever been. Pambakian did not want to attack Blatt. In fact, rather
   8   than attack him, Pambakian aggressively lobbied Blatt to stay on at Tinder even after
   9   he announced his plans for departing the company, writing: “There’s still just one
  10   right direction to go in. . . . Stay. . . . Things aren’t perfect but it’s not difficult to make
  11   it better.” See Exhibit 3.
  12          11.     In December 2017, Blatt left the company and Pambakian’s new boss
  13   decided to bring in a new marketing executive to whom Pambakian would now report.
  14   Pambakian was unhappy about being denied the promotion. Rad saw his opening.
  15          12.     Desperate to recruit Pambakian for his scheme to sue Match and IAC,
  16   Rad decided to sweeten the pot to induce Pambakian to join him. Specifically, under
  17   the guise of a litigation funding agreement, Rad promised millions to Pambakian in
  18   exchange for her joining the Valuation Lawsuit and making false allegations of sexual
  19   harassment against Blatt. These payments – which Rad arranged through a third-party
  20   financial firm, Bench Walk Advisors, came in two parts: Part One involved a
  21   promised upfront payment simply for joining the lawsuit and making the allegations
  22   against Blatt. This upfront payment was Pambakian’s to keep, regardless of whether
  23   the lawsuit succeeded. Part Two involved a contingency payment in the event the
  24   Valuation Lawsuit was victorious.          This contingent payment would be paid to
  25   Pambakian before Rad received even one cent. Collectively, these multi-million
  26   dollar payments far exceeded what Pambakian would have received if she had joined
  27   the lawsuit like an ordinary co-plaintiff. Moreover, under the special arrangement,
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   1   she would remain entitled to her payout even if she dropped out of the lawsuit for any
   2   reason (which she did just 17-days after filing the complaint).
   3          13.     In essence, Rad was willing to pay Pambakian out of his own pocket in
   4   order to convince her to join the Valuation Lawsuit. This arrangement only made
   5   sense from Rad’s perspective if he believed that Pambakian’s participation would
   6   increase his chance of victory in the suit. Pambakian did not know anything about the
   7   central claims of the Valuation Lawsuit; the only way Pambakian’s participation could
   8   increase the chances of winning the suit was through the addition of the false
   9   allegations concerning sexual harassment against Blatt, allegations that Pambakian
  10   was only willing to make after receiving the upfront payment. Securing Pambakian’s
  11   false allegations was the driving motive behind these payment arrangements. Indeed,
  12   of the nine plaintiffs in the Valuation Lawsuit other than Rad, the only other plaintiff
  13   who received an arrangement comparable to Pambakian’s was the only other plaintiff
  14   who Rad was counting on to make false allegations against Blatt. All the other
  15   plaintiffs, none of whom have any special testimony to offer in the case, have to wait
  16   until the lawsuit is concluded to see if they get paid. The legality of the arrangement
  17   with Pambakian is currently being challenged in the Valuation Lawsuit.
  18          14.     Having finally flipped Pambakian and others, on August 14, 2018, Rad
  19   brought his lawsuit against IAC and Match. In that lawsuit, Rad, this time with
  20   Pambakian’s support, leveled the same allegations of sexual harassment against Blatt
  21   that he had made a year before, even though those allegations had nothing to do with
  22   the central legal issues relating to the valuation claims. Rad and Pambakian then
  23   embarked on a coordinated media campaign to ensure that their false charges against
  24   Blatt were widely-disseminated to the public, which they were.
  25          15.     Months later, at a critical juncture of the Valuation Lawsuit, Pambakian
  26   brought a separate lawsuit against Blatt, Match, and IAC (the “Pambakian Lawsuit”)
  27   reiterating the same false allegations against Blatt, though with increased fictitious
  28   detail and sensationalism. This new lawsuit – and the corresponding new round of

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   1   coordinated outreach to the media – drove a fresh wave of headlines that once again
   2   tarnished Blatt’s reputation.       Notably, in this second lawsuit, Pambakian is
   3   represented by the law firm whose founding partner is also the founding partner of
   4   Bench Walk Advisors, the firm responsible for making the aforementioned payments
   5   to Pambakian, and who stands to be paid handsomely if the Valuation Lawsuit is
   6   successful. It is clear that the allegations against Blatt in the Valuation Lawsuit, the
   7   press, and the Pambakian Lawsuit, are merely coordinated tactics to tarnish Blatt’s
   8   reputation to drive an anticipated $2 billion payday in the Valuation Lawsuit, the
   9   largest piece of which would go to Rad.
  10          16.     The evolution throughout this period of how Pambakian describes what
  11   happened between her and Blatt is illustrative. Immediately after the holiday party,
  12   Pambakian playfully described what happened in a text to her friends as “antics,”
  13   populating her messages with a smiley face and laughing emojis. Twenty months
  14   later, however, in the Valuation Lawsuit, Pambakian alleged that Blatt “sexually
  15   harassed and groped” her. Months after that, Pambakian ratcheted up the intensity
  16   further, claiming to the press that what had happened with Blatt was a “sexual assault.”
  17   And then finally, months later, in the Pambakian Lawsuit, Pambakian asserted that
  18   Blatt had “physically and sexually assaulted” her. With each passing articulation,
  19   Blatt and his transgressions became more nefarious.
  20          17.     Rad and Pambakian’s primary defamatory statements against Blatt are
  21   the claims of sexual harassment and sexual assault. In order to support these primary
  22   defamatory statements, Rad and Pambakian have made numerous other assertions
  23   against Blatt designed to villainize him and make their claims more believable. All
  24   these additional assertions are likewise false. Specifically:
  25                      a.   Rad and Pambakian claim that Blatt routinely subjected
  26                           Pambakian to inappropriate behavior. This is false. In reality,
  27                           contemporaneous documents show that Blatt and Pambakian had
  28                           a close professional and personal relationship both before and

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   1                           after the holiday party.     For example, in various messages,
   2                           Pambakian writes, “I love Greg Blatt”, “I absolutely adore you”
   3                           and “I’m with [Tinder employee] right now drinking tequila and
   4                           talking about how much we love you.” Pambakian also socialized
   5                           with Blatt, lobbied Blatt to reverse his decision to leave the
   6                           company, and repeatedly made clear her desire to maintain her
   7                           relationship with Blatt even after he departed the company.
   8                      b.   Rad and Pambakian claim that after Blatt made unwanted sexual
   9                           advances to Pambakian at the Tinder holiday party, Pambakian
  10                           fled Blatt in horror and sought refuge in a hotel room. This is
  11                           false. In reality, Pambakian did not flee Blatt at the holiday party,
  12                           but rather invited him, in front of other witnesses, to come up to
  13                           the hotel room and ordered an avocado cheeseburger for him from
  14                           room service in anticipation of his arrival.
  15                      c.   Rad and Pambakian claim that Pambakian dutifully reported
  16                           Blatt’s “assault” but in turn was ignored, marginalized and
  17                           disparaged. This is false. In reality, Match has publicly stated
  18                           that she never made any such allegations, and Pambakian
  19                           acknowledges in contemporaneous messages that she “never
  20                           wanted anyone to know about” what happened between Blatt and
  21                           her and wrote to a friend immediately before Rad made his
  22                           allegations, “I need your help talking him out of it.”
  23                      d.   Rad claims that Blatt threatened Rad for raising the allegations of
  24                           sexual misconduct against him. This is false. In reality, Blatt and
  25                           Rad were never alone together during the entire pendency of the
  26                           investigation into Rad’s complaint, and Blatt never threatened
  27                           Rad about the investigation in any way. Contemporaneous notes
  28                           from a conversation between Blatt and Rad after the investigation

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   1                           had closed demonstrate that Rad apologized to Blatt for having
   2                           made the false allegations.
   3                      e.   Rad and Pambakian claim that Pambakian’s career suffered
   4                           horribly as a result of Blatt demeaning her and not taking her
   5                           seriously as a business executive. This is false. In reality, while
   6                           trying to prevent Rad from making his false allegations,
   7                           Pambakian laments to a friend, “[t]hings were finally going well
   8                           with work.” Then, even after the false complaint was made,
   9                           Pambakian received, and acknowledges receiving, a meaningful
  10                           increase in responsibilities, title, and compensation, all while
  11                           Blatt was CEO of Tinder. In fact, she wrote to Blatt in the wake
  12                           of her promotion, “Thank you for everything – for helping me
  13                           so much.”
  14                      f.   Finally, Rad and Pambakian claim that Blatt reigned over a
  15                           misogynistic work culture that routinely mistreated women. This
  16                           is false.   In reality, they were both well aware of Match’s
  17                           unparalleled record for career advancement for women while
  18                           Blatt was CEO, with over 75% of all Match employees reporting
  19                           to a woman executive, two-thirds of Blatt’s Tinder direct reports
  20                           being women, almost 50% of all Match vice presidents women,
  21                           100% gender equality in pay, and, upon Blatt’s departure, the
  22                           promotion of two women with whom Blatt had worked closely
  23                           for nearly a decade to the positions of CEO and President. When
  24                           Blatt announced his departure from Tinder, Pambakian wrote,
  25                           “You’d literally have to resurrect Steve Jobs and make him ceo
  26                           for anyone to be excited about this.” In Blatt’s entire career he
  27                           had never been the subject of a single allegation of sexual
  28                           misconduct, other than the one lodged by Rad, nor has any such

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    1                         complaint been made against him in the year since Rad’s and
    2                         Pambakian’s false allegation against him were so publicly made.
    3          18.     Claims of sexual harassment and sexual assault should be taken seriously
    4   and thoroughly investigated. That is precisely what happened here. All allegations
    5   were investigated, and the claims were found to be without merit. This is not
    6   surprising as, unlike most accusations of sexual misconduct, which are “he-said/she-
    7   said” situations in which the accuser typically has no incentive to lie, in this case, (1)
    8   there is a clear financial motivation for Pambakian to fabricate and publicize the false
    9   claims against Blatt; (2) multiple witnesses contradict Pambakian’s allegations; and
   10   (3) extensive written communications among Blatt, Pambakian, and others, as well as
   11   other documents, materially contradict her accusations.
   12          19.     Blatt therefore brings this suit to obtain compensation for the willful and
   13   malicious false statements Pambakian and Rad have knowingly and intentionally
   14   made to advance their personal, financial interests.
   15                                        THE PARTIES
   16          20.     Plaintiff Gregory Blatt is a citizen of the State of Colorado. Prior to
   17   December 2017, Blatt was the CEO and Chairman of Match Group and the CEO and
   18   Executive Chairman of Tinder.
   19          21.     Defendant Rosette Pambakian is a citizen of the State of California.
   20   Pambakian was the Vice-President of Global Communications and Brand and Head
   21   of Marketing and Communications at Tinder.
   22          22.     Defendant Sean Rad is a citizen of the State of California. At various
   23   times from approximately February 2012 to December 2016, Rad was the CEO of
   24   Tinder.
   25          23.     Plaintiff is not aware of the true names and capacities of the Defendants
   26   sued herein as Does 1 through 10, whether individual, corporate, associate, or
   27   otherwise and therefore sues such Defendants by these fictitious names. Plaintiff will
   28   seek leave to amend this Complaint to allege their true names and capacities when

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    1   ascertained. Plaintiff is informed and believes, and on that basis alleges, that each of
    2   the fictitiously named Defendants is responsible in some manner for the occurrences
    3   herein alleged and that Plaintiff’s injuries and damages herein alleged were legally
    4   caused by such Defendants. Unless otherwise indicated, each Defendant was acting
    5   within the course and scope of said agency and/or employment, with the knowledge
    6   and/or consent of said co-Defendant.
    7          24.     Plaintiff is informed and believes and thereupon alleges that all times
    8   mentioned herein, each of the Defendants, including each Doe Defendant, was acting
    9   as the agent and/or servant, and/or partner of and was acting in concert with each of
   10   the remaining Defendants, including each Doe Defendant, in doing the things herein
   11   alleged, while at all times acting within the course and scope of such agency, service,
   12   and/or partnership. Each Defendant, in doing the acts alleged herein, was acting both
   13   individually and within the course and scope of such agency and, with the knowledge
   14   and/or consent of the remaining Defendants.
   15                               JURISDICTION AND VENUE
   16          25.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
   17   because this action between citizens of different states and the amount in controversy
   18   exceeds $75,000.
   19          26.     Venue is proper in the Central District of California, Southern Division
   20   because all the Defendants are California residents who reside in the Central District
   21   of California and a substantial part of the events that give rise to the claim occurred
   22   in the Central District of California.
   23                                FACTUAL ALLEGATIONS
   24   I.       Rad’s Tumultuous Career at Tinder
   25          27.     In 2012, Rad took a job working at Hatch Labs, an IAC subsidiary. The
   26   sole purpose of Hatch Labs was to start and develop new businesses which would be
   27   owned and controlled by IAC. While an employee at Hatch, Rad and other Hatch
   28   employees developed Tinder. Once Tinder had launched and gained early success,

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    1   Rad demanded the majority of Tinder’s economic ownership and associated control.
    2   Given that the whole point of Hatch was to develop businesses IAC would own and
    3   control, IAC declined this rather odd request. Rad was outraged and has never gotten
    4   over this perceived slight.
    5          28.     While IAC was not willing to simply give Tinder to Rad, IAC did believe
    6   in providing ownership incentives for its employees. IAC thus provided Tinder
    7   employees a stock option structure similar to one that had been used for other business
    8   lines within IAC, although Tinder’s was substantially more generous. Rad and other
    9   Tinder employees would receive stock options in Tinder that would vest over time
   10   and would be valued in future years through a contractually-defined appraisal process.
   11   Following the appraisal, Tinder employees would be able to sell their stock options
   12   back to IAC. This structure would effectively give Tinder employees the economic
   13   benefits of stock ownership, even though Tinder was actually owned by IAC. These
   14   stock options, and the ultimate payout Rad would receive for them, became his “white
   15   whale.” Everything Rad did from that point forward was designed to maximize that
   16   payout, and he obsessed over it relentlessly.
   17          29.     As Tinder grew into a global phenomenon, it quickly became clear that
   18   Rad was not cut out to be CEO. In the fall 2014, about two years after Tinder was
   19   launched and almost three years before Tinder’s stock options would be valued, Rad
   20   was informed that a new CEO was to be brought in. Rad was demoted to President –
   21   the number two position in Tinder management. After several months, however, Blatt
   22   determined that the new Tinder CEO was not a good fit at that stage of the company’s
   23   development. Recognizing the challenges of bringing in a second outside person to
   24   lead an organization like Tinder, and fearing destabilization if that second CEO
   25   struggled, Blatt approached Rad about a new solution: Rad would be restored the title
   26   of CEO, but Rad would report directly to Blatt. For his part, Blatt would now spend
   27   the majority of his time on actively managing Rad and Tinder. Rad would continue
   28   to be the number two executive at Tinder, just as he had been since his demotion

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    1   earlier that year, but he would regain the CEO title, which he coveted, as well as
    2   certain other responsibilities he had previously lost.
    3          30.     In the summer 2015, Blatt and Rad together announced that Rad would
    4   be returning as CEO, and Blatt would become his direct boss, stepping into the newly
    5   created position of Tinder’s Executive Chairman. The hope was that Rad’s passion
    6   for the business coupled with Blatt’s managerial experience and industry expertise
    7   would be the combination that Tinder needed. However, it quickly became clear that
    8   Rad was not up to the task. Internal chaos intensified, failed initiatives proliferated,
    9   and executive calls for change became the norm. Ironically, the most pressing
   10   problems were in product development, which was ostensibly Rad’s strong suit. Rad
   11   claimed that he was too distracted with other elements of his job to drive product
   12   development as required. Accordingly, Blatt and Rad agreed to reorganize Rad’s
   13   responsibilities to eliminate those supposed distractions.          In July 2016, Rad
   14   surrendered all his responsibilities and direct reports to Blatt, other than those relating
   15   to product development.
   16          31.     Rad was given six months to reverse certain product trends.               If
   17   successful, Rad and Blatt would discuss whether Rad should have additional
   18   responsibilities restored. However, the trends were not reversed, and finally Rad
   19   relinquished the Tinder CEO title and his remaining responsibilities in December
   20   2016, receiving the honorary title of non-executive Chairman of Tinder. At the same
   21   time, Blatt formally assumed the role of Tinder CEO, even though he had functionally
   22   been in the role for 6 months and had been the senior Tinder executive for 18 months.
   23          32.     In the Valuation Lawsuit, Rad alleges that Match removed Rad in
   24   December 2016, just months before the options appraisal process, so that Blatt would
   25   be able to conduct the appraisal process on Tinder’s behalf instead of Rad. Rad
   26   attempts to portray the management change as a conspiratorial usurpation of his
   27   rightful authority. But there was no plot. Rad was incompetent in his position, and,
   28   after multiple failed attempts to put Rad in a position to succeed, he was removed.

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    1   Moreover, given that Rad had not been in charge of Tinder for approximately two
    2   years by that point, his removal hardly had the consequences he now tries to attribute
    3   to it. Accepting responsibility for his own actions was not a substantial part of Rad’s
    4   character, and so he blamed Blatt, singularly and intensely, for the fact that his own
    5   incompetence had ended his tenure at Tinder.
    6   II.     The 2016 Tinder Holiday Party
    7          33.     Pambakian was a public relations executive and well-regarded Tinder
    8   employee. Beginning in July 2015, Blatt worked closely with Pambakian, even
    9   though she did not report to Blatt. During the time they worked together, Blatt and
   10   Pambakian developed a productive professional relationship and a close friendship.
   11   For example, on December 7, 2016, just two days before the Tinder holiday party,
   12   Pambakian wrote a text message to James Kim, a Match finance executive. In it, she
   13   wrote, “I love Greg Blatt.”       Kim responded, “He’s a great business leader.”
   14   Pambakian replied, “Well I don’t know about that. Lol. I just love him.” See
   15   Exhibit 4 (emphasis added). (Kim would later become a co-plaintiff in the Valuation
   16   Lawsuit.)
   17          34.     On the evening of December 9, 2016, Blatt attended the Tinder holiday
   18   party. During the party, Blatt and Pambakian started talking and the conversation
   19   turned flirtatious when Pambakian said, “You have a magnificent chest, Greg Blatt.”
   20   After that, they had an irreverent and, at times, ribald and suggestive conversation,
   21   with Pambakian and Blatt both laughing throughout. Neither of them indicated at any
   22   time that they took offense at the other’s comments, and both were enthusiastic
   23   participants. At some point afterward, Pambakian suggested to Blatt that when the
   24   party was over, they find a hotel room to host an after-party.
   25          35.     Later, as the party was winding up, Blatt and Pambakian, among others,
   26   wanted to find something to eat. Unable to find any restaurants open in the hotel,
   27   Blatt suggested broadly to the people he was with, including Pambakian, that they
   28   “get out of there” to find food. Pambakian asked a hotel employee whether there was

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    1   any way they could get food at the hotel, and the employee responded that food could
    2   only be obtained at that hour by hotel guests through room service. Pambakian then
    3   suggested to Blatt and two other Tinder employees who were with them at the time
    4   that they all go to one of the Tinder employees’ hotel room to order food.
    5          36.     Blatt did not go straight up to the room with the others, but instead spoke
    6   to some other Tinder employees who had not yet left the party. Blatt then texted one
    7   of the Tinder employees for the room number, and the employee, with Pambakian’s
    8   knowledge, texted the number to him.
    9          37.     Blatt ultimately came to the hotel room. Pambakian and two other
   10   Tinder employees were there. For a brief period, Blatt’s and Pambakian’s fully-
   11   clothed bodies were in contact, and Blatt and Pambakian kissed. The interaction was
   12   consensual.        Room service was then delivered.          Soon after eating, Blatt
   13   departed. While in the hotel room, Blatt and Pambakian were fully clothed at all
   14   times. After that evening, Pambakian and Blatt never engaged in any further physical
   15   encounters.
   16          38.     On Monday morning, Blatt apologized to Pambakian for the other night,
   17   saying he had used poor judgment and, given their working relationship, he had let
   18   things go too far. Pambakian responded, “Please. I’m sorry, too. It was as much me
   19   as it was you.” They agreed that they didn’t want anything to interfere with their good
   20   relationship, and Pambakian suggested to Blatt that they not tell anyone Blatt had gone
   21   up to the room. Blatt agreed. Blatt also apologized to the other two employees who
   22   had been in the hotel room for what had happened the previous evening.
   23          39.     Work went on as usual for Blatt and Pambakian, and their good
   24   relationship continued. But after Pambakian entered into the litigation funding
   25   agreement, she attempted to rewrite history.
   26          40.     Pambakian now claims that she was so offended by the conversation she
   27   and Blatt had at the holiday party that she fled Blatt and sought refuge from him in a
   28   friend’s hotel room. But the truth is that, rather than flee, Pambakian invited Blatt up

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    1   to the hotel room in front of several people, well after the allegedly offensive
    2   conversation had ended.
    3          41.     Pambakian makes no claim that in the hotel room she ever asked Blatt to
    4   stop their encounter or otherwise provided any clear signal of reluctance. Instead, she
    5   claims that, as a way of “de-escalating the situation,” she broke away from Blatt,
    6   saying “We’re all hungry. I’m going to order food,” and then went ahead and ordered
    7   room service. However, that never happened. Room service records and text
    8   messages establish that Pambakian actually ordered food fifteen minutes before Blatt
    9   even arrived in the room. Relatedly, Pambakian claims she was surprised when Blatt
   10   showed up, but these same records establish that she ordered four cheeseburgers to
   11   the room, even though it was only with Blatt’s arrival that there were four people there
   12   to eat them. Pambakian had invited Blatt up to the room, knew he would soon be
   13   there and ordered food for him accordingly.
   14          42.     A flurry of friendly messages exchanged the next morning between
   15   Pambakian and Blatt in which they joked about their hangovers belie Pambakian’s
   16   assertion that she believed she had been assaulted by Blatt just hours earlier. For
   17   example, Blatt emailed Pambakian and one of the Tinder employees, “My head hurts.”
   18   Pambakian promptly responded “Same. I literally can’t get out of bed.” Later she
   19   emailed “This is nothing a Bloody Mary can’t fix😉” and then toward the end of the
   20   day she wrote, “Well I don't know about you two but I just had a 90 minute massage
   21   and I feel amazing.” See Exhibit 5.
   22          43.     That same morning, Pambakian sent the following text message to the
   23   other two Tinder employees who had been in the hotel room with her and Blatt: See
   24   Exhibit 6.
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    8   Thus, just hours after what she now claims was a “physical and sexual assault”,
    9   Pambakian described what happened with Blatt as “antics” to the two other people
   10   who had been in the room. “Antics” means “a wildly playful or funny act.” By
   11   contrast, “assault” means a “physical attack.” Consistent with this word choice,
   12   Pambakian then invited the others to “rehash” these “antics” with her later as “often
   13   as possible,” underscoring how fun that would be by ending her text with an emoji
   14   that conveys laughter to the point of tears. It seems it was only after she received a
   15   promise of substantial payments to join the Valuation Lawsuit that “antics” and
   16   “physical and sexual assault” became interchangeable descriptions.
   17   III. Rad’s False Allegations Against Blatt
   18          44.     During spring 2017, Blatt, Pambakian, and the rest of the Tinder team
   19   were enjoying a period of relative calm in the wake of Rad’s departure. However, the
   20   first valuation of Tinder for purposes of its stock options was scheduled for May 2017,
   21   and given how much Rad had obsessed about this event, there was no way this calm
   22   could continue. Starting in late March, Blatt began meeting with Rad and Rad’s
   23   financial and legal advisors trying to agree upon a value for Tinder. If they could
   24   agree, there was no need to go through the contractually-defined appraisal process,
   25   because Rad had the contractual right under the option arrangement to negotiate on
   26   behalf of all option holders, even though he was no longer an executive at the
   27   company.
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    1          45.     But not surprisingly, there was a large gap between Rad’s fantastical
    2   view of valuation and reality. The agreement called for Tinder to be valued as it would
    3   be by the public markets as a standalone company at that moment in time. Yet Rad
    4   was arguing for a valuation that was comparable to, or larger than, what the stock
    5   market was putting on Match as a whole, which encompassed 100% of Tinder and
    6   many other businesses much larger than Tinder. Rad could not separate his view of
    7   what Tinder would be worth in the future from the contractual requirement to value
    8   Tinder as the actual stock market would at that time. In fact, the exercise did not
    9   require much speculation, given the market was, in fact, valuing Tinder every day as
   10   the most focused-on element of Match’s stock. Given Rad’s unrealistic view, the
   11   valuation discussions fell apart on April 25. What Blatt did not know at the time was
   12   that Rad had already switched strategies more than a week before.
   13          46.     Rad had always been known for his emotional volatility: high highs and
   14   low lows. And since Tinder’s founding, when IAC had refused to turn over control
   15   of the business to him, he had lived in a paranoid state, profoundly believing that
   16   everything was rigged against him. When Rad concluded that Blatt would not simply
   17   concede a Tinder valuation that Blatt deemed unsupported by the facts, and would
   18   instead engage in a full appraisal process with investment banks to try to determine a
   19   fair value for the business, something inside of Rad snapped. He came to view the
   20   process to value Tinder as an existential contest and the possibility that he would not
   21   receive what he wanted apocalyptic. Toward the “end” of securing his desired payout,
   22   all “means” would be justified.
   23          47.     Accordingly, on April 18, 2017, Rad confirmed his plan to seek
   24   retribution against Blatt as a means of advancing his valuation objectives: “Fuck him.
   25   We’re at war. We will destroy him. This is going to be the biggest lesson of his life.
   26   He will be a changed man … excited for him 😊.” See Exhibit 22 (emphasis added).
   27   At the same time, he reached out to the law firm of Alston & Bird to begin drafting a
   28   complaint for the lawsuit against IAC and Match that would follow the appraisal,

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    1   regardless of the outcome. Rad had made the determination. He would “win” the
    2   valuation fight at any cost, and the more damage he could inflict on his perceived
    3   enemies in the process, the better.
    4          48.       On May 3, 2017, Blatt was called into a meeting with IAC’s General
    5   Counsel and a senior IAC litigator. They told him they had received a complaint and
    6   wanted to know what had occurred at the Tinder holiday party six months prior. Blatt
    7   conveyed his account of the evening. But something wasn’t right. Blatt had adhered
    8   to Pambakian’s wishes and never discussed that evening with anybody. He also knew
    9   Pambakian viewed the evening as he had – a mutual lapse in judgment – and would
   10   therefore have never made a complaint about it. So he asked, “Who made the
   11   complaint?” The lawyers said they couldn’t disclose that information, but Blatt, at
   12   risk of losing all credibility, said, “I’ll bet anything it wasn’t [Pambakian].”
   13          49.       Ultimately, Blatt learned that he had been right and that Pambakian had
   14   not made the complaint against him. Instead, it had been Rad. On April 27, 2017,
   15   just two days after negotiations with Blatt over the value of Tinder broke down, and
   16   nine days after Rad declared war against Blatt, Rad called Match’s General Counsel
   17   and asserted that Blatt had committed sexual harassment at the holiday party five
   18   months earlier and had created a hostile atmosphere at the company, especially to
   19   women.
   20          50.       Rad acknowledges in the Valuation Lawsuit that he believed Blatt’s
   21   removal would lead to a higher valuation of Tinder in the appraisal process. And
   22   multiple Tinder employees, including Pambakian, have confirmed that Rad intended
   23   to use the false harassment claim to improve the valuation outcome for himself and
   24   other Tinder employees.
   25          51.       For example, on May 23, 2017, in Blatt’s office at Tinder, Pambakian
   26   said to Blatt:
   27           [Rad] came to me and said Greg is out to kill our valuation. We need
   28           to do something about it    . . .   Sean said he wanted to use [the holiday

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    1           party] against you to help valuation. I told him he can’t    . . .   I begged
    2           him not to. I cried. But he wouldn’t listen.
    3           52.    And on July 22, 2017, at the Tinder summer party, a Tinder executive
    4   familiar with the situation confirmed what a frenzy Rad had stirred himself into in
    5   order to destroy Blatt and drive a higher valuation. He told Blatt:
    6           [Rad] was crazy . . . You don’t know. I had to stop him. I stopped it
    7           from going crazy . . . You did nothing wrong. I know you did nothing
    8           wrong. We all know you did nothing wrong . . .
    9           53.        Later, after Pambakian entered into the litigation funding agreement and
   10   the Valuation Lawsuit was filed, Rad and Pambakian attempted to paint a false portrait
   11   of two people committed to pulling back the curtain on Blatt’s and Match’s
   12   wrongdoing, whatever the cost. Unfortunately for them, their electronic footprints
   13   from the time reveal a different reality.
   14           54.    For example, Rad claimed in the Valuation Lawsuit that he learned about
   15   what happened at the holiday party in “mid-2017” and “immediately reported Blatt’s
   16   conduct.” However, on February 11, 2017, nearly three months prior to the time he
   17   actually made his complaint to the board, Rad received a text from his good friend
   18   and co-plaintiff in the Valuation Lawsuit, Justin Mateen, stating: “Forgot to tell you.
   19   The dokhtar1 actually did make out etc with greg Blatt.” See Exhibit 7. This timeline
   20   demonstrates that Rad knew about what had happened at the holiday party for months
   21   and remained silent. Rad chose to report the incident only when his valuation
   22   negotiations with Blatt broke down. Notably, the message makes no mention of
   23   assault or harassment. Instead it says Pambakian “did make out etc” with Blatt, hardly
   24   the wording one would expect to convey that Pambakian, his good friend, had been
   25   violently assaulted. Similarly, Mateen presents the information as an afterthought,
   26   having forgotten earlier to pass on the news. Finally, Rad’s reaction is not one of
   27   alarm. None of this is consistent with having just discovered that a sexual assault
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            “dokhtar” means “girl” in Persian.
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    1   occurred.
    2          55.     In the Pambakian Lawsuit, Pambakian claims that she reported the
    3   assault to her then boss, with the expectation that he would report it to Human
    4   Resources on her behalf. However, to the extent Pambakian did report it to her then
    5   boss, she certainly did not do so in the hopes that he would seek some sort of official
    6   redress. She makes this clear in a May 15, 2017, email in which she expresses her
    7   regret that Rad made the complaint against Blatt and commenced the internal
    8   investigation. In the email, she states: “I never wanted anyone to know about that
    9   incident and why [my boss] thought it appropriate to tell Sean about it I’ll never
   10   understand. But he did and here we are.” See Exhibit 8.
   11          56.     Pambakian also claims she told Rad about the holiday party with the
   12   intention of his reporting it through the proper channels.        However, in truth,
   13   Pambakian was horrified when she learned that Rad had found out about what
   14   happened, as evidenced by a lengthy text chain from March 1, 2017, in which she tries
   15   to determine how Rad found out and expresses concern that Rad will “use it against”
   16   Blatt. See Exhibit 9. Then, on April 27, the day Rad would ultimately make the
   17   complaint against Blatt, Pambakian writes a friend saying: “I need your help talking
   18   him out of it.” See Exhibit 10.
   19          57.     Similarly, Pambakian claims she told the company’s investigators that
   20   Blatt had assaulted her, but Mandy Ginsberg, CEO of Match, wrote Pambakian in an
   21   email, “you were interviewed on at least two separate occasions [during the
   22   investigation] and you never alleged sexual harassment.” See Exhibit 1. Indeed, in
   23   an email written for Blatt on May 15, 2017, while the Board’s investigation was
   24   ongoing, Pambakian stated, “My attempt to fix this seemingly unfixable situation
   25   might seem feeble, but I needed to try . . . We both know what’s happening here. I
   26   just hope that everyone who has been brought into this can see it for what it is and
   27   move on.” See Exhibit 8. At the time of the investigation, rather than trying to
   28   implicate Blatt, Pambakian was trying to save him from Rad.

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    1          58.     In response to Rad’s complaint, the Match Board promptly commenced
    2   a thorough investigation of the allegations, first internally, and then with the assistance
    3   of two nationally recognized law firms. Blatt cooperated fully with the investigation,
    4   conveying his account of the relevant events, acknowledging his poor judgment that
    5   evening, and expressing genuine regret at what had occurred. When the investigation
    6   concluded, the Board determined that Blatt had not committed sexual harassment or
    7   violated any other company policy or law. The Board did, however, agree with Blatt
    8   that he had exercised poor judgment. As a result, the Board determined that an
    9   appropriate reprimand was to cancel an option grant Blatt had been scheduled to
   10   receive in early May worth millions of dollars. Blatt accepted his punishment without
   11   objection. But the Board otherwise considered Blatt an executive in good standing.
   12          59.     The timing of Rad’s allegations against Blatt make clear this was all just
   13   a tactic to achieve a greater payout, rather than an attempt to serve justice. Rad had
   14   learned about the holiday party in February 2017 but did nothing about it for months.
   15   Then, beginning on April 27, 2017, precisely when the valuation process started, to
   16   July 13, 2017, when the valuation process was completed, Rad and/or his attorneys
   17   reached out to Match and its representatives dozens of times to argue Blatt was
   18   dangerous to the company and should be removed. However, once the valuation was
   19   completed, Rad dropped the matter entirely, despite the fact that Blatt continued as
   20   CEO for another five months, supervising Pambakian. The claim was only raised
   21   again more than a year later, the day that Rad initiated his second pursuit of a higher
   22   valuation for Tinder in the Valuation Lawsuit.
   23   IV.     Rad Reacts to Tinder’s Valuation and Offers a Hollow Mea Culpa
   24          60.     The appraisal process relating to Tinder’s options was completed in mid-
   25   July 2017, determining Tinder’s value to be approximately $3.0 billion, far below the
   26   level Rad had been clamoring for, but entirely consistent with Match’s market
   27   valuation of approximately $5.0 billion, which included all of Tinder plus a host of
   28   other well-known businesses.

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    1          61.     In August 2017, Rad did not sue Tinder for an unfair valuation. Instead,
    2   he elected to sell all his options related to Tinder at the price he now claims was so
    3   unfair and went on vacation to Mykonos. But Tinder had launched a new product
    4   feature at the end of July which quickly exceeded everyone’s expectations, including
    5   Rad’s. When Rad returned from vacation in September, Tinder’s financial prospects
    6   were improving more than expected. By selling his options instead of holding onto
    7   them a little longer, as he could have, Rad gave up hundreds of millions of dollars of
    8   additional compensation. Rad was fuming.
    9          62.     Pambakian and another Tinder executive reported to Blatt that Rad was
   10   considering litigation against Tinder and Match. However, Pambakian and the other
   11   executive did not want Rad to sue Tinder. They met with him repeatedly to diffuse
   12   his anger and reported to Blatt on Rad’s volatile state of mind. Pambakian and the
   13   executive finally called Blatt one evening in September saying Rad needed to meet
   14   with Blatt that evening. Blatt tried to put it off, but Rad texted Blatt demanding that
   15   they meet immediately. (In an example of Rad’s and Pambakian’s willingness to lie
   16   about matters big and small, they contend in the Valuation Lawsuit that Blatt and Rad
   17   met at Blatt’s urging, when the text messages make clear that the opposite is true.)
   18          63.     Blatt met with Rad at a local hotel for several hours. Rad was varyingly
   19   disconsolate and indignant, rehashing the panoply of grievances that had driven him
   20   since the beginning: a supposed lack of respect, alleged stolen ownership of Tinder,
   21   and an unfair valuation of Tinder options. Rad was emotionally volatile, cycling from
   22   anger, to remorse, to hostility, to a desire for reconciliation. Rad demanded a new,
   23   undefined role at Tinder and significant new equity ownership in the business. Blatt
   24   informed Rad that given his behavior over the last months, he thought it was highly
   25   unlikely that the company would be willing to re-engage with him.
   26          64.     At that meeting, which occurred long after the investigation into the
   27   holiday party had concluded, Blatt and Rad discussed for the first and only time the
   28   harassment allegations Rad had made against him. Blatt expressed his shock and

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    1   disappointment that Rad had stooped so low as to make the false allegations. Rad
    2   responded: “The one thing I regret is coming after you like that. At the time I thought
    3   I had to do it. But I realize I didn’t. I’m sorry about that. And I promise you I will
    4   never come after you or hurt you like that again.” After making the apology, Rad
    5   followed Blatt into the men’s room and attempted to give him what he seemed to think
    6   was a conciliatory hug. It was clear that Rad was not stable at the time. At a regularly
    7   scheduled Match Board meeting a few days later, Blatt described his meeting with
    8   Rad and Rad’s apology, naively asserting that whatever Rad’s next move, he believed
    9   the days of false allegations of sexual misconduct were behind them.
   10          65.     As Blatt had long planned, he left the company in December 2017,
   11   replaced by Elie Seidman. Then, in spring of 2018, Pambakian was told that Seidman
   12   had decided to hire a new Chief Marketing Officer, to whom Pambakian would report.
   13   Pambakian was upset; she had wanted that position. As a result of this perceived
   14   slight, she quickly grew unhappy with her situation at Tinder, and nervous about her
   15   prospects under her fourth boss in approximately a year.                  Pambakian’s
   16   communications with Rad increased, and she became more withdrawn from the group
   17   of Tinder employees with whom she had previously spent the most time. This was
   18   the opportunity for which Rad had been waiting.
   19   V.      Rad Finally Recruits Pambakian
   20          66.     On August 14, 2018, Rad finally brought his lawsuit against Match and
   21   IAC. This time, however, unlike the last time, Pambakian conspired with him, joining
   22   the lawsuit as a co-plaintiff. Of course, Pambakian did not do so until she entered into
   23   the litigation funding arrangement that paid her millions of dollars, regardless of the
   24   outcome, and which would pay her meaningfully more in the event of a successful
   25   suit than she would have received by virtue of her option holdings.
   26          67.     Nonetheless, as Rad had desired for so long, he now had a lawsuit that
   27   contained allegations of “sexual harassment and groping” against Blatt, even though
   28   such claims had no legal relevance to the central claim that Tinder had been

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    1   undervalued. Instead, it was a brazen attempt to gain publicity for what would
    2   otherwise be a run-of-the-mill financial lawsuit, to apply pressure to settle the lawsuit
    3   in an era where most companies would be afraid to challenge assertions of sexual
    4   misconduct, and to tar the character of the person who would likely be the central
    5   witness on behalf of the defendants: Blatt.
    6          68.     Rad and Pambakian shared the same lawyer, and over a span of two days
    7   Rad, Pambakian, and the lawyer conducted a series of coordinated interviews on CNN
    8   to promote the lawsuit, in which Blatt was defamed in multiple ways. Rad, who had
    9   by far the largest option stake of any Tinder employee, orchestrated and directed, and
   10   was the primary beneficiary of, the coordinated legal and public relations campaign.
   11          69.     Finally, the Pambakian Lawsuit was filed, in which Pambakian’s false
   12   rendition of the holiday party and the claimed injustices she suffered under Blatt’s
   13   management became even more sensational. This drove another round of press
   14   coverage intended to weaken Blatt and further promote Pambakian’s and Rad’s
   15   interests in the Valuation Lawsuit.
   16   VI.     Pambakian Attempts to Recast Her Relationship with Blatt
   17          70.     In order to bolster her false claims about what happened at the Tinder
   18   holiday party, Pambakian felt compelled to falsely paint Blatt in a negative light and
   19   to misrepresent the nature of their professional and personal relationship.          For
   20   example, she now claims that “Blatt was a notorious bully, known for violent
   21   outbursts and vindictive retribution.” However, she does not offer a single example
   22   to support her contentions. She also asserts that she endured Blatt’s “inappropriate
   23   behavior throughout their working relationship, culminating in December 2016.”
   24   Another falsehood. In reality, Blatt and Pambakian had a strong working and personal
   25   relationship, incompatible with her current assertions against Blatt, as made clear by
   26   dozens and dozens of written communications from Pambakian herself.
   27          71.     For example, on December 7, 2016, after years of what Pambakian now
   28   alleges was Blatt’s inappropriate behavior, Pambakian wrote a text message to James

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    1   Kim, who would later become a co-plaintiff in the Valuation Lawsuit. In it, she wrote,
    2   “I love Greg Blatt.” Kim responded, “He’s a great business leader.” Pambakian
    3   replied, “Well I don’t know about that. Lol. I just love him.” See Exhibit 4 (emphasis
    4   added). This was just two days before the holiday party.
    5          72.     Later, in the midst of the investigation into Rad’s complaint against Blatt,
    6   Pambakian wrote an email to Blatt. In it, she states “Maybe I haven’t made it obvious
    7   enough but I absolutely adore you – I admire and respect you and I would never
    8   intentionally or maliciously do anything that would jeopardize your reputation or your
    9   job – not for anything. You’ve been good to me over the years and I’ll always be
   10   grateful to you for that.” See Exhibit 8 (emphasis added).
   11          73.     Pambakian’s warmth toward Blatt cannot be explained away as just
   12   cover because Pambakian needed to keep Blatt happy as her boss. Even after
   13   Pambakian learned Blatt was leaving Tinder and would no longer be her boss, and
   14   even after Blatt had, in fact, left Tinder, Pambakian continued to express her
   15   admiration and affection for Blatt, and her desire to socialize and maintain a close
   16   relationship with him. These sentiments are reflected in literally dozens of written
   17   exchanges, only a few of which are included here, but all of which, especially in
   18   totality, are inconsistent with the current allegations.
   19          74.     For example, in July 2017, months after the holiday party and weeks after
   20   Pambakian learned Blatt would soon be leaving Tinder, Blatt was at a Tinder event
   21   that had been organized by Pambakian. Pambakian playfully wrote to Blatt:
   22           Already seeing posts on Instagram from influencers      . . .   Instagram is
   23           an app where you can upload photos and share with all of your friends
   24           and followers. Influencers are people with a high number of followers.
   25           (Sorry. Couldn’t help myself) Have some more frosè pops for me. That
   26           shade of blue looks nice on you.
   27   See Exhibit 11.
   28

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    1          75.         In early August 2017, Blatt wrote: “in a crowning achievement of an
    2   awesome few weeks I spontaneously developed an eye infection on Tuesday which
    3   has progressed to the point that it is now swollen shut and itchy as Hell.” Pambakian
    4   responded, “I’m sure you’re still gorgeous, even with an itchy swollen eye.” See
    5   Exhibit 12.
    6          76.     Indeed, in direct response to Blatt’s announced departure from Tinder,
    7   Pambakian repeatedly praised his leadership and expressed her sadness at his
    8   impending departure, writing:
    9        “You’d literally have to resurrect Steve Jobs and make him ceo for
   10           anyone to be excited about this.”
   11        “If you didn’t know already, everyone has a lot of respect for you.
   12           You’re crazy smart and talented and you care. We are lucky to have
   13           you. Just wish we can keep you longer.”
   14        “I’m with [another Tinder employee] right now drinking tequila and
   15           talking about how much we love you.”
   16        “I don’t even want to think about [you leaving the company]. So
   17           depressing. Nothing to look forward to anymore.”
   18   See Exhibits 13, 14, & 15 (emphasis added).
   19          77.     Pambakian also repeatedly asked Blatt, who she now alleges had forcibly
   20   assaulted her earlier, to change his mind about leaving the company. In early August,
   21   they shared this email exchange, in which Pambakian explicitly references Rad’s
   22   recent attempt to get Blatt fired:
   23           Pambakian: But you can cut through the bullshit. End of the day,
   24           what’s right is right. Take everyone’s emotions and personal agendas
   25           out of it. There’s still just one right direction to go in. And you know
   26           what that is.
   27

   28           Blatt: Absolutely. (What is it?)

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    1

    2           Pambakian: Hahaha. Stay. Get rid of the people who don't put what's
    3           best for the company first. . . . we're all on the same page. Things aren't
    4           perfect but it's not difficult to make it better. Various external forces
    5           were causing chaos. They shouldn't be an issue anymore. Everyone
    6           just had a reality check and has put their heads back on straight,
    7           finally (except for you know who).
    8

    9           Anyway, more to say in person one day.
   10 See Exhibit 3 (emphasis added).

   11          78.     In November 2017, just a few weeks prior to his departure, Pambakian
   12   and another Tinder employee invited Blatt for drinks in LA. Pambakian wrote in her
   13   text: “[Greg] - don't say no. Our fragile hearts can’t take any more rejection.”
   14   After going out to dinner with Pambakian and other employees the next night,
   15   Pambakian asked Blatt in a text: “Can you keep coming out to LA so we can do that
   16   at least once a month?” Blatt responds, “Yes.” and Pambakian replies, “Yay!!!” See
   17   Exhibit 15 (emphasis added). Similarly, in the same time frame, Pambakian emailed
   18   Blatt and another marketing employee stating she was thinking about doing a
   19   marketing junket to Sundance Film Festival in Park City, and wrote, “Greg you should
   20   come,” even though she knew Blatt would be departing his job at Tinder in a few
   21   weeks, long before the Sundance Film Festival would occur. See Exhibit 21.
   22          79.     Just before Blatt’s final day at Tinder, Pambakian expressed her respect
   23   for Blatt and desire to maintain a relationship with him after he departed the company.
   24   Blatt wrote her: “I’ve asked [] to schedule time together tomorrow so that I can walk
   25   you through what I walked him through and impart to you a few tidbits of wisdom
   26   from an old has-been.” She replied, “30 years from now you still won’t be an old has-
   27   been. And we’ll all still be coming to for advice.” Blatt wrote, “30 years from now
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    1   I’ll be a dead has-been.” Pambakian quipped, “Ok. We’ll call the Long Island
    2   medium.” See Exhibit 16.
    3          80.     Finally, on December 30, 2017, weeks after Blatt had ceased to be
    4   Pambakian’s boss, she wrote: “I hope you’ve already started planning your first LA
    5   trip of 2018.” See Exhibit 17. And then in April of 2018, four months since Blatt’s
    6   last day at Tinder, she texted him an invitation to a party in New York, saying “You
    7   should come.” Blatt responded, “Unfortunately I can’t change my plans. Next time
    8   you’re in NY putting on a nice event maybe send an invitation in advance?”
    9   Pambakian pressed, “You should just make an executive decision and change your
   10   plans.” Blatt replied, “Unfortunately, can’t.” See Exhibit 18. Blatt didn’t hear from
   11   Pambakian directly ever again. The next time he heard from her indirectly was when
   12   the Valuation Lawsuit was filed, days after Pambakian entered into the agreement that
   13   would guarantee her millions of dollars, and she first made allegations against him.
   14   VII. Pambakian Lies About Retaliation Against Her and Misrepresents
   15          Match’s Workplace Culture
   16          81.     In further effort to boost her false accusations, Pambakian decided to lie
   17   about supposed retaliation she experienced as a result of what happened at the holiday
   18   party and to misrepresent the workplace culture at Match.
   19          82.     For example, Pambakian now claims that when Blatt and his “team”
   20   (which consisted solely of two seasoned female executives) arrived at Tinder they
   21   brought with them Match’s “misogynistic culture.” However, far from misogynistic,
   22   Match’s record under Blatt on matters of gender equality was a rare achievement in
   23   the tech world.
   24          83.     When Blatt left Tinder and Match at the end of 2017, more than 75% of
   25   all Match employees reported up to a female executive in the senior most ranks of the
   26   company. At Tinder, when Blatt departed, two-thirds of Blatt’s direct reports were
   27   women, with over 80% of the company’s employees reporting up to these female
   28   direct reports of Blatt’s. During Blatt’s last five years at Match, the percentage of

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    1   female vice presidents increased from 30% to 44%. Upon departing Match, Mandy
    2   Ginsberg succeeded Blatt as CEO, and Sharmistha Dubey became President, two
    3   accomplished female executives who had worked closely and successfully with Blatt
    4   for nearly a decade. And shortly after Blatt departed Match, Ginsberg undertook a
    5   third-party audit of pay equity that determined women were “100% equally paid” as
    6   men. Rather than the misogynistic culture Pambakian claims, Match had a culture
    7   where women’s careers thrived.
    8          84.     Pambakian recognized that Match had achieved superlative gender
    9   equality under Blatt’s leadership, and that part of his mission at Tinder was to address
   10   certain gender issues that had plagued Tinder in the past while Rad had managed day-
   11   to-day operations. Writing to Blatt about addressing those lingering issues, she said,
   12   “I’m not sure if there is anyone else more qualified or up for the challenge of being
   13   CEO of Tinder than you.” See Exhibit. 8. And Blatt did, in fact, take meaningful
   14   steps to improve Tinder’s culture after Rad was removed. Pambakian was well aware
   15   of these efforts and resulting improvements in Tinder’s culture when she made her
   16   false accusations.
   17          85.     In the Pambakian Lawsuit, Pambakian claims that her “career was on the
   18   rise until she was sexually assaulted” by Blatt. She claims that after the complaint
   19   was made against Blatt she was “marginalized” and “disparaged.” Rather than offer
   20   specific examples to support these accusations, however, she oddly chooses to instead
   21   admit that none of these allegations are, in fact, accurate. In the same breath that she
   22   asserts her career tumbled after the holiday party, she states that at the time of the
   23   holiday party, she “held the position of Vice President of Global Communications and
   24   Brand.” She then admits “her role eventually expanded to Head of Marketing and
   25   Communications, managing an in-house group of more than 40 people.” In other
   26   words, after the time at which she claims her career suffered, and that she was
   27   marginalized and disparaged, she acknowledges getting a substantial increase in
   28   responsibilities. Blatt was CEO when Pambakian received this promotion.

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    1          86.     In fact, Pambakian, contrary to her assertions, did not report to Blatt
    2   during most of their time at Tinder together. Then, in May 2017, months after the
    3   holiday party, Pambakian’s boss left the company. Blatt wanted to give her the
    4   opportunity to take on many of her former boss’ responsibilities, but this would mean
    5   she would report to him for the first time. Because Rad had recently made false
    6   allegations against Blatt that related to Pambakian, the HR department was sensitive
    7   to any discomfort Pambakian might have in regard to a new reporting arrangement.
    8   Accordingly, Lisa Nelson, the head of HR, spoke with Pambakian and informed her
    9   that if she was uncomfortable, her job could be structured to avoid Pambakian having
   10   to report to Blatt.     Nelson emailed Blatt after their conversation, writing that
   11   Pambakian says “she is fine working with you [Blatt] and has always had a good
   12   relationship and just wants to get back to business as usual.” See Exhibit 19.
   13          87.     Later, when Blatt completed a reorganization that effectively finalized
   14   this promotion, including an associated increase in her compensation, Pambakian
   15   wrote to Blatt: “Thank you for everything – for helping me so much. It means a lot
   16   and I know there was a much easier route that would have resulted in much less work
   17   for you. I realize that and I appreciate what you’ve done for me. I promise I’ll do my
   18   best to make you not regret it.” Blatt responded, “It’s a good investment for the
   19   company. You’re going to do great.” See Exhibit 20. She claims that Blatt didn’t
   20   take her seriously, and treated her differently because she was a woman, but it was
   21   Blatt who promoted her and increased her compensation. Blatt took those steps
   22   because he respected Pambakian professionally and took her seriously.
   23          88.     On April 28, 2017, months after she now claims her career began to
   24   crumble as a result of Blatt’s inappropriate behavior, Pambakian expresses her regret
   25   to a friend that Rad is about to make the complaint against Blatt. In that text, she
   26   doesn’t convey her belief that she is being treated poorly because she is a woman, or
   27   because of what happened after the holiday party. Instead, she laments that Rad is
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    1   about to make an unsolicited complaint when “[t]hings were finally going well with
    2   work.” See Exhibit 2.
    3          89.     Pambakian offers no support for her many assertions about Blatt
    4   “behaving inappropriately toward women.” To the contrary, during Blatt’s entire
    5   career, including the 14 years he spent at IAC, Match and Tinder, the only complaint
    6   that was ever made against Blatt for sexual misconduct was the false allegation made
    7   by Rad. Unlike in so many other of the instances in which an executive has been
    8   alleged to have engaged in sexual misconduct, not a single additional allegation has
    9   been made against Blatt since Pambakian and Rad’s assertions were first widely
   10   publicized, more than one year ago. (And this is not for lack of trying. Rad and
   11   Pambakian hired private investigators to scour Blatt’s past in search of other alleged
   12   “victims” with no success.)
   13   VIII. The Damage to Blatt
   14          90.     The false allegations against Blatt completely blindsided him. Blatt and
   15   Pambakian had always had a close relationship, both professionally and personally.
   16   How, he thought naively, could this be happening, when the last time he heard from
   17   Pambakian, just a few months before, she was asking him to join her at a party? But
   18   the new reality quickly set in. Pambakian had provided a detailed and sensational,
   19   but fundamentally false, account of events, creating a false narrative that was – as it
   20   was intended to be – hungrily consumed by the media. The truth is that two people
   21   who knew each other well and had become good friends forgot their work relationship
   22   for a brief moment after two in the morning following a holiday party. Then Blatt
   23   apologized to Pambakian; Pambakian said, “Please, it was as much me as it was you”;
   24   and they went back about their business with their good working and personal
   25   relationship intact.
   26          91.     But that moment created an opportunity for Rad. His blind lust for
   27   money and revenge drove him to chip away at Pambakian over many months, finally
   28   getting her to make false allegations against Blatt in the wake of corrupt, possibly

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    1   illegal, payments of millions of dollars. Then, they went on the attack, falsely
    2   transforming a momentary lapse of judgment into a violent sexual crime as a tactic
    3   designed to enhance the odds of winning an unrelated lawsuit. There is a vast gulf
    4   between what actually happened, for which Blatt apologized unprompted and received
    5   an appropriate reprimand, and the current, false allegations against him. Blatt’s
    6   reputation and career – a twenty-five-year record of working with, hiring and
    7   promoting women that he believed was second to none in the tech industry – were
    8   shattered so that Rad, who had just been paid hundreds of millions of dollars, could
    9   try to get hundreds of millions more. As Pambakian had so presciently lamented to
   10   her friend about Rad’s initial attempts to attack Blatt: “Money really is the root of all
   11   evil.” See Exhibit 2.
   12          92.     As a result of Defendants’ defamatory conduct, Blatt has suffered
   13   damages in the form of harm to his professional and personal reputation. Blatt has
   14   also suffered damages of the type that are a fair and natural consequence of the
   15   Defendants’ tortious conduct, including humiliation, embarrassment, and ostracism,
   16   and the deprivation of social relationships.
   17                                 FIRST CAUSE OF ACTION
   18                           (Defamation Against Pambakian & Rad)
   19          93.     Blatt repeats and incorporates the allegations set forth in Paragraphs 1
   20   through 92 as though fully set forth herein.
   21          94.     Rad and Pambakian either directly or through agents, proxies and co-
   22   conspirators, have caused to be published numerous defamatory statements of fact
   23   about Blatt. Defendants’ defamatory statements include false statements that Blatt
   24   among other things:
   25                      a.   Sexually harassed Pambakian;
   26                      b.   Sexually assaulted Pambakian;
   27                      c.   Kissed and groped Pambakian without her consent;
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    1                      d.   Created an atmosphere of fear for her at the holiday party, causing
    2                           Pambakian to flee to an upstairs hotel room;
    3                      e.   Pushed Pambakian down on the bed and climbed on top of her
    4                           and in so doing had engaged in improper sexual misconduct; and
    5                      f.   Threatened Rad with retribution for reporting the false claim of
    6                           sexual harassment to the Match board.
    7          95.     Rad made the initial defamatory statements in a CNN interview that aired
    8   on August 14, 2018. That interview was widely viewed, and other news outlets in-
    9   turn published Rad’s defamatory statements.           Following Rad’s CNN interview,
   10   Pambakian made further defamatory statements about Blatt in an article published by
   11   CNN on August 16, 2018. The article was widely read, and other news outlets in-turn
   12   published Pambakian’s defamatory statements. On December 18, 2018, a fresh wave
   13   of news articles published by, among others, CNN and the Verge, contained additional
   14   allegations against Blatt. Rad’s and Pambakian’s false and defamatory accusation of
   15   sexual assault received significant media attention and was widely read. Other news
   16   outlets published these defamatory statements.           The transcript of Rad’s CNN
   17   interview, the August 16, 2018 CNN article, and the December 18, 2018 articles
   18   published by CNN and the Verge are attached as Appendix A to this Amended
   19   Complaint.
   20          96.     In particular, Rad defamed Blatt by, among other things, falsely stating
   21   in his interview with CNN on August 14, 2018 that Blatt had committed sexual
   22   harassment and that Rad had “reported that misconduct” to the Match Board. Rad
   23   also accused Blatt of corruption, claiming that Blatt was kept on at Match so “he can
   24   finish the job of corrupting the valuation.”          Rad also falsely stated that Blatt
   25   “threatened” Rad in connection with the false harassment claim and warned Rad that
   26   “[i]f you take me down, I’m going to take you down with me.”
   27          97.     In particular, Pambakian defamed Blatt by, among other things, falsely
   28   stating in the August 16, 2018 CNN article that Blatt behaved inappropriately toward

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    1   her at the 2016 holiday party. Specifically, Pambakian falsely stated that Blatt caused
    2   Pambakian to flee to an upstairs hotel room and falsely stated that Blatt entered the
    3   hotel room and, without her consent, “pushed [Pambakian] back onto the mattress,
    4   climbed on top of her, and began kissing and fondling her.” Pambakian further falsely
    5   claimed that Blatt’s conduct “wasn’t consensual.” Pambakian continued making
    6   defamatory statements in the same CNN article by falsely stating that Blatt had
    7   committed sexual harassment and that Blatt’s conduct “wasn’t an isolated incident.”
    8   Pambakian falsely stated that there was “pervasive sexual harassment and misogyny
    9   by Match executives” and, given her other statements in the CNN article, a reader
   10   would understand that Pambakian was stating that Blatt was one of those Match
   11   executives.
   12          98.     The Defendants further defamed Blatt by directing the circulation of
   13   emails containing defamatory statements about Blatt to news organizations so that
   14   those news organizations would publish the defamatory statements. Such emails
   15   include emails authored by Pambakian and published by The Verge on December 18,
   16   2018, stating that Pambakian was “subjected to ongoing intimidation and retaliation”
   17   by Match, that Blatt engaged in sexual “assault” toward Pambakian, and that Blatt,
   18   without her consent, “grop[ed] [Pambakian] in front of other employees . . .” The
   19   same email was sent to other news organization, including CNN. In an article
   20   published by CNN on December 18, 2018, CNN quotes Pambakian’s allegation of
   21   “sexual assault” contained in a second email from Pambakian to Mandy Ginsberg,
   22   which Pambakian provided to CNN.
   23          99.     The statements are false and defamatory because they tend to expose
   24   Blatt to public contempt, hatred, ridicule, aversion or disgrace.
   25          100. The Defendants, either directly or through agents, proxies, and co-
   26   conspirators, have assisted in the publication of additional defamatory statements and
   27   continue to do so.
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    1          101. Every statement about Blatt described above is categorically false and
    2   untrue.
    3          102. The Defendants, either directly or through agents, proxies, and co-
    4   conspirators, published these false statements to multiple third persons in California
    5   and across the world on television, in newspapers, on the radio, and through the
    6   Internet.
    7          103. The audience for these false statements of fact reasonably understood
    8   them to be about Blatt because each statement specifically names Blatt or taken as a
    9   whole clearly identifies Blatt.
   10          104. Defendants’ publication of these false and defamatory statements
   11   concerning Blatt was not privileged.
   12          105. Defendants published these false and defamatory statements concerning
   13   Blatt, or caused them to be published, without justification.
   14          106. The Defendants acted with actual malice in making the statements. At
   15   the time the statements were made, Defendants knew they were false or acted with
   16   reckless disregard for truth or falsity.
   17          107. The Defendants also acted with common law malice in making the
   18   statements. Defendants harbor spite, ill will and animus toward Blatt, and the
   19   Defendants have evil and sinister motivations in causing the publication of the
   20   statements above.
   21          108. As a result of Defendants’ defamatory conduct, Blatt has suffered
   22   damages in the form of harm to his professional and personal reputations, damages of
   23   the type that are a fair and natural consequence of the Defendants’ tortious conduct;
   24   specifically, humiliation, embarrassment, and ostracism, and the deprivation of social
   25   and relationships and professional opportunities.
   26          109. Because the Defendants acted with malice in making their statements
   27   about Blatt, this Court should award punitive damages.
   28

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    1                                   SECOND CAUSE OF ACTION
    2                           (Defamation Per Se Against Pambakian & Rad)
    3          110.        Blatt repeats and incorporates the allegations set forth in Paragraphs 1
    4   through 92 as though fully set forth herein.
    5          111. Rad and Pambakian either directly or through agents, proxies and co-
    6   conspirators, have caused to be published numerous defamatory statements of fact
    7   about Blatt. Defendants’ defamatory statements include false statements that Blatt
    8   among other things:
    9                      a.    Sexually assaulted Pambakian;
   10                      b.    Kissed and groped Pambakian without her consent;
   11                      c.    Pushed Pambakian down on the bed and climbed on top of her
   12                            and in so doing had engaged in improper sexual misconduct; and
   13                      d.    Threatened Rad with retribution for reporting the false claim of
   14                            sexual harassment to the Match board; and
   15                      e.    Stated that Blatt corrupted the valuation process.
   16          112. Rad made the initial defamatory statements in a CNN interview that aired
   17   on August 14, 2018. That interview was widely viewed, and other news outlets in-
   18   turn published Rad’s defamatory statements.            Following Rad’s CNN interview,
   19   Pambakian made further defamatory statements about Blatt in an article published by
   20   CNN on August 16, 2018. The article was widely read, and other news outlets in-turn
   21   published Pambakian’s defamatory statements. On December 18, 2018, a fresh wave
   22   of news articles published by, among others, CNN and the Verge, contained additional
   23   allegations against Blatt.       Rad’s and Pambakian’s false and defamatory accusation
   24   of sexual assault received significant media attention and was widely read. Other
   25   news outlets published these defamatory statements. The transcript of Rad’s CNN
   26   interview, the August 16, 2018 CNN article, and the December 18, 2018 articles
   27   published by CNN and the Verge are attached as Appendix A to this Amended
   28   Complaint.

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    1          113. In particular, Rad defamed Blatt by, among other things, falsely stating
    2   in his interview with CNN on August 14, 2018 that Blatt had committed sexual
    3   harassment and that Rad had “reported that misconduct” to the Match Board. Rad
    4   also accused Blatt of corruption, claiming that Blatt was kept on at Match so “he can
    5   finish the job of corrupting the valuation.”      Rad also falsely stated that Blatt
    6   “threatened” Rad in connection with the false harassment claim and warned Rad that
    7   “[i]f you take me down, I’m going to take you down with me.”
    8          114. In particular, Pambakian defamed Blatt by, among other things, falsely
    9   stating in the August 16, 2018 CNN article that Blatt behaved inappropriately toward
   10   her at the 2016 holiday party. Specifically, Pambakian falsely stated that Blatt caused
   11   Pambakian to flee to an upstairs hotel room and falsely stated that Blatt entered the
   12   hotel room and, without her consent, “pushed [Pambakian] back onto the mattress,
   13   climbed on top of her, and began kissing and fondling her.” Pambakian further falsely
   14   claimed that Blatt’s conduct “wasn’t consensual.” Pambakian continued making
   15   defamatory statements in the same CNN article by falsely stating that Blatt had
   16   committed sexual harassment and that Blatt’s conduct “wasn’t an isolated incident.”
   17   Pambakian falsely stated that there was a “pervasive sexual harassment and misogyny
   18   by Match executives” and, given her other statements in the CNN article, a reader
   19   would understand that Pambakian was stating that that Blatt was one of those Match
   20   executives.
   21          115. The Defendants further defamed Blatt by directing the circulation of
   22   emails containing defamatory statements about Blatt to news organizations so that
   23   those news organizations would publish the defamatory statements. Such emails
   24   include emails authored by Pambakian and published by The Verge on December 18,
   25   2018, stating that Pambakian was “subjected to ongoing intimidation and retaliation”
   26   by Match, that Blatt engaged in sexual “assault” toward Pambakian, and that Blatt,
   27   without her consent, “grop[ed] [Pambakian] in front of other employees . . .” The
   28   same email was sent to other news organization, including CNN. In an article

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    1   published by CNN on December 18, 2018, CNN quotes Pambakian’s allegation of
    2   “sexual assault” contained in a second email from Pambakian to Mandy Ginsberg,
    3   which Pambakian provided to CNN.
    4          116. The statements are per se defamatory because they accuse Blatt of
    5   serious criminal wrongdoing.
    6          117. These statements are libelous per se because their defamatory content
    7   appears on their face and they tend to expose Blatt to public contempt, ridicule,
    8   aversion, or disgrace, or induce an evil opinion of him in the minds of right-thinking
    9   persons, and to deprive him of their friendly intercourse in society.
   10          118. The Defendants, either directly or through agents, proxies, and co-
   11   conspirators, assisted in the publication of additional defamatory statements and
   12   continue to do so.
   13          119. Every statement about Blatt described above is categorically false and
   14   untrue.
   15          120. The Defendants, either directly or through agents, proxies, and co-
   16   conspirators, published these false statements to multiple third persons in California
   17   and across the world on television, in newspapers, on the radio, and through the
   18   Internet.
   19          121. The audience for these false statements of fact reasonably understood
   20   them to be about Blatt because each statement specifically names Blatt or taken as a
   21   whole clearly identifies Blatt.
   22          122. Defendants’ publication of these false and defamatory statements
   23   concerning Blatt was not privileged.
   24          123. Defendants published these false and defamatory statements concerning
   25   Blatt, or caused them to be published, without justification.
   26          124. The Defendants acted with actual malice in making the statements. At
   27   the time the statements were made, Defendants knew they were false or acted with
   28   reckless disregard for truth or falsity.

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    1          125. The Defendants also acted with common law malice in making the
    2   statements. Defendants harbor spite, ill will, and animus towards Blatt, and the
    3   Defendants had evil and sinister motivations in causing the publication of the
    4   statements above.
    5          126. Because the statements are defamatory per se, Blatt is presumed to have
    6   been injured by their utterance. Defendants’ tortious conduct has also caused Blatt to
    7   suffer special damages in an amount in excess of $1 million, including, but not limited
    8   to, attorneys’ fees and other related professional consulting fees to investigate,
    9   monitor, and mitigate the effects of the defamatory statements.
   10          127. As a result of Defendants’ defamatory conduct, Blatt has also suffered
   11   damages in the form of harm to his professional and personal reputations, damages of
   12   the type that are a fair and natural consequence of the Defendants’ tortious conduct;
   13   specifically, humiliation, embarrassment, and ostracism, and the deprivation of social
   14   relationships and professional opportunities.
   15          128. Because the Defendants acted with malice in making their statements
   16   about Blatt, this Court should award punitive damages.
   17                                THIRD CAUSE OF ACTION
   18             (Civil Conspiracy Against Pambakian, Rad & the Doe Defendants)
   19          129. Blatt repeats and incorporates the allegations set forth in Paragraphs 1
   20   through 92 as though fully set forth herein.
   21          130. The Defendants, either directly or through agents, proxies, and co-
   22   conspirators, each committed the torts of defamation and defamation per se.
   23          131. The Defendants each knowingly and intentionally combined, conspired,
   24   and agreed together and with others to engage in this course of conduct.
   25          132. The Defendants entered into this conspiracy when Rad offered and
   26   Pambakian accepted millions of dollars in exchange for Pambakian joining the
   27   Valuation Lawsuit and making false allegations of sexual harassment against Blatt.
   28   Rad offered the payment under the guise of a litigation funding agreement, but the

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    1   agreement provided that Pambakian would be paid regardless of whether the
    2   Valuation Lawsuit succeeded, and Pambakian remained entitled to the payout even if
    3   she dropped out of the Valuation Lawsuit. Additionally, she would receive further
    4   payments in the event of victory in the lawsuit which, together with the upfront
    5   payments, would yield a far greater payout than she would have received as an
    6   ordinary plaintiff. Rad arranged the payment mechanism through a third-party funder
    7   Bench Walk Capital, whose founding partner is also the founding partner of the law
    8   firm representing Pambakian in the Pambakian Lawsuit, and who stands to be paid
    9   handsomely if the Valuation Lawsuit is successful. The clear object of the conspiracy
   10   is to tarnish Blatt’s reputation and credibility and to extract billions of dollars of
   11   additional compensation in the Valuation Lawsuit the largest portion of which would
   12   go to Rad.
   13          133. The Defendants have taken numerous acts in furtherance of their corrupt
   14   agreement, including engaging in a coordinated media strategy to damage Blatt’s
   15   reputation and credibility, as set forth herein. In the course of the conspiracy,
   16   Defendants have caused substantial damage to Blatt’s personal and professional
   17   reputation.
   18          134. Numerous tortious activities occurred within the State of California in
   19   furtherance of the conspiracy.
   20          135. Defendants are actively engaged in an unlawful conspiracy to defame
   21   Blatt thus entitling Blatt to monetary and punitive damages.
   22                                     PRAYER FOR RELIEF
   23           Blatt requests entry of judgment in his favor and against Defendants as
   24   follows:
   25                      a.   Awarding Blatt money damages in accordance with the
   26                           evidence, together with interest thereon, to compensate
   27                           Blatt for Defendants’ tortious conduct, including for
   28                           damage to Mr. Blatt’s personal and professional

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    1                           reputations, in an amount not less than $50 million;
    2                      b.   Awarding Blatt punitive damages sufficient to punish and
    3                           deter the conduct complained of herein in an amount not
    4                           less than $50 million;
    5                      c.   Awarding Mr. Blatt attorneys’ fees and costs of suit
    6                           herein;
    7                      d.   Granting such other and further relief as the Court may
    8                           deem just and proper.
    9   Dated: October 3, 2019                       VINEET BHATIA
                                                     DAVIDA BROOK
   10                                                SUSMAN GODFREY L.L.P.
   11
                                                     By: /s/ Vineet Bhatia
   12                                                      Vineet Bhatia
                                                           Attorneys for Plaintiff Greg Blatt
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    1                                     JURY DEMAND
    2
                Plaintiff believes that all claims against Defendant Rosette Pambakian should
    3
        be resolved in a contractually-mandated arbitration. In light of the fact, however,
    4
        that Pambakian is challenging that reality, and given that the Court will not have an
    5
        opportunity to resolve that issue for some time, out of an abundance of caution,
    6
        pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of all of the claims
    7
        asserted in this Complaint so triable.
    8

    9
        Dated: October 3, 2019                    VINEET BHATIA
   10                                             DAVIDA BROOK
                                                  SUSMAN GODFREY L.L.P.
   11

   12                                             By: /s/ Vineet Bhatia
                                                        Vineet Bhatia
   13                                                   Attorneys for Plaintiff Greg Blatt

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                        APPENDIX A
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    QUEST MEANS BUSINESS
    The Economic Chickens Are Coming Home To Roost, And Certainly When It Comes To The Emerging Markets, Fantasy
    Football Season Is About To Begin In The United States, And A New League Says Blockchain Can Make People Care
    About Fantasy Sports Like They Were The Real Thing, One Of President Trump's Cabinet Members Is Under Close
    Scrutiny For Alleged Conflicts Of Interest. Aired: 4-5p ET

    Aired August 14, 2018 - 16:00 ET

    THIS IS A RUSH TRANSCRIPT. THIS COPY MAY
    NOT BE IN ITS FINAL FORM AND MAY BE
    UPDATED.




   [16:00:59] RICHARD QUEST, CNN INTERNATIONAL HOST: Closing bell ringing on Wall Street. Coca-
   Cola ringing the closing bell, I'm not quite sure why.

   The Stock Exchange doesn't what the honor is, it's the global transformation or something similar, but Coke
   ringing the closing bell.

   One -- yes, good solid fizz. I think we'll call it our fizzy gavel for Tuesday, it's August the 14th.

   Tonight, Turkey versus US debt. President Erdogan is calling for a boycott of Apple. Tinder's co-founder is
   suing his own bosses, our exclusive

   interview on what's gone wrong and we'll talk to Sean Rad and Tesla's board says, "not so fast," it's still not
   ready to approve going private.

   I'm Richard Quest live tonight in London where of course, I mean business.

   Good Evening, appropriate that I'm in Europe because most of the breaking news tonight comes from this side
   of the Atlantic. We begin with breaking

   news from Northern Italy where rescuers in Genoa are scrambling through the rubble of a massive bridge
   collapse.

   At least 23 people are dead, dozens are injured, and the number of people who have died is expected to rise as
   the search continues. The bridge

   crumbled in a violent storm. In doing so, at least 30 vehicles including several heavy trucks plunged from the
   high bridge on the highway that

   connects Italy to France.

   Genoa's mayor says the collapse was, in his words, not absolutely unexpected, which makes one to wonder
   what he meant. The bridge dates back

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   to the 1960s and was undergoing maintenance. We'll#:703
                                                      catch up with the latest details from Nic Robertson who is
   in Genoa in just a moment.

   First, let's watch and listen to his report as he sets the scene at the bridge.

   (BEGIN VIDEO TAPE)

   NIC ROBERTSON, INTERNATIONAL DIPLOMATIC EDITOR: The rescue effort has been going on all
   afternoon. Rescue vehicles, fire trucks, ambulances, police

   vehicles lined up at the side of the road, where you can see where the bridge just sheared off, debris hanging
   from the side there. And at the

   other end of the bridge, several hundred yards away, that truck just close to the drop-off, a driver there who had
   a hugely lucky escape. The road

   was busy, nose-to-tail traffic, torrential rain, thunder and lightning, water rushing down the road.

   The bridge itself had a road sign showing road repairs at this, no indication yet why it actually collapsed.
   Dozens of vehicles feared to

   have careened off, down into this valley here. It spans the canal and several rail lines linking to the port.

   This, of course, a tremendously busy highway at a very, very busy time of year. National holidays in Italy,
   national holidays in nearby France.

   This -- the main highway that connects along the Mediterranean France and Italy, a very busy day, a terrible,
   terrible tragedy for this city.

   (END VIDEO TAPE)

   QUEST: Nic Robertson, much to talk about. But please update me on the number. I realized of course that it's
   going to change. We thought it was

   in the 30s, and the Prime Minister advised and that's creeping up again, do they believe there are many more
   bodies to be found?

   ROBERTSON: The expectation here seems to be that there are potentially more bodies to be found, that there
   are potentially more vehicles

   underneath all that rubble. The recovery efforts continues into the night. There are sections that the crumbled
   concrete are illuminated by huge

   search lights. You can hear the occasional sound of a mechanical digger in that area. Although, one of the
   heavy lifting equipment would be seen as

   dusk fell, that heavy lifting equipment was brought to today, it rather gives the impression that this is really
   recovery, not rescue, and that

   whomever may be under that rubble sadly, it is not a positive outcome.

   QUEST: Nic, I referred in the introduction earlier to the calling from the Genoa mayor that said this was not --
   this was actually not unexpected. Do

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   we know what he meant by that?                          #:704

   ROBERTSONL He said it was his responsibility as mayor to keep the city functioning and the government's
   responsibility is to provide financial

   wherewithal to keep the country's infrastructure running. It smelled a little bit of a whiff of political differences
   there, but I think at this

   stage it really is hard to say, but what's very clear is even at this very early stage, the state of repair or disrepair
   of that bridge, particularly

   when you talk to locals here who feel that it's been in a state of disrepair for too long ...

   [16:05:13]

   ROBERTSON: ... that is going to be central to this investigation. But the mayor seemed to imply -- seemed to
   imply from his whole sentence when

   he spoke there that there were issues about the maintenance and the maintenance of the upkeep of this bridge.

   QUEST: Nic, thank you. Nic Robertson in Genoa tonight. And so to Turkey where the President is vowing to
   boycott all electronics made in the United

   States. He did so as the lira was stabilizing, which is still down 40% on the year.

   In the face of Donald Trump's tariffs, President Erdogan says Turkey doesn't need any American imports.

   (BEGIN VIDEO CLIP)

   RECEP TAYYIP ERDOGAN, PRESIDENT OF TURKEY (Through a translator): We will produce every
   products we are importing from abroad with foreign currency

   here and we will be the ones exporting these products. We will impose a boycott on US electronic products. If
   they have iPhones, there is Samsung

   on the other side.

   (END VIDEO CLIP)

   QUEST: And he didn't just recommend Samsung as an alternative. He also suggested the Vestel Venus, it's the
   Turkish made smart phone though even

   he -- if he does persuade the Turks to give up their iPhones, the tech boycott won't be easy. Now, let's just take
   this so-called Vestel Venus

   5000, that runs on android software. Who makes Android or who owns Android, it's made by Google, although
   it is open source.

   Then there's the Venus v5. That runs using American Qualcomm chips. So, it remains to be seen if President
   Erdogan will even impose an official

   boycott or even if the ordinary Turks are worried.

   (BEGIN VIDEO CLIP)
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   UNIDENTIFIED MALE (Through a translator): I am thinking the dollar rises because this country has not
   been governed. The economy is managed badly,

   because of that the dollar rises.

   UNIDENTIFIED MALE (Through a translator): I think the Turkish government does not know about economy
   because there are no real economists within the

   government. The administration is based on family relations.

   (END VIDEO CLIP)

   QUEST: John Defterios is on the ground in Istanbul joins me now. This idea of a boycott of American
   technology, it's politics and it's hyperbole.

   It doesn't stand much chance of reality.

   JOHN DEFTERIOS, EMERGING MARKETS EDITOR: Yes in fact, Richard, we had major cross currents
   today. The first rally in the lira in three days and

   we have the hard line for President Erdogan calling for the boycott and this was followed up by his son-in-law,
   now Finance Minister taking a swipe

   at the dollar at the same time.

   He suggested even though the dollar is rising and he's starting to lose its luster and that role as the reserved
   currency. He spoke at the 17th

   anniversary of the party, his father-in-law founded, the AK Party, today in Ankara. Let's take a listen.

   (BEGIN VIDEO CLIP)

   BERAT ALBAYRAK, FINANCE MINISTER OF TURKEY (Through a translator): The dollar has lost its
   credibility. We will ensure that steps will be taken

   to continue to do business with our own money. We will see that our Turkish lira will strengthen. If one
   country's economy does not overcome

   the difficulty that it faces, it will have a butterfly effect and this has the potential to shake all global trade,
   foremost in Europe.

   (END VIDEO CLIP)

   DEFTERIOS: And a little bit of a threat there, Richard, saying if we don't solve this problem in Turkey which
   represents 1% of global GDP, it could

   particularly spill over to Europe right now because of the exposure of the European banks of course to Turkey,
   about $150 billion. No word on

   interest rates. No word about the International Monetary Fund. The finance Minister following the line of the
   President saying, "We'll tough

   it out on our own."
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   QUEST: And isn't that the problem? Because even if they do attempt to tough it out on their own, the
   underlying economics are against them. And

   as we've talked about on this program last week, that is the biggest issue. They have a balance account that
   they can no longer be sustained. They've

   got a falling currency, and they have very high inflation. That's the problem.

   DEFTERIOS: And Richard, this is a problem that's been surfacing for the last two years and President Erdogan
   thinks he can ride it out on his own.

   A $57 billion current account deficit is what you're referring to, inflation nearly at 16%. I'm starting the think
   about this as the sleeper

   event that could creep up on emerging markets because of the vulnerability of Turkey, but there's five other
   emerging markets that have been

   identified.

   We've seen the initial contagion of this with Russia and the South African rand losing 10%. But we have 30
   emerging markets analyzed by the Institute

   of International Finance suggesting that their overall debt to GDP is running at 200%. It's crept up since the
   last financial crisis, Richard.

   So we have to watch this carefully and find a common ground, and not have the arguments between Trump and
   Erdogan, where we are today.

   [16:10:11]

   QUEST: John Defterios in Istanbul tonight. Thank you. And why we are reminding Turkey as US political
   risks are very real in this economy, the

   sun is shining on the German economy. GDP is up 0.5% on the last quarter. It beat estimates and it shrugs off
   Trump and trade fears. Carsten Brzeski

   is in Frankfurt. The Chief Economist ING Germany. These numbers taken on the back of the US numbers are
   also good, but if we look at the rest of the

   Eurozone, we know there that there has been a slowdown. So is Germany once again having to do all the heavy
   lifting?

   CARSTEN BRZESKI, CHIEF ECONOMIST, ING GERMANY: Well, together with the Netherlands right
   now because the Dutch also outperformed the rest of the

   Eurozone. But yes, I think Germany remains the powerhouse of the Eurozone. And normally you would have
   expected the other countries actually to

   overtake the German growth numbers. They haven't. So, actually it's still up on the German shoulders to push
   on the Eurozone recovery.

   QUEST: Now, of course, Europe and the union reports quarter on quarter on quarter as opposed to annualized,
   which always makes it difficult when you
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   see a 0.5% versus a 4.1% or 4.2%. What do you expect in Germany will grow in 2019?

   BRZESKI: I think for the rest of this year and also for 2019, I'm expecting Germany to grow around 2%,
   which is not the 4% you see in the US,

   but which is taller than -- which is actually more than the so-called potential growth rate of the German
   economy because Germany currently is

   really benefiting from low interest rates. The ECB's monetary policy, strong domestic demand.

   And then everything above 2% would depend on how the entire trade tensions will play out. Will we get a
   trade war between the US and the EU? Maybe

   we'd also have to realize downwards driving growth numbers. If we won't get it, I think Germany could end up
   with anything north of 2% over the

   next couple years.

   QUEST: And at the moment, it's too difficult or uncertain to factor in the trade tariffs, the effect at the moment,
   we know, but the longer-term

   effect if the situation gets worse, can't be accounted for yet.

   BRZESKI: Not exactly what the second quarter GDP numbers showed. Right now, we only have a kind of
   confidence impact on the German economy which

   is extremely small. The only tariffs that are there are on aluminum and steel. That's everything. So, therefore, if
   we get a sentiment- a

   negative sentiment loop in the next couple of months, yes, it could leave its marks on the German and also the
   European economy, but right now -- and

   that's the interesting -- right now, all these trade tensions have not had any impact, any significant impact on
   the entire Eurozone.

   QUEST: In terms of Angela Merkel, with this sort of economic performance, does it take the pressure off her?
   Under huge enormous pressure because of

   migration and the internal disputes within her coalition, but does it take that pressure off that the economy is
   doing so well?

   BRZESKI: Somehow, not entirely. Because the funny thing right now, when you look at the numbers,
   Germany is almost enjoying a golden decade. So

   this is -- they are now go into the tenth year of almost consecutive growth. Never ever before had so many
   people a job, wages are increasing,

   the economy is really booming, but somehow most people do not feel as if they are in the middle of an
   extremely booming economy.

   So therefore, other issues like migration, like integrating the refugees, but also like the lack of structural
   reforms, clearly running behind in

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   terms of digitalization, is also feeding into this entire#:708
                                                             political debate right now in Germany. So, therefore, I'm
   afraid that the strong economic

   numbers do not really take the pressure off Mrs. Merkel.

   QUEST: Right, but Carsten, in your role as Chief Economist, if you look at the whole Eurozone and put it into
   that wider context, the ability of the

   Eurozone, do you feel that they have put in place sufficient fiscal macro potential measures that the --
   obviously, it's safer than it was in 2008

   and 2009, but what about things like fiscal deficits? What about the way they run it on an annual basis?

   BRZESKI: I think, this is -- you're right, the most sensitive point, what the Eurozone does need as a whole is
   more investment. More investment

   always is contradicting the rules of the annual growth, namely not running fiscal deficit. I think Germany is the
   best example.

   [16:15:11]

   BRZESKI: So Germany is running a fiscal surplus, at the same time there's a high need for further investments
   to maintain the strong role of Germany

   in the European and global economy. So, therefore, I think European politicians, yes, they have made the
   Eurozone -- the monetary union much

   more crisis resistant, but to go ahead -- they would need to open more possibilities for investments.

   QUEST: Good to see you, sir. Thank you for the perspective. Please, you always have an invitation to come
   and talk here on "Quest Means Business."

   Thank you. As we look at European stock markets that finished the day mostly flat, bank stocks remained
   under pressure. UK unemployment fell to

   a 43-year low. And the Dow is in triple digits higher with the S&P snuffing a four-day losing streak.

   The Tapestry -- I always feel the need when you mention companies like Tapestry which of course is the old
   Coach, it still has Coach as part of

   it, but it's now called Tapestry had strong earnings boosting other consumer stocks.

   As we continue tonight, taking a swipe at Tinder, the co-founders of the dating site say they've been stood up
   for billions of dollars.

   QUEST: Let's go to Elon Musk's attempt to take Tesla private where the board of directors seems to be saying
   well, maybe not quite so fast. The

   board itself has set up a committee to study Elon Musk's plans to go private and it says more than one hand
   must be on the wheel for such a

   momentous move.

   Claire Sebastian is here to put that perspective. Clare, the board haven't obviously said no, they want more
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   details. They know now that it's the                    #:709

   Saudis with the Saudi sovereign fund, so what is the board's reticence here?

   CLARE SEBASTIAN, CORRESPONDENT, CNN: Well, Richard, I have to say this is about the first normal
   thing that has happened in this whole process.

   Today, we got the first SEC filing which is an 8K filed and that was the one announcing that the board set up a
   special committee to evaluate this

   deal. Well, they did say though is that nothing else so far has been decided. I want to read you a quick
   statement from that quote, they said,

   "The special committee has not yet received a formal proposal from Mr. Musk regarding any going private
   transaction, nor has it reached any conclusion

   as to the advisibility or feasibility of such a transaction."

   [16:20:03]

   SEBASTIAN: So, obviously, it's become increasingly clear, you could say glaringly obvious from the
   statements we've heard from Musk over this past

   week that he doesn't actually have a proposal. He said that he's talking to the Saudis. He says that he is talking
   to other investors. He said he

   wants to keep existing shareholders. It's not exactly clear how he's going to do that. So now we have that
   confirmed by the board.

   So, the next step is for him to come up with a proposal, then they have to negotiate. The board might want
   more money, for example, they might want a

   higher premium for shareholders and then we have to go to a shareholder vote, which sets up a whole wealth of
   other complexities in there, so it

   could be a long process.

   QUEST: And at the same time, he owns about 20%, I think, of Tesla. So he's a major shareholder in his own
   right, but if and when his does come

   forward with a bid, his dual roles as shareholder or multiple roles as shareholder, Chairman, CEO, whatever
   other roles he may have, they would

   all be in conflict and he would be recused in many of the debates at the board level.

   SEBASTIAN: Well, certainly, there have been reports about that. I think it's interesting that he's been saying in
   several of his statements that

   he's doing this in his capacity as a bidder for Tesla, not the CEO. It's unclear at that point whether that was
   something that was advised by his

   lawyers after his initial tweet, but he'll be looking to see how many of the other shareholders, obviously not his
   stake and perhaps not that of his

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    brother which we think makes up about 25% of the total,
                                                      #:99how many other shareholders will come on board.
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    That is entirely unclear at this point

    whether index funds will actually be able to do this, whether non- accredited shareholders will be able to do
    this.

    There's a lot that's still unclear about this and I think that's why, Richard, you saw the stock price dip today
    about 2.5% after a couple of

    flat days. People are less confident at this point that they are going to see a good deal or at least see one
    through.

    QUEST: Okay, but Clare, with the short passage of time since the tweet and since the announcement, what's
    the feeling in the markets and amongst

    investors? Does it make sense for Tesla to go private?

    SEBASTIAN: I think it's interesting with Tesla, Richard, because you saw this time a week ago and you still
    see now that the investor community is

    deeply polarized. There are those who still believe deeply in Elon Musk. They are willing to stay with him.
    They want to keep their shares and move

    over to a private company if that's what he sets up. There are those who are increasingly frustrated.

    You see Elon Musk is someone who keeps trying to fly in the face of the regulations on wall street and who
    can't seem to get this process off the

    ground in a way that inspires confidence.

    QUEST: Clare, you're going to have your work cut out for you in the days, weeks and months ahead as we
    watch this one if it goes forward. Thank you.

    Clare Sebastian is in New York. Let's stay in New York.

    We're all familiar with the dating app, Tinder, in some shape or form. Well, now the co-founders of Tinder and
    others are suing the parent

    company, Match, for billions. They're also leveling serious charges against Tinder's former Chief Executive.
    Match has fallen more than 3% on

    the news.

    Laurie Segall has been doing some exclusive investigative work on this. Laurie, who's suing who and for
    why?

    LAURIE SEGALL, CORRESPONDENT, CNN: It's very interesting. It's an explosive lawsuit. I think you
    have to remember that Tinder wasn't just

    founded as Tinder as a separate company. It was founded under IAC. So, there's always been this complicated
    relationship between the founders and

    the early employees at Tinder and IAC, especially as it exploded. And now these founders are saying that they
    are victims of corporate greed and that
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    they are owed billions of dollars. Check it out.

    (BEGIN VIDEO TAPE)

    (BEGIN VIDEO CLIP)

    SEAN RAD, CO-FOUNDER, TINDER: This contract said that if we work hard and if we build a successful
    company, which we did, that we would be

    compensated with the value that we created.

    (END VIDEO CLIP)

    SEGALL: It's an explosive lawsuit. At the center of it, major media giant IAC, which owns, Match Group, the
    parent company of Tinder.

    (BEGIN VIDEO CLIP)

    RAD: They violated their promise to us. They manipulated financial information. They lied and essentially
    paid employees billions less than

    they actually owed them.

    (END VIDEO CLIP)

    SEGALL: Sean Rad co-founded Tinder in 2012 while working at an incubator owned by IAC. Now, he along
    with former and current employees are suing

    IAC alleging they purposely lowered the value of Tinder.

    (BEGIN VIDEO CLIP)

    SEGALL: Why do you think IAC, Match, tried to undervalue the company privately?

    RAD: Because they wanted to pay us less. There is a contract here that says that they have to pay us based on
    the fair value of Tinder, and they

    just did the most egregious, insane things to fabricate that valuation, corrupt it and get a valuation that
    objectively is ridiculous.

    (END VIDEO CLIP)

    SEGALL: The suit says IAC installed Greg Blatt as Tinder CEO ahead of the valuation process. His role
    according to Rad and the lawsuit, to purposely

    paint a pessimistic view of Tinder to the banks valuing the company. That included downplaying new feature
    and withholding financial data.

    (BEGIN VIDEO CLIP)

    RAD: At one point, there was even a revised financial projection internally that far surpassed the projections
    that were given to the banks

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    and they ignored that and they ignored that that even#:712
                                                          existed. The banks just had to go off of the information
                                                         #:101
    that they were given.

    SEGALL: Did you ever try to go to them and say, "I don't think you have all the data," or "I think this is being
    undervalued. Here are the facts?"

    [16:25:13]

    RAD: The executives who are part of this lawsuit attempted to tell the truth to the banks, and when they did
    they were threatened to get fired.

    (END VIDEO CLIP)

    SEGALL: In a statement to CNN, IAC called the suit meritless and said that it would vigorously defend
    against it. It said Match went through a

    rigorous valuation process with two independent banks and that Rad and other executives who left the
    company may not like the fact that Tinder jas

    experienced enormous success following their respective departures, but sour grapes alone do not a lawsuit
    make.

    IAC valued Tinder at $3 billion in 2017. That valuation relied on the information provided to the banks.

    (BEGIN VIDEO CLIP)

    ORIN SNYDER, ATTORNEY, GIBSON, DUNN & CRUTCHER: Two years before the correct valuation, the
    defendants themselves valued tinder at $3 billion.

    Fast forward two years, 600% growth in revenue and the defendants say it's still valued at $3 billion. It's
    absurd.

    SEGALL: Some would argue that in that time, you had all of these different apps doing similar things that
    Tinder was doing and gaining in popularity

    and that could have been a part of slowing in growth.

    SNYDER: Anyone who said that would be wrong. Everyone who looked at this company understood that in
    2017, Tinder was the number one product in its

    category and it was going to the moon as it continues to grow today.

    (END VIDEO CLIP)

    SEGALL: The lawsuit seeks at least $2 billion in damages, suggesting the company was undervalued by at
    least $9 billion. The suit also alleges that

    soon after Blatt was named Tinder's CEO in late 2016, he groped and sexually harassed Tinder Vice President
    of Marketing and Communications,

    Rosette Pambakian at a company holiday party.

    (BEGIN VIDEO CLIP)

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    RAD: I actually reported that misconduct to the company
                                                       #:102and the board -- and the board had a choice. They
                                                       #:713
    could either do the right thing and

    properly investigate and take the right action, or they can keep that executive in a place where he can finish the
    job of corrupting the

    valuation.

    SEGALL: Did you specifically talk to Blatt about these allegations?

    RAD: Yes, I did.

    SEGALL: And what was that conversation like?

    RAD: I was threatened. I believe it was, "If you take me down, I'm going to take you down with me."

    (END VIDEO CLIP)

    SEGALL: CNN has reached out to Blatt and IAC for comment and has not heard back. It's not the first time
    Tinder has been wrapped up in a sexual

    assault lawsuit. In 2014, former Tinder VP Whitney Wolfe sued Tinder, Match and IAC. Wolfe accused co-
    founder Justin Mateen of sexual harassment

    at Tinder and Rad not stopping it. That lawsuit was settled out of court with no admission of wrongdoing.

    (BEGIN VIDEO CLIP)

    SEGALL: We can't ignore that someone who was accused of sexual harassment is now part of a lawsuit that's
    claiming sexual harassment . How do you

    negotiate the two?

    RAD: Look, Justin, along with all the employees, was also made a promise. As far as, you know, the past and
    his breakup with Whitney and his conduct

    there, he's paid the consequences for that. He was fired from the company. That's not relevant to the fact that
    this company made promises to all the

    Tinder employees including Justin and reneged on those promises and overlooked the contracts they had with
    us.

    (END VIDEO CLIP)

    (END VIDEO TAPE)

    SEGALL: And Richard, we've heard IAC and Match respond to many of these allegations but we didn't hear
    back from them when it came to the sexual

    harassment allegations. I am told, we will have a statement coming soon. As you can see, some very serious
    allegations against this company.

    QUEST: Very serious and extremely interesting and almost voyeuristic as one listens. I mean, it's got it all. It's
    got sex, money, the whole lot.
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    One question though. Tinder itself -- how successful does it continue to be bearing in mind all the other apps
    and the segmenting of the dating app

    market?

    SEGALL: Earnings just came out last week and it showed tremendous success and so much so that it gives
    them a little bit more of a case when you're

    looking at it on -- looking at these numbers now which show that Tinder accounts for much of Match's success
    and it's a number that's only growing.

    So you had years ago in the private valuation some of these executives saying, "Well, growth is going to stall,
    it's not going to do well." It

    was the most popular app according to Facebook in all of July. So, that's just not true.

    It will be a who's who and it will be interesting to see how they defend this. You can expect a lot to come out.
    The attorney that's representing

    Sean Rad and these plaintiffs is very well known in the tech world, Richard. He represented Facebook. He's
    represented Apple and Uber and

    he's done so successfully, so it will be interesting to see these guys go up against this major media company.

    QUEST: And you will be there to watch every step of the way and to report back to us in great detail. Thank
    you. Laurie Segall with me. As we

    continue tonight on "Quest Means Business" coming from London, gaining strength, losing respect, the dollar's
    summer time rally continues and some

    believe its dominance will not last. But that begs the question of what's pushing the dollar higher and the
    ability of it to continue.

    Hello, I'm Richard Quest. There of course is more "Quest Means Business" in just a moment. When Russia's
    Foreign Minister says countries will start

    abandoning the dollar if Washington doesn't change course, and when a former White House staffer has
    dominated newscasts worldwide, her book is

    only now starting to move its way at the bestseller list.

    As you and I continue, this is CNN. And here on this network, I promise you, facts always come first.

    The Italian authorities have revised the number of people who died from the shocking bridge collapse in
    Genoa. It now says 26 people were killed and

    15 people have been wounded. A section of the Morandi Bridge crumbled at about noon local time during
    thunderstorms. Crews are still searching for

    survivors and bodies and the bridge that was built in 1968, was undergoing maintenance.

    Police have searched three addresses in the English midlands after a suspected terror attack outside
    Westminster in Parliament. Two people were
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    hurt when a man drove a car into cyclists and pedestrians. Officials says the suspect is a British citizen who
    originally came from another country.

    Five European countries have agreed to take migrants rescued off the coast of Libya by the Aquarius ship.
    France, Germany, Portugal, Spain and

    Luxembourg will take in the 104 migrants on board. Malta and Italy have refused the ship dock on Monday.

    Dozens of cars were burned in Sweden in what officials are calling an organized act of vandalism. Most of the
    vehicles were torched in and

    around Gothenburg, which is Sweden's second largest city. The police have made two arrests so far.

    [16:35:16]

    QUEST: A recent uptick in the violence comes ahead of national elections next month.

    The White House Press Secretary Sarah Sanders, said she could not guarantee that President Trump has ever
    used the "N" word. Mr. Trump has denied ever

    using the word. His former aide, Omarosa Manigault-Newman, claims she heard a tape of him saying it.
    Sanders says she had never heard the

    President use the term.

    So, the economic chickens are coming home to roost, and certainly when it comes to the emerging markets.
    The Indian rupee has hit a record low

    against the US dollar, as the fallout of the Turkish currency crisis continues, and now, some emerging markets
    are starting to question the role

    of the US dollar and thereby the United States plays in the global economy.

    And as we discuss this, keep in mind, the dollar is the world's number one reserve currency by a long measure.
    It's a petro currency, it's the one

    used as the backbone of trade. So, now factor in the idea that for example Turkey, Turkey's Finance Minister
    saying that the dollar has lost

    credibility and Turkey's large debt in dollars is of not really much concern. Then of course you get to the point
    that it becomes more

    expensive to repay these debts as the lira goes down, so the dollar of course goes up. If your debts are in
    dollars, you need more liras to pay

    them off.

    And so to Russia where Russia is also suggesting that the dollar could shift its move into the currency market
    as the reserve currency of the

    world. Sergey Lavrov is visiting Istanbul at the moment and he corrected and he talked about and criticized the
    US sanctions.

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    SERGEY LAVROV, FOREIGN MINISTER OF RUSSIA, (Through a translator): I'm certain that with such
    abuse, the role of the American dollar as the world

    reserve currency will weaken and more countries, even countries not affected by the American sanctions, will
    get away from dollars.

    (END VIDEO CLIP)

    QUEST: It's not just Russia, wherever you look, China as well, trade tensions are starting to show. New data in
    the case of China is showing

    investment at a two-decade low. And the common thread throughout all of these is without a doubt the US
    dollar.

    Joining me now is Eswar Prasad, he is a senior fellow at the Brookings Institute and author of the "The Rise of
    the Renminbi," joins me now.

    Let's talk about this in some detail. Is the dollar under threat in any shape or form as the reserve currency as a
    result of what we're seeing at

    the moment?

    ESWAR PRASAD, SENIOR FELLOW AT THE BROOKINGS INSTITUTION: There is much talk, Richard,
    about shifting away from the dollar and many countries are

    frustrated by the dominance of the US dollar and the fact that they have to rely on a dollar-based financial
    system to conduct international

    transactions, but the reality is that there isn't much of an alternative.

    As you pointed out, the dollar remains the dominant currency in international trade and finance. About two-
    thirds of the world's foreign

    exchange reserves are handled in US dollars and since the financial crisis, that share has barely budged. There
    are certain currencies like the

    Chinese renminbi trying to make a move, but the chances they will supplant the dollar are pretty slim, again,
    because there really is not much of an

    alternative to the US dollar right now.

    QUEST: If there's no alternative, what purpose does it serve for these countries to criticize, and more crucially,
    bearing in mind their own

    economies are in trouble. Certainly the case of turkey and Russia, then you ask the question, well, they just
    stand to make a bad situation worse.

    PRASAD: What they're trying to do is basically send a message domestically - they have said their economies
    face maybe not the result of their own

    policies, but perhaps because of these inimical policies undertaken by the US, that's of course very easy for
    some to maintain when the US continues
www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                          15/21
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    to take actions that might be interpreted as hurting those economies.

    When turkey's lira was falling, Mr. Trump decided to impose tariffs, interpreting the move in the lira as
    somehow being directed against the US,

    which it certainly was not. So it will have Mr. Erdogan in Turkey to make a plausible argument to his populace
    that in fact, the US is kicking Turkey

    when it is down.

    So the US is not helping its case right now, but these countries are not helping themselves either.

    [16:40:07]

    QUEST: Right, now, on that point where Turkey is concerned, at the end of the day, it doesn't really - the battle
    with the US to some extent is a

    side show in that if Turkey doesn't change its macroeconomic policies, it becomes a little bit academic because
    the policies themselves are driving

    the currency down and making a bad situation worse.

    PRASAD: What is really driving the lack of investor confidence, both domestic and foreign investors in
    Turkey, is the fact that Mr. Erdogan

    since his re-election in June took steps to appoint his brother-in-law as the head of the Treasury and Finance
    Ministry and has made it very clear

    that he's not going to support the Central Bank if it wants to raise interest rates in order to preserve the
    currency's value and to fight

    inflation which is now about 15%.

    In fact, he's referred to interest rates as the mother and father of all evil, giving foreign investors no confidence
    at all that he is going to

    allow the Central Bank to hike rates, and indeed, in July, the Central Bank should have raised interest rates, it
    did not. That I think is the key

    issue.

    Now, of course the fact that the US Federal Reserve is on the rate- tightening cycle at this stage and Mr. Trump
    has imposed sanctions and tariffs on Turkey is adding fuel to the fire and it allows Mr. Erdogan to

    argue that what is happening in Turkey and to the lira is a consequence of US actions, not Turkish policies, but
    the reality is much as you point out,

    it's really Turkish policies that are the key factors here.

    QUEST: Finally and briefly, Ken Rogoff speaking to us last week, Ken said that this was all going to add - and
    I'm paraphrasing - it was all going to

    end somewhat badly and probably with the IMF having to come into pick up some of the wreckage. Do you
www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                            16/21
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    think that, too?                       #:107
                                           #:718

    PRASAD: If Mr. Erdogan is not willing to do what is needed with domestic policies, especially with interest
    rates, there's going to be no recourse

    back to Turkey. Mr. Erdogan has talked about looking for friends and allies abroad, but I think it's unlikely that
    Russia, Turkey, Qatar, China

    are going to be able to help Turkey in this case. It's really going to be up to the IMF to bring Turkey back on its
    feet and help restore investor

    confidence if Turkey cannot do it itself.

    QUEST: Eswar Prasad, thank you for joining us. Still ahead, a former White House aide tell-all book has been
    slow to climb the bestseller list,

    Omarosa may not be getting the reception that she had hoped for.

    [16:45:00]

    QUEST: Fantasy football season is about to begin in the United States, and a new league says blockchain can
    make people care about fantasy sports like

    they were the real thing. The Crown League as it's called says it will let fantasy players go pro. Fans will each
    own a part of a professionally run

    fantasy football team and share the prize money afterwards. The whole thing will use blockchain to keep tabs
    on all the results.

    Dan Nissanoff is the founder of the Crown League and joins me now from New York. I love the idea and I love
    the way it's been put together, but I

    have a natural cynicism at the moment when anybody starts saying they're about to use blockchain as if it's sort
    of a panacea for every ill. So

    tell me what does blockchain give you?

    DAN NISSANOFF, FOUNDER AND CEO, CROWNTHROWN INC.: Richard, that's a great question.
    Blockchain gives us the opportunity to allow the public, massive

    amounts of people, to actually become owners of a professional sports team.

    Before blockchain, you could only do that by taking a company public. Blockchain essentially now allows us
    to take the league and 12 franchises,

    12 teams public, and offer opportunities for the public to invest in the Crown League.

    QUEST: If they invest in you, what do they get?

    NISSANOFF: They get three things. They get the right to governance, so they get to vote on critical matters
    associated with the league and

    associated with the teams, they also get to participate in the profits of the Crown League.

www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                         17/21
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    So, in traditional sports entertainment platforms, you#:719
                                                           make money by aggregating fans around entertainment
                                                          #:108
    and then selling sponsorships,

    advertising, merchandise, live event tickets, we offer all of that and will instead of that money going to the
    owners of a traditional sports team, it

    will go to the public, which are not only the owners, but the fans of these teams.

    QUEST: This is again another enterprising idea and one of many in a time - I guess, at the end of the day, is
    this an investment or is this something

    for the fans? If it's an investment then - you'll probably tell me it's both, but I suggest there needs to be an
    element of love of what you're

    doing rather than necessarily worrying about the EPS and the PE and ratio and the amount you're going to get
    back.

    NISSANOFF: So, we actually call this investment gaming. We've coined that term. The Crown League allows
    you actually to invest in something that is

    also entertaining, that you have a passion for. When you buy stock in a company like Amazon, the way you
    consume that investment is by going onto a

    site and tracking the graph to see if you're making money or losing money.

    Here you get to consume your investment by actually watching football, by watching the game you love. The
    better your team does, the more money you

    make.

    QUEST: All right, what sort of sums are we talking about here, A, in terms of the investment, and B, the
    possible return?

    NISSANOFF: So, the Crown League launches its public offering of its tokens where you can invest in the
    league for as little as a dollar. Once we

    launch the actual sale of the teams at the end of this year, the entry point will be fairly minimal. We haven't
    published the starting price of

    our tokens, but it will be accessible to the average person.

    QUEST: I feel a small investment coming your way from "Quest Means Business." No, no, we'll go for the
    least amount we can so that we can

    follow our investment and our teams and see and put it to the test and in 12 months time or two years time, and
    see how we've done. Anyway, good to

    see you, sir.

    NISSANOFF: We'll look forward to that. Thank you so much.

    QUEST: I want my money back. Thank you. It was a rough day for crytocurrencies. Bitcoin fell below
    $6,000.00. It's now just a smidgen

www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                            18/21
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    above it, but as you can see it's off 2.5%, 165 down, #:720
                                                          that's some 6,000.
                                                          #:109

    Investors dumped other crytocurrencies as well. Ethereum was off 8%, Litecoin coin fell 7% and Ripple
    dropped over 4%.

    You want to keep on top of the day's business headlines in just 90 seconds, then try our Daily Briefing Podcast.
    It's updated twice a day, before and

    after the closing bell - the opening bell on Wall Street. Alexa, and your Google home device,
    cnnmoney/briefing is all you need to say to hear our

    dulcet tones. We'll be back in a moment.

    [16:50:00]

    QUEST: One of President Trump's Cabinet members is under close scrutiny for alleged conflicts of interest. A
    government watch dog says the

    Commerce Secretary, Wilbur Ross, should have recused himself from working on policies that directly impact
    his assets. CNN's Cristina Alesci has the

    details.

    (BEGIN VIDEO TAPE)

    (BEGIN VIDEO CLIP)

    DONALD TRUMP, PRESIDENT OF THE UNITED STATES: We have the legendary wall street genius,
    Wilbur Ross here. He's our Secretary of Commerce.

    (END VIDEO CLIP)

    CRISTINA ALESCI, CORRESPONDENT, CNN: He's a Wall Street wiz with the kind of wealth the President
    finds appealing.

    (BEGIN VIDEO CLIP)

    TRUMP: In those particular positions, I just don't want a poor person. Does that make sense?

    (END VIDEO CLIP)

    ALESCI: But while Commerce Secretary Wilbur Ross has kept a low profile, quietly keeping away from the
    presidential spotlight, reports of ethnically

    questionable dealings are piling up. Now a government watch dog group is calling for the tycoon turned
    Cabinet member to be investigated.

    In a 100-page report to the Inspector General obtained by CNN, the Campaign Legal Center lays out several
    cases in which it says Ross appeared to

    engage in criminal conflicts of interest.

    (BEGIN VIDEO CLIP)

www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                      19/21
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    BRENDAN FISCHER CAMPAIGN LEGAL CENTER:            #:110We're hoping that the Inspector General will
                                                      #:721
    investigate Commerce Secretary Ross to preserve the public's

    trust in government and to demonstrate that ethics still matter.

    (END VIDEO CLIP)

    ALESCI: After Ross joined the administration in 2017, he was either supposed to part ways with investments
    that may influence his work or

    recuse himself from matters that presented conflict. For example, he'd need to divest from a company called
    Invesco which planned to invest in

    steel before he worked on a policy affecting the steel business.

    (BEGIN VIDEO CLIP)

    WILBUR ROSS, COMMERCE SECRETARY OF THE UNITED STATES: The tariff actions taken by the
    President are unnecessary to revive America's essential steel

    and aluminum industries.

    (END VIDEO CLIP)

    ALESCI: One of Invesco's subsidiaries posted a multi-billion dollar Chinese steel deal soon after Ross took
    office. As for Ross, he claims he

    had divested, filling out this form and signing on the dotted line for the government ethics office. The only
    problem is ...

    (BEGIN VIDEO CLIP)

    FISCHER: He maintained tens of millions of dollars in investments in assets that potentially posed an ongoing
    conflict of interest.

    (END VIDEO CLIP)

    ALESCI: Still, Ross says everything he's done is on the up and up.

    (BEGIN VIDEO CLIP)

    ROSS: Everything that's been done has been done in compliance with the office of government ethics.

    (END VIDEO CLIP)

    (END VIDEO TAPE)

    QUEST: Cristina Alesci with this story of Wilbur Ross, there will be those who will say that such issues and
    conflicts of interest were inevitable

    when you had so many wealthy people going into the highest echelons of government.

    [16:55:11]

www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                         20/21
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    QUEST: Now to the markets, let me take you over and show you exactly what's been happening. The markets,
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                                                     #:722
    the Dow Jones Industrials, interesting

    today for us today just to take a look at it because it opens higher. We had a wobble right about 10:00 in the
    morning, but it stays up for the

    course of the day. And, arguably you could say, a half a percent gain, 112 points, arguably, you can say middle
    of the summer, low volumes, but I

    think it is interesting that it does hold up rather than go in the opposite direction.

    Because for example, the S&P 500 also was up and in doing, so snapped a four-day losing streak. You will also
    look at Europe where there was a

    whole host of different issues taking place in European markets. London had a frolic of its own with some
    results, XETRA DAX, I'm not quite sure

    why it is showing that, but the only one that's actually showing up overall was Zurich and that these sorts of
    numbers in August, it pretty much means

    flat. We will have a "Profitable Moment" after the break.

    Tonight's "Profitable Moment," so the dollar rises and other currencies are feeling the effect. Well, South
    Africa's currency has fallen very sharply.

    India's rupee is at an all-time low against the US currency. And you've got Turkey and Russia where leaders
    are both saying that the dollar is no

    longer - or should no longer be a reserve currency.

    The interesting part about all of this is that the dollar has the position it does as a position of strength even at a
    time when Donald Trump is

    talking up the dollar. Remember, he said he wants a higher dollar. He wants a more value dollar. Well, that
    would have a problem in terms of

    trade. It would make those US exports even more expensive.

    So whilst he's got at the moment in the United States this issue of tariffs and trade on one side and a rising
    dollar on the other, what it ends up

    doing for exports, we'll see in just a few months' time. A rising dollar is not necessarily good for the United
    States.

    And that's "Quest Means Business" for tonight. I'm Richard Quest in London. Whatever you're up to in the
    hours ahead, I hope it's profitable.

    I'll see you tomorrow.

    END




www.cnn.com/TRANSCRIPTS/1808/14/qmb.01.html                                                                             21/21
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 Tinder exec: I had to protect the company
 from my own story
 by Laurie Segall @LaurieSegallCNN
     August 16, 2018: 11:25 AM ET




   Tinder co-founders and early employees sue dating app's owners for billions


 A lawsuit filed by ten current and former Tinder executives accuses former CEO Greg Blatt of
 groping and sexually harassing a vice president of the company. The suit also claims that Tinder's
 corporate parent did nothing about the incident because Blatt was a key figure in its plan to
 minimize Tinder's valuation and deny early employees billions of dollars in stock options.

 The lawsuit accuses Blatt of groping and sexually harassing Rosette Pambakian, Tinder's vice
 president of marketing and communications, at a company holiday party in 2016. In a statement
 to CNN, Pambakian said she felt conflicted about reporting the incident, because, as the head of
 communications since 2012, her job was to protect the company's reputation.

 "My biggest nightmare had come to life in that moment ... and my job as Tinder's head of
 communications was to protect the company and make sure we were always portrayed positively
 in the press," she said. "The irony that I had to now protect the company from myself was not lost
 on me."

 The allegation appears in a lawsuit brought by Tinder co-founder Sean Rad, Pambakian, and
 eight other early employees of the popular dating app. They are suing the service's current
 owners, alleging that they manipulated the valuation of the company to deny them of billions of
 dollars they were owed.

 The suit, filed Tuesday in state court in New York, seeks at least $2 billion in damages from Match
 Group (MTCH) and its parent company, IAC/InterActiveCorp (IAC). The plaintiffs are represented
 by Orin Snyder of Gibson Dunn, who has represented some of the biggest companies in tech,
 including Facebook (FB), Apple (AAPL) and Uber.

 Pambakian and the three other plaintiffs in the suit who still work at Tinder were put on paid
 administrative leave by the company on Tuesday, according to a source familiar with the matter.


 Related: Tinder co-founders and 8 others sue dating app's owners, claiming they're owed $2

 billion

https://money.cnn.com/2018/08/15/technology/tinder-rosette-pambakian/index.html                                         1/4
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 IAC denied the claims and issued a statement calling the suit "meritless" and saying it would
 "vigorously defend" itself against it.

 A spokesperson for Match Group said in a statement, "The Match Group Board takes allegations
 of workplace misconduct extremely seriously. We investigate reports of misconduct, including
 sexual harassment, promptly and thoroughly, and take appropriate action, including swift
 termination of those responsible for such behavior.

 "As it relates to the matter alleged in the lawsuit, an incident occurred in late 2016 and was
 reported at the end of April 2017. The Match Group Board -- with the assistance of experienced
 outside counsel from two nationally recognized law firms -- promptly conducted a careful and
 thorough investigation under the direction of independent Board members, concluded, among
 other things, that there was no violation of law or company policy, and took appropriate action."




 Accuser says says outside investigator never questioned her

 Pambakian said she was never questioned by an outside firm, only Match executives, and
 believes Blatt was protected as part of the alleged "scheme" to deny early employees millions of
 dollars.

 CNN has learned more details surrounding the alleged incident, which occurred during Tinder's
 2016 holiday party at the SLS Hotel in Los Angeles.

 According to Pambakian, the party coincided with Blatt being named CEO. She said Blatt started
 behaving inappropriately, including saying at one point, "I get hard every time I look at you."

 According to Pambakian, Blatt then said, "let's get out of here."

 "In that moment, I thought, 'My boss actually thinks I'm going home with him,'" she said. "I
 basically bolted, found two people I knew and said, 'Hey, let's go up to your room.'"

 They gathered in that hotel room, one of several the company had booked for the evening.

 Pambakian said Blatt showed up soon after, although she does not know if he was aware she
 was there.

 She said she was sitting on the bed when Blatt entered the room and, without saying anything to
 anyone else in the room, pushed her back onto the mattress, climbed on top of her, and began
 kissing and fondling her.

 Blatt did not respond to a CNN request for comment.

 A source familiar with the matter told CNN the allegation was investigated and found that Blatt
 had been invited to the room by one of the people there and that "this was a one-off consensual
 error in judgment."

 "From what we understood from interviews and investigations, there was consensual cuddling
 taking place," the source said.

 Pambakian strongly disagrees. "It wasn't consensual -- there was no opportunity, no 'hi,' 'hello,'
 before I even knew it, Greg Blatt was on top of me in a hotel room," she said.

 Word of the incident soon spread among Tinder employees, according to Pambakian. Because
 she reported directly to Blatt, she reported the incident to executives at Match.

 Two sources who spoke to Pambakian within days of the alleged incident said she appeared
 visibly distraught over it. "She was crying when she told me," one source told CNN. "She
https://money.cnn.com/2018/08/15/technology/tinder-rosette-pambakian/index.html                                        2/4
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 genuinely seemed upset."                            #:114
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 Pambakian, who has led Tinder's communications since 2012 and joined the company full time in
 2014, told CNN she felt conflicted about how to handle the alleged incident. Her role leading the
 company's communication strategy required her to protect the company's image, not make
 herself the story.




 Hesitant to discuss incident

 Pambakian said she was hesitant to discuss the matter publicly because she didn't want it to
 define her. She also worried that it would stall her career. But she found that position increasingly
 untenable as word of the incident spread and journalists -- including me -- started asking
 questions and rumors began circulating at the company.

 "The self-loathing that followed was almost unbearable, and frankly, indescribable," Pambakian
 said. "I couldn't understand why I was protecting a company that did not protect me when I
 needed it most."

 Pambakian was reluctant to share details of the incident publicly at the time, she said, because "I
 didn't want any public attention the incident received to overshadow my contributions and
 achievements to building a massively successful brand."

 Rad, who attended the party but didn't witness any interactions between Pambakian and Blatt,
 said he learned of the allegations months later and asked Pambakian about them. According to
 the suit, he reported the incident to Jared Sine, Match's general counsel. According to the suit,
 Sine told Rad that Match's board of directors -- of which Blatt was Chairman -- "would run its own
 investigation."

 "Defendants refused and covered up Blatt's conduct," the suit states. "Defendants even allowed
 Blatt to contact Pambakian and one of the eyewitnesses directly, whom Blatt then pressured to
 conceal his misconduct."

 Rad said he alerted IAC officials to the allegations in mid-2017; the suit alleges that they did
 nothing and kept Blatt on as CEO because he was key to their plan to downplay the company's
 valuation. Rad also told CNN that he confronted Blatt. "I was told, 'If you take me down, I'm going
 to take you down with me,'" Rad said.

 Pambakian said she received sympathy from senior executives at the company who heard about
 the incident but nothing was ever done.

 "No outside firm questioned me," she said. "Multiple IAC and Match executives apologized
 profusely to me for Greg Blatt's conduct on the night of the holiday party." According to
 Pambakian, she was also asked to sign an NDA that would have required her to never speak
 publicly about the incident in exchange for compensation, but she refused.




 Allegations that harassment not isolated incident

 Pambakian says Blatt's behavior wasn't an isolated incident. According to her, many other women
 were subjected to "pervasive sexual harassment and misogyny by Match executives."

 Pambakian said that when she asked about a budget for activities to boost company morale, an
 executive relayed a message from Blatt, who said the company didn't need a budget for that
 because she and and two other women on her team were "company morale." The executive said
 another woman on the team wasn't included in that category because she "had peaked,"
 Pambakian told CNN.



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 That same executive, according to Pambakian, told her it was "strategic"
                                                                  #:115 that a woman on her
                                                                  #:726
 team was wearing a skirt the day she asked her boss for a raise, and said he also told her he was
 sweating looking at her. According to Pambakian, that executive also referred to a female
 colleague at a Match Group party as a "bathroom bang."

 A source described her own experience with that executive, who was her senior. She said that at
 a company happy hour, after she rejected his advances, he called her "unattractive" and said she
 looked like a "Russian prostitute."

 According to that source, the executive resigned a year later after HR conducted an investigation.

 "As it relates to the Tinder executive, we completed a thorough investigation into his behavior
 within days of it being reported, after which he was promptly removed from the Company," a
 Match Group spokesperson said.




 Not first allegation of harassment

 This is not the first time there have been allegations of sexual harassment at the executive level
 at Tinder.

 The plaintiffs in the lawsuit also include Tinder co-founder Justin Mateen, who was accused of
 sexual harassment by former employee Whitney Wolf in 2014, claiming he harassed her and that
 Rad allowed the harassment to take place. It settled without an admission of wrongdoing by any
 of the parties. CNN has reached out to Mateen and Wolf for comment.

 Although Blatt resigned as Tinder's CEO in in 2017, he is vice chairman of the Match Group board
 of directors.

 The suit alleges that IAC and Match allowed Blatt to continue as CEO until the Wall Street banks
 completed their valuation, which placed Tinder at $3 billion. Blatt left the company with a "golden
 parachute" worth "hundreds of millions of dollars," the suit states.

 As to why she's speaking up now, Pambakian said she feels an obligation to the 40 people, most
 of them young women, she leads. "I absolutely cannot allow them to be subjected to the things I
 experienced," she said.

 Despite being placed on leave after the suit was filed Tuesday, Pambakian is still an employee of
 Tinder.

 "Why should I be the one to leave my job that I love when I did nothing wrong?," she said in a
 statement to CNN ahead of being placed on leave. "Why is it that the men responsible for this
 type of behavior are allowed to quietly resign with a hefty severance package while no one is the
 wiser? Why are they being protected while I fear for my future and reputation for blowing the
 whistle?"

 -- CNN's Chris Isidore contributed reporting.

 CNNMoney (New York)
 First published August 15, 2018: 9:35 PM ET




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   TECH      TINDER                                                                                                               22

   Tinder ﬁres its head of comms, following her
   participation in a $2 billion lawsuit against Match
   The Verge obtained an email exchange between her and Match’s CEO
   By Ashley Carman @ashleyrcarman              Dec 18, 2018, 4:31pm EST




  Photo by Ben A. Pruchnie/Getty Images for #Grazia10




   Multiple Tinder employees who sued the dating app’s parent company, Match Group, for
   $2 billion were fired this week, a source close to the employees tells The Verge. Among
   them is Rosette Pambakian, VP of marketing and communications, who, in the original
   lawsuit, claimed that former Tinder CEO Greg Blatt sexually assaulted her. Match
   spokeswoman Justine Sacco wouldn’t confirm the names of the employees affected, but
   did say a “number” of employees, including Pambakian, were let go because they were
   “unable to fulfill their job responsibilities.”

   The company initially placed these employees on administrative leave in August, which
   meant they weren’t allowed to work, but continued being paid. Since being fired,
   Pambakian sent an email to Match Group CEO Mandy Ginsberg and Tinder CEO Elie

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   Seidman, saying she was subjected to “ongoing intimidation and retaliation” designed to
   “pressure [her] into resigning.” The Verge received a copy of this email from a source
   close to Pambakian, which we’ve published at the bottom of this article.

   The email also says the firing had to do with Pambakian’s sexual harassment claims
   against Blatt and that she was never interviewed about those claims. She writes, “You
   told the world that a sham investigation (in which I was never even interviewed)
   determined the assault was some sort of ‘consensual cuddling’—as if there could by
   anything consensual about a CEO groping his subordinate in front of other employees
   after making sexually explicit comments throughout the evening of a company holiday
   party.” She also claims that Match fired her a day before her options vested. She
   mentions an arbitration agreement, which forced her to withdraw from Tinder co-founder
   Sean Rad’s lawsuit, and that she “refused to sign a non-disparagement agreement
   presented to me by HR, which would have prevented me from speaking publicly about
   my experience in exchange for compensation.”




       Do you have more to say about what’s happening with Match or Tinder? Reach out to me at
       ashley.carman@theverge.com or through Twitter DM @ashleyrcarman. You can also always use

https://www.theverge.com/2018/12/18/18146668/tinder-lawsuit-match-rosette-pambakian-fired                                             2/6
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   Ginsberg responded to Pambakian’s email in her own email, which we’ve also published
   below. In it, she rejects Pambakian’s retaliation allegations and reiterates that the
   company investigated Blatt and prior sexual harassment claims. Pambakian, she says,
   never filed a sexual harassment claim in the first place. “I was not the CEO at the time,
   but I know you were interviewed on at least two separate occasions and you never
   alleged sexual harassment,” she writes.

   She goes on to say that Pambakian’s options “have already been accelerated, and
   should be exercisable in your account, along with the other equity awards that have
   vested since August,” and says that the arbitration agreement is standard and “there is
   no NDA in them and we never tried to force you to sign a non-disparagement agreement.
   You’re free to talk about anything publicly that you’d like.”

   Much of this correspondence has already played out in public. Match responded to
   Pambakian’s sexual harassment allegations in the lawsuit around the time of filing and
   said it “conducted a careful and thorough investigation under the direction of
   independent Board members, concluded, among other things, that there was no violation
   of law or company policy, and took appropriate action.”

   The lawsuit itself centers on the allegation that Match purposely undervalued Tinder in
   an effort to avoid paying lots of cash to the original team, but it’s unclear what
   involvement Pambakian will have going forward as she had to withdraw.

   Rosette’s email:


        Dear Mandy,

        Six years ago I wrote the very first press release for Tinder. Since then, I’ve poured my heart
        and soul into this company and helped grow it into a global phenomenon and top-grossing
        app. I was the youngest and longest-standing female executive at the company. I love Tinder.
        And I love my colleagues. But you have now fired me from a company I was so proud to build
        in blatant retaliation for joining a group of colleagues and Tinder’s original founding members
        in a lawsuit against Match and IAC, standing up for our rights, calling out the company’s CEO
        Greg for sexual misconduct, and confronting the company about covering up what happened
        to me.
https://www.theverge.com/2018/12/18/18146668/tinder-lawsuit-match-rosette-pambakian-fired                                             3/6
9/25/2019Case                 Tinder fires Rosette Document
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        While I truly hoped that decency and professionalism     #:119
                                                                 #:730         would prevail and that you would let me
        return to work, I knew that was probably unlikely when I was placed on leave the very day the
        lawsuit was filed and you continued to defend the actions of the executive that I spoke out
        against. Rather than acknowledge the truth and condemn his actions, you chalked it up it to
        “bad judgment.” To make matters worse, you told the world that a sham investigation (in which
        I was never even interviewed) determined the assault was some sort of “consensual
        cuddling”—as if there could by anything consensual about a CEO groping his subordinate in
        front of other employees after making sexually explicit comments throughout the evening of a
        company holiday party. No company that has faced allegations like this has gone to such
        lengths to protect one of its own – it’s truly despicable.

        Since being placed on leave, I’ve been subjected to ongoing intimidation and retaliation
        clearly designed to pressure me into resigning—from immediately removing my name from
        my office and converting it into a conference room, to trying to coerce me into turning over my
        private and personal data on my phone. Though I can think of no other company that has
        actually fired the woman who made sexual assault allegations against an executive—the
        company’s actions here, including firing me just one day before my remaining options vest,
        are totally consistent with the way you have circled the wagons around him from day one.

        Was the board aware that the company would publicly blame the victim?

        When I refused to sign a non-disparagement agreement presented to me by HR, which would
        have prevented me from speaking publicly about my experience in exchange for
        compensation, Match snuck an arbitration clause into its employees’ most recent compliance
        acknowledgements, causing me, Jonathan, James and Josh to have to withdraw from the
        lawsuit. Know that my former Tinder colleagues and I still vigorously support that lawsuit —
        IAC and Match cheated us out of what we were promised and rightfully earned in exchange
        for building Tinder into Barry Diller’s most valuable business. As the lawsuit progresses the
        evidence will emerge and the world will see how IAC and Match plotted against their
        employees and rewarded misconduct.

        I never imagined that I’d be pushed out of my company for standing up for what is right. But if
        that is the cost of being on the right side of history, I’ll pay it. As a woman CEO, I truly hope
        that you reconsider the safety of your remaining female workforce and allow Tinder and other
        Match owned companies to follow in the footsteps of Uber, Facebook and Google in
        eliminating forced arbitration for sexual misconduct claims. We deserve better.

        Rosette


   Mandy’s email:
https://www.theverge.com/2018/12/18/18146668/tinder-lawsuit-match-rosette-pambakian-fired                                             4/6
9/25/2019Case              Tinder fires Rosette Document
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                                                              #:731
        Dear Rosette,

        I’m glad you reached out to me directly and I would like to take this opportunity to clarify a few
        points, because there seems to be a very real disconnect here that I truly want to fix.

        You were not terminated because you reported Greg for sexual harassment. You couldn’t
        have been, as you never reported Greg for sexual harassment. When Sean Rad brought the
        subject up nearly five months later, right after the valuation process commenced, it was
        immediately and thoroughly investigated by the Board, independently without any involvement
        from Greg, which concluded that no sexual harassment occurred. I was not the CEO at the
        time, but I know that you were interviewed on at least two separate occasions and you never
        alleged sexual harassment.

        On the topic of sexual harassment at Tinder, you know how seriously reports are taken. You
        yourself reported two other male colleagues, whom Sean Rad hired, and they were very
        quickly dismissed. Clearly, it was taken very seriously given the company terminated those
        individuals. More importantly though, Greg is no longer here. I am. And I promise you, we do
        not retaliate against anyone who reports sexual harassment. Your position was never at risk
        due to any sexual harassment complaints. I wanted to find a way to keep you employed at
        Tinder.

        As explained in the letter we sent you, you were terminated because it was not possible for
        you to fulfill the duties and responsibilities of your role as Tinder’s spokesperson for a number
        of reasons, including your public position against the company over a valuation process. We
        also recently asked you to come to the office for a meeting with the HR department to discuss
        work-related activities and policies and were told that we can only contact you through your
        attorneys. Unfortunately, it’s impossible for you to do your work at Tinder if all communications
        related to your job have to go through your lawyers. As it relates to your personal information,
        any suggestion that we have been trying to access it is just not true. Like any company, we’ve
        asked for you, and all other employees involved, to return company laptops, phones and other
        devices to us. And unfortunately, we couldn’t retrieve a number of company devices from you
        and the others since you claimed that they were coincidentally all lost or damaged just before
        you decided to sue the company.

        There are two last points I want to make: on the point about your equity, those options have
        already been accelerated, and should be exercisable in your account, along with the other
        equity awards that have vested since August. However, on the arbitration agreements, there is
        no NDA in them and we never tried to force you to sign a non-disparagement agreement.
        You’re free to talk about anything publicly that you’d like. You have already done so and that’s

https://www.theverge.com/2018/12/18/18146668/tinder-lawsuit-match-rosette-pambakian-fired                                          5/6
9/25/2019Case                Tinder fires Rosette Document
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        your prerogative. But the arbitration agreement         #:121
                                                                #:732
                                                                    is attached again. As you already know from
        when you signed it, it’s clearly labeled “Agreement to Arbitrate.”

        I am a strong female advocate and have said to the women in the organization that as a
        female CEO in charge, I have zero tolerance for bad behavior and I am very much invested in
        every single employee’s success. If you’d like to discuss any of the above, or have a
        productive dialogue, I am here and will make myself available for an in person meeting. Just
        let me know.

        Mandy




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  Tinder fires employees who sued its
  parent companies
  By Ahiza Garcia, CNN Business
  Updated 10:04 PM ET, Tue December 18, 2018




  San Francisco (CNN Business)Tinder this week fired multiple employees who were part
  of a $2 billion lawsuit against the dating app's parent companies, Match Group and
  IAC/InterActiveCorp. Among the fired employees was Rosette Pambakian, who was
  Tinder's vice president of marketing and communications.

  The lawsuit was brought in August by the co-founders of Tinder and several other
  employees. It alleged that current owners manipulated the company's valuation to deny
  them millions. The suit also alleged that Tinder's former CEO, Greg Blatt, sexually
  harassed Pambakian.

  Pambakian sent an email to Match Group CEO Mandy Ginsberg and Tinder CEO Elie
  Seidman on Tuesday, claiming she was fired in "blatant retaliation" for her involvement in
  the suit, which she has since withdrawn from due to an arbitration clause.

  Match spokeswoman Justine Sacco confirmed to CNN Business that a number of
  employees were terminated for, she said, being "unable to fulfill their job responsibilities."
  The employees were initially placed on paid administrative leave in August. The Verge was
  the first to report the news of the firings.

  Blatt was named CEO of Tinder in late 2016. The lawsuit alleges Blatt groped and sexually
  harassed Pambakian at a company holiday party shortly after taking on the role. The suit
  also alleges that when Tinder co-founder Sean Rad informed IAC of Blatt's conduct, it was
  covered up and Blatt was kept as CEO.

  "To make matters worse, you told the world that a sham investigation (in which I was never
  even interviewed) determined the assault was some sort of 'consensual cuddling,'"
  Pambakian said in her email, which was obtained by CNN Business.

https://www.cnn.com/2018/12/18/tech/tinder-fires-rosette-pambakian-lawsuit-match/index.html                           1/3
9/25/2019Case    2:19-cv-07046-MWF-FFM Tinder fires employees
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  Blatt did not comment when the initial lawsuit was filed and could not be reached for
  comment for this story.

  Pambakian wrote that she was put on leave immediately after filing the suit and faced
  continued pressure from within the company to resign. She was fired the day before her
  remaining stock options vested, she said. The company and Ginsberg denied this.

  The other central allegation in the suit is that Match Group and IAC manipulated Tinder's
  valuation in order to deny the plaintiffs millions of dollars in stock options.

  The suit alleges executives worked to have two Wall Street banks undervalue Tinder in
  2017 at $3 billion. That was the same as a valuation done two years earlier, despite rapid
  growth in revenue and subscribers, according to the plaintiffs' original filing in the case. If
  the valuation was downplayed, it would negatively affect how much money the co-founders
  and early employees received.

  Tinder asked a judge to throw out the suit in October, claiming the co-founders had taken
  too long to file the suit.

  Match Group CEO Ginsberg responded to Pambakian on Tuesday with an email of her
  own, which was also obtained by CNN Business. In it, she claimed Pambakian never filed
  a complaint about Blatt and was interviewed twice for the investigation into the harassment
  allegations. Ginsberg said Pambakian wasn't fired for speaking out against Blatt.

  "You were terminated because it was not possible for you to fulfill the duties and
  responsibilities of your role as Tinder's spokesperson for a number of reasons, including
  your public position against the company over a valuation process," Ginsberg wrote.

  In a follow-up email to Ginsberg, obtained by CNN Business, Pambakian said she did
  report the alleged "sexual assault" to HR.

  Pambakian said she was also asked to sign a non-disparagement agreement in "exchange
  for compensation." She said a representative from human resources described what Blatt
  had done as a "terrible ordeal." Pambakian said she refused in writing to sign the NDA.
  The company denied trying to force her to sign an NDA.

  Laurie Segall and Chris Isidore contributed reporting.
https://www.cnn.com/2018/12/18/tech/tinder-fires-rosette-pambakian-lawsuit-match/index.html                           2/3
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https://www.cnn.com/2018/12/18/tech/tinder-fires-rosette-pambakian-lawsuit-match/index.html                           3/3
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                        Exhibit 1
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                                                   #:737




                   from : Ma ndy Ginsbe rg
                   Sent: Tuesday, Dece mbe r 18, 2018 2:33 PM
                   To: 'rosette .pa mba ki an @gma iI.com' <rosette. pa m bakia n @gm aiI. co rn>
                   Cc: Elie Seid man <El ie.Sei dma n @got inde r.com>
                   Subj:ect: RE: Te rmiri atio n
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                   IDe,ar Rosette,

                   l'ni glad you rea on ed out t o me dirnctly and I wo u Idi Iike to take t h is
                   opportunity to clarify a few points, because the re see ms to be a very rea I
                   disoonnect here that I t ruly want to fix.

                   You were not terminated because you reported Greg for s,exua l
                   hiaraiSSment You cou ldn't have been, as you neve r reported Greg for
                   sexual harassme nt. When Sean Rad brought the subject up nearl'y five
                   months late r, rjghit after the va luation prooess oommenced, it was
                   imm ed iately and thioroughi ly investigated b,y the Board, indepe ndently
                   without any invo lveme nt from Greg, which oonoluded that no sexua l
                   hia raiSSment oocurred. I was not thie OEO at the ti me, but I know that you
                   were inte rviewed on at least two sepa,rate occ.asions and you neve r
                   a ll eged sexua l ha rassment.

                   On thie topic of sexual harassment at Tinde r, you know how seriously
                   reports are taken. You yourself reported two other ma le colleagues,
                   whom Sean Rad hired, and they were ve ry qu ioldy dismissed. Clea rly, it
                   was taken ve ry serious ly give n thie oompany term inated those ind ividua ls.
                   More importantly though!, Greg is no longer here. I am. And I prom ise you,
                   we do not reta,liate aga inst anyone who reports. sexua l ha rassme nt. You r
                   posit ion was never at risk due to any sexual ha rassment com plaints. I
                   wanted to find a way to keep you emp Ioyed at Tinde r.

                   As explained in the letter we sent you, you were t e rm inated because it
                   was not poss ible for you to fu lfi ll the duties and respons ibilit ies of your
                   role as Tinde r's spokesperson for a numbe r of reasons, including you r
                   public posit ion against thie oompany over a va luation p rooess . We also
                   recently asked you to come to thi e offioe for a meeting wit hi the HR
                   department to discuss work-re lated activit ies and poli ciies and were told
                   thiat we can on ly oontact you th rough! your attorneys. Unfortunate ly, it's
                   impossible for you to do your work at Tinder if a ll communications related
                   to you r j:ob have to got hi rough! your lawyers. As it relates t o your persona I
                   information, any suggestion that we nave been trying to access it is just
                   not truie. llike any company, we've asked for you, and all other employees
                   involved, to return oompany laptops, phones a nd other devioes to us. And
                   unfortunate ly, we cou ldn't retrie ve a number of company devices from
                   you and thie others since you cla imed that they were oo incidenta lly a ll lost
                   or damaged just before you deciid!ed to sue the company.

                   There are two last points I want to make: on thie point about your equity,
                   thiose options have a lready been aocele rated, and shiou ld be exercisable in
                   you r aocount, a long withi thie other equity awards thiat have vested since
                   August. However, on the arbitration agreements, thiere is no NOA in the m
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                   and we never t ried to force you to sign a non-dispa ragement agreement.
                   Vou'rn free to talk about anything pu blicly t hat you'd like. You have
                   a lready done so and that's your prerogative. Butt he arbit ration
                   agreement is atta on ed again. As you a Iready know from when you signed
                   it , it's d early labe led "Agree ment to Arbitrate."

                   I am a strong female advocate and nave said to th e women in t he
                   o rganization thiat as a fe ma le CEO in oharge, I have zero tolerance for bad
                   be hiavior and I am very muon invested in every single employee's success.
                   If you'd like to discuss any oft hie above, o r have a productive dialogue, I
                   am here and will ma ke myse lf available for an in person meeting. Just let
                   me know.

                   Mandy



                   Firo:m : Rosette Pam bakia n [ma ilto:rosette .pa m ba kian@gm aiI. com]
                   Sent: Tuesdlay, Deoern ber 18, 2018 10:17 AM
                   To: Mandy Ginsberg <Mandy@match.com>
                   Cc: Eli e Seidman <elie.seidman@gotinder.com>
                   Subject: Termin at ion

                   Dea:1· Mandy,

                   Su: years ago I wrote the J"ery first p1-ess 1-elHse for TmdH. Sinre then. l'n p,oured! my
                   he.art and! so I into this company and helped! grow it into a g]obal phenomenon and! top-
                   grossing app. I was tht' youngest and! longest--sb.ndmg ft'male exerutin at t!he company.
                   I Ion TmdH. And! I lon my roUe.aguf.'l. 8 t you han non find mt' from a company ii
                   was so prond to build! in blatant retaliation fo1· joining a :gl'Ollf o.f colleagues and
                   Tinder's original fooomng mt'mbers in a lawsuit against ~fakb and MC. standing op
                   for our rights, railing ont the rompany's CEO Greg for su.1131 miscondurt. and!
                   confronting the rompany about roJ"erm;g up what bappt'ned to mt'.

                   "fhi.tt' I truly hoped that dttency and! p1'0fessionalism wou1d pRl'ail a ,d] that yo
                   n·ou1d! 1rt mt' return to work, ii kun- that was probably unlike]y n en ii was pJaced! on
                   Iran tht' \'t'ry d!ay tht' lawsuit was filed and! yon ronti:nued to deft', d die actions o.f the
                   ezu, tin that I spoke oat a.ga:inst. Ratht'l' than acknowlt"dge the truth and! condt'mn
                   his actio s. you chaJk.ed it u, it to "bad judgment." To makt' matters wo1'Se yon told
                   the world that a s!bam innstigation (m which ii was nenr enn mttrl'iewt'd) determined
                   the assault was some sorit of " const"".nsual ruddling"- acS ifthHe ro d by aillything
                   consensaa] abont a CEO gropmg ibis subord!inate in firont of otiber employee-s after
                   making su, ally e:qilirtt commt'nts througibout the uening of a rompany holiday party.
                   No rompany that has fared alle-gations like this has gont' to sur!b lengths to protttt ,ont'
                   ofits own - H's tntly de.spicabk

                   Smee betng placed! on lean. l'n been subj,uted! to ongom;g intimidation and re- aliation
                   dea:1iy designt'd! to prt.'lsnre me into reS:igmng- from immed!iatt'lly 1-emoJ"m;g my name
                   firom my offi.re and! ronver,tmg tt into a conference l'Oom, to trying to roe1Ye me into
                   turning ,oJ"er my pril'3te and prnonal data on my phont'. Thougib I can think o.f no
                   othH company that has adaally fired tht' woman who made sexual assau1t alk-gations
                   agaiinst an ext"cutin-the rompany's artions here, mduding firing me j1ast one d!ay
                   befort' my Rmaiining optioills nst, are totally consistent with tht' way yon ban rtrded!
                   the wagons atl'Ound him f1'0m day one.
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                   Was t!be board aware that the company would pnlblkly blame the ,i.c1im:?

                   'When I refused to,si.gn a non-disparagement agreement presented to me by HR. which
                   would have pre,•ented me from spe.aking pnlbtidy about my experience tn en!bange fm·
                   compensation, Makh snuek an aribttration dame into, its empfoyees' most recent
                   comp6anee acknowledgements, eaustng me, .!Jonat!ban, Jame..,; aod .!Josh to ha,·e to
                   wi.thd1"llw foom the lawsui1t. Know that my forme1· Tinde1· eoHeagues and I still
                   ,igoroosl}· suppm1 that lawsuit - IAC and M:atc!b ehe"3Jted us out of what we were
                   promi.sied and ri.ghtfolly earned i.n exehange fm· building l'i.nder into Barry Dille1·'s
                   most nluabfe business. As tbe lawsui.t progresses the rndence will emerge and the
                   world will see how M.C and Match plotted against theh- employe-es and 1-ewarded
                   miscondnd.

                   I oe\·er tmagined that Pd be pushed ont ofmy rompany for standing up .for n'!hat is
                   right. Bot iUhat is the rost ofbei.ng on the l'1eohtsi.de of history, I'll pay it. As a woman
                   CEO, I tr, I}· hope that you reconside1· the safety of your remaining female workfot"('e
                   and aUow Tinder and other Match owned eompanies to foUow i.n the footsteps ofliJbi'1·,
                   Facebook and Google in eltmi.nating foued atbifra6on for sexual misconduct datms.
                   \"\ e desene better.

                   Rosette
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                         MUiJUAl AGREEMEINT m ARIBmRATE OLAIMS ONIAN INQfYIDUAIL IBASIS AND
                             SUMMARY PE JHE PJUEHH\AIIYE mspuTE PBP§HAM WH CAUfO:RNIA

          A Better Wart to Resowe Diisputes
          W e understand that probii'.ems can occur ev,en in th e best worikpllaces. In recog,iition of the fact th1at
          differences mary anise between th e Company and the undersigned r'Associate"'), and in recog,i iil:ion of th e faot
          that r,es,oil'u tion of any differ,emies in th e courts is raneilly il:ime or oost effective for e:i ther party, the Company
          has inistib..J1ted an Altemative Dispute Resoil:ution Program for calTfornia (the "Program" )1         , with an effective date
          of February 1st, 2018. In connection with1i!:he Program, i!:he Company and i!:he Associate eadh agree t o enter
                                                                                           r
          into th is M uil:ualll Agreement to Arbitrate Claims on an Individual Basis Agreement")i to ga in the benefits of a
          speedy, impartial and ,cosil:-efifective dispute resolution procedure. This Agreement also contains a summary
          of certain of th e Program terms.

           1. Agrggmept to Arbjtrate; Cfaj 00§ Cpygfgd by Agrggment The parties hereto agree that al II references. to
          tihe "Company'' in th is Agr,eementwm indude Match Group, Inc., and all of its r,e lated, subsidiary and affiliated
          ,entities, and i!:he form er,. cu rrent and f,uil:u re officer s, directors and employees of alll such entities; all benefit
           pllans and th eir fiduciar ies and admfnisil:rators; and alll su ccesso:rs and assigns of tihese indiviiduals and enil:ities.
           ExceiPt as provided in Seotion 3 oHhe Program or as otherwise requined by law, th e Companyandi!:heAssociate
           hereby oonsent to the resolutii on by arbitration on an individua 1IIbasis of alll daims or ,controversies arisir1g ouil:
          of or in ,connection with Associate's application witih, employment with, o:r tenmina,t ion from, i!:he Company.
          The Company and th e Associate agr,ee i!:hat arbitration shall proceed on an individual baiS!is w,i thout the right
          fur any ,claims tJo be arlbitrail:ed as a daiss, consolidated, collective or representative action . Nothing with in this
          Agr,eement or i!:he Program oonsil:iil:utes a wafv.er or prohibfti on of an Associate' s right to ft le a ,charge or
          complaint wiil:h i!:he IEIIEOC, NLRB or similar agency. This Agreement is mub..J a~ enoompassing a[I cla ims i!:he
          Associate may hav,e against i!:he Com;pany or that i!:he Company may have against i!:he Associate, aoept as
          ,e xplicitl:y stated in i!:he Program. The ,claims oovered by i!:his Agreement include, but are nail: [imfted to, claims
          fur wages or oi!:her comipensatiion du e; claims for breach of any contract, express or implied; tiort cla ims; claims
          fur discrimination, harassment or retaliation of any kind; and da ims for violation of any federa ~ sil:ate or oi!:her
          statute, ordi nance, regu lation, or ,c ommon law.

           2. Goyemjpg Law The parties agree that i!:he Company is engaged in transactions involvi1ng intersil:ate
          ,c ommer,oe. Ex(lept as prov,ided or under tihe Program, or as required by law, the Federal Arbiil:ration Act shall
          gov,ern th e interpr,eil:ation, enforcement and aH proceedings pursuant to this Agreement; and all arbitrati ons
          cov.e red byi!:his Agreement shallll be adj udicai!:ed in accordance wiil:h th e state odederal l a,w for the jurisdiction
          where th e Associate was emipl1oy,ed wh en tihe dispute arose.

          3. wajvec gf IRjghttg IYEY By entering into i!:his Agreement, th e Company and Associate each rmowiqgly
          and vol:u nil:an1:y waive any and a II rights tihey h a.v e un de:r law to a ma1IIbefore a j ury or judge in a ,c ourt of
          law for a oove;red claim. The Comipany and Associate each un de:rstand i!:hat tihey are giving up no
          substantiv,e 1nights, and th,at i!:his Agreement sim;ply governs forum.

          4. Exclusive Remedy For daims covered by this Agreement, arbitration on an individual baiSis is the parti,es.'
          ,e xcllusive remedy. rile arbitirator's aiui!:hority to resolve claims and make wrttten award:s is limited il:o claims
           between i!:he Com;pany and the Associate on1:y . On1:y a court can interpnet the soope and application of i!:he
          dass, oonsolidated, oollective or r~presenil:ative action waive:r. Only an arbitrator ,can interpret th e scope and
          application of i!:he remainder of i!:he Program. The decision of an arbftratior on any daims submitted to
          arbitration as provided by i!:his Agreement shalll be fina'II and bind ing upon the partiies, except for the l imfted
           right to appeall aiS set fo:rtlh in i!:he Program.

          5.    Summary Th is is only a summary of i!:he Prngra m. The Program can only be amended,. modified, or
          r,evokied wit:h 14 days prior notice to Assodate, w hich amendment, modification or revocail:ion wi'II not
          affect daims which have al ready been submitted under i!:he Program or daims where a charge has been fried
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          to satisfy the federal and/or state condiitions precedent fo:r employment-reillated dllafms prior to su'bmissifon of
          a dllaim under this Program. In the ev,e nt of any conflTcts between this Summary and the Program, the Program
          willl control.

          ASSOOIATE ALSO UNDERSTANDS liHAT 11T IS HIIS/HER RESPONiSIB!1UTYT O RiEVIIEW liHE MATOH GROUP~ INC.
          ALTERNIATIVE OlSPUTE RESOLUTION !PROGRAM WH IOH CONTAINS All O F THE TERMS UNDBR WHIOH
          Dl!SPUJES Will HE RESOLV1BO UINDER THE PROGRAM. THE PROGRAM OOCUMENif IIS INCORPORAliED BY
          REFERENCE INTO llH IS AGREEMENT. A COMPLETE COPY Of THE PROGRAM CANI IBE OBTA!INED AT THE
          COMPA!NY'S HUMAN IRESOUR!OES' O FflU OR BY ACCESSING MATOHGROUP POUOIES EXTERNIA!L UNK IN
          WORKDAY THROUGH A PERSONAL COMPUTER .. THE PROGRAM CA!N BE FOUND IN liHE "IP dlicies" SECTIU:N
          O F THE W ORKDAY DASHBOAIRD .•

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                                                                GROUP, INC.
                                AlllEiRINATIIVE DIISJJUTE RESOLUTION PROG RAMI FOR ,CAUFORN JA


                                                  A BHllEiR WAY TO RESO LV E DISJJUTES

    Tlhis ms pute Resol utJi on Program is the dispute reso I ut ion program adopted by the Company on Dec e m lb e r .:.n th,
    2017, and as updated from tJime to t ime. In recognit ion of the fact that, from time to tJime,. differences may arise
    betw,een 1:lhe Company and its associates (e,aoh, an "Associate") before, during, or after, each Assooiate' s employment,
    and in r,eoognition of 1:he fact 1:lhat r,eso lution of d ifferenoes in 1:lhe courts is rareilly time or cost effectlfve for eitlher party,
    the Company has instituted 1:lh is Alte mative Dispute Reso!J:utio n Program (the " Program").. In fiurtlhera nee of tlhe
    Program, tlhe Company and ,each of its Assooiates have entered into a M u1:!ual Agreement to Arbitrate di.aims on an
    Individual Bas is ("Agreement") as an efficient, impartialll and oost~effective dispute r,esolJ:ution procedure.

     1.     Mutual Agreement to Resolve Disputes Thro ugh Arbitration

    Tlhis Program is mu1:!uall, covering alll claims that each .Associate may have aga inst the Company or tlhat tlhe Company
    may have aga inst an .Associate, except as expll icitlystated be low . AHi referenoes to the "Company" in tlhis Agreement
    shalll include Match Group, Inc., and all of its respective re!Jlated, parent, su bs idiary, and affiliated ,entities, incl uding
    all former, current and future offioers, directors and empl'oyees of all suclh entities, alll benefit plans and t lheir
    fiduciari>es an.di admin istrators, and allll su:ocessors and assigns of these ind ividualls or ,e ntities. All refer,en ces to
    "Associate" in.dude ,each associate and his/her spouse, representative, su:ocessor, or any pers,on or entity malkJing a
    daim by, tlhrouglh or on behalf of an Assooiate.

     2.     Ola ims Covered     by Thiis Agreement

     Exoept as otherwise provided in this Program or as otherwise required by law, the Company and the Assooiate oo nsent
    and agr ee to the resolution by arbitratio n of all claims or controvers ies invollv ing or in any way oonoeming Associate's
    application witlh, empl'oyment with, or t enm ination from, the Company. The Compa ny and tlhe Associate fiurther agree
    that arbitration shalll proceed so lely on an indi111iduall basis without 1:lhe right for any olaim s to be arbitrated as a class,
    ,consollidated, coll'ective or representative action. Cla ims may not be joined or cons,olidated unl,ess agreed to by alll
     parties in wniting. Notlhin g within this Agreement constitutes a waiver or proh ilbit ion of an Assodate's right to file a
                            1




    ,clharge or oomplaint witlh tlhe Equal Em ployment Opportunity Commission, National! Labor Rellations Board or state or
    federa l age ncy of a similar narure~

    Tlhe daim s cov,ered by tlhis Program indud,e, but are not limited to, dairns for standard wages, overtime wages,
    benefits,. ,equall pary, or other compensation due; dJlaims for breach of any contract, express or implied; pers,onal injury
    o r ,employment r,ellated tort claims ,{incl uding claims for negligence, gross neglig:enoe, intentional harm); cla ims for
    d iscnimination, harassment or r ,e ta lliation of any lkind - induding without l1irn itation d iscrim in ation, harassment or
    retalliation based on gender, ra,ce, nat1ionality, etlhnicity, disabilllity, religion, age or any other status protected under
    applicabl,e lla,w; an.di ,dla,ims for viollat1ion of any federal! or state statute or oommon 11aw or regulation .

    3.      Claims Not Covered by This Agreement

    Tlhe Program does not apply to or cover daims for work;ers' oompensation or unempl oyme nt compensation benefits;
    any cniminall oomplaint or related oriminal proceeding; or daims based upon an assoc1iate pension or benefit plan that
    ,c ontains an arbitrati on or otlhernon -judioial resol'u tion proced ure, in which case the provisions ofthatp!lan shall! app!l y.
    Also, this Program wil ll not applry to any olaims that are ,expresslly covered by a collective bargaining agreement, in
    wh ich case the tenms, oonditions and procedu res of that colllective barga ining agreement will oontroL

    E~ther party may, at t heir option, seelk emergency injunctive relief under Californ ia Code of Civill Prooedur,e Section
    1281.8 in a court of competent jurisdiction for any cla im or controversy anising out of or r,ellated to the unautlhorizied
    use, d isclos ure or misappro priation of the oonfidential andVor proprietary infonmation of eitlher party. For ,example
    the Company may use t h e court system to s,eelk emerg:ency injunctive relief to pr,event disdosure of its confidential! or
    propriety information or trade secir,ets . Similarlliy, the Associate may elect to use the oourt system to seek emergency
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         inj unctive relief to protect t he Associate' s own inventions or trade secrets, or to stop t he Company from all,egedlly
         interfening witlh tlhe Assm:ffate' s employment with anotlher company or other lawfulll aotiv1
                                                                                                      ity after empll oyment .

        Nothing in this Progiram will pr,eclud,e tlhe p,a rties from agree ing to resoll~e claims t hat ar,e otlherwise not ,covered by
        the Agr,eement pursuant to the provisions of t he Agreement.

   4,.           Goverini1n g law and Damages R.eooverable under the Program

                 4.1..    lnterstart e Comme11oe and the federal Arbitrationr Act

                 Assm:iate acknowledges that the Company is engaged in transactions involving interstate commerce. Ex.o ept as
                 prov1i d,ed ,el:Sewlhere in tlh is Program, or as required by law, the Federalll Ar1bftrat1
                                                                                                           i on Act shalll gov,e m tlhe
                 interip:retation,.,enforoement and all prooeed ings pursuant to t!his Program.

                 4. 2..   Applicable Law for Resolving Claims

                 Alli ar1bitrations cov,ered by tlh is Program slhall be adjud icated in acoordance with the applicable state or federa l
                 law which wou ld be applied by a United States District Court sitting in the ,c ity where tlhe dispute arose or, if
                 the dispute involves a dispute ov,er a contract that des iginates jurisdiction or venu:e, the location desigJnated by
                 the oontract at issue.

                 4.3.     obligation to Satisfy   Federa I and State Condiit ions: P11eeedent on ,daims.

                 Botlh parties must oompll:y witlh anry appl'icablie conditiions preoedent to fill ing a olaim under state or federall law.
                 For ,example, an Associate must ,c omply w1ith the appl icable deadlines for fil'ing a ,charge of di5criminatiion w1ith
                 any f,ederal, state or loca l agency r(su:ch as the Equal Employment Opportunity Commission or the Fa ir
                 Employment and Housing Commiss ion, or other oomparable State or Munidpa,11agencies); and filling such a
                 dharge is a p:rer,eq uisite to filling a daim under this Program for anry claim in whidh the applicabl,e law requir,es
                 a charge to be filed with a fed eral!, state or loca l oomm ission . Sim il'arly, if any su:dh prerequis ite applies to a
                 daim tned by tlhe Company, tlhen Company must satisfy it before filing a daim unde r this Program.

                 4.4.     Rem edi.es and the Statute of limitations

                 The ar1bitrator shalll app ly tlhe same substantive 11aw, with the same statutes of !limitations and same remedi,es
                 that woulid apply if the claims were brought in a court of l aw.1




   5.            Waiver of Right to Jury

   By entering into the Agr,ee ment under this Progiram, the Company and Associate each !k nowingly and voluntari ly
   waive any and al ll rights tlhey have und,er law to a trial befor,e a jury or before a judge in a ,court of law. The Company and
   Associate eadh understand that they ar,e givling up no substantive rights.

   6.            The Arbitration Process

   Arbitration und,e r this Program shall be before a singllie ar1bitrator in the county in which tlhe dispute arose and will be
   adlminister,ed in accordance with the applicable ar1b~tration rules and procedures of the American Ar1bitratiion
   Association (AAA) or anotlher altemative dispute resolution (ADR) provider selied ed by the parties ,(exce pt where th e
   AAA or other A DR provider's ru les ar,e contrary to app licable state or federa I 1aw )r, and Ca,I ifom ia Co de of CMI Pro oedur,e
                                                                                           1




   Section 12 80 et seq.

   7.         Procedures For Selecting an Arbitrator

   The part1ies shall use one ar1bitrator onll:y . ~he ADR provider shall provide the parties witlh a list of proposed arbitrators .
   Upon reoeiving tlhe ft rst list of propose di arbitrators, th e parties will stri Ice those arbitrators tlhey do not want to hea r
   th e dispute and ADR provider can ,choose an ar bitrator from those on tlhe list not stnidken by one of tlhe parti,es. n the
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   event t he parties ,ca nn ot agree to an a r1bit rntor from tlhe first ll'ist prese nted by the AD R provide r, tlhe pa rtlies wilCI request
   a second llist from wlhich to ma k!e t he ir strikes a nd attem pt to choose an arbit rator. If no arbitrator is :se!l ected afte r tlhe
   parties hav,e made t he ir :strikes o n the second list, the ADR provide r s hall appoint a n a r1bit rator.

   If, afte r arbitration commences, an a r1bitrat or ,ca nn ot serve for whateve r reason,. tlhe n the ADR. provide r wm pre:s,e nt t he
   parties a new list fro m which to ma k!e t he ir st rikes :so t hat a rep!l:a.oeme nt ca,n be ,chosen and t he :same prooedur,e as
   detaill!ed in tlhe pre cedin g paragira ph :s halll be followed to select the re pllla.oeme nt .

            Repre•s entati:on

   Each party may be rep rese nte d by a n attorne y at a ny a rbitrat ion oovered by th is Program .

   9.       Fees and Costs

   The Com pa ny :s hall pay al ll oosts 1.miquel:y attrib utabl'e to a rlb~tratio n, including tlh,e adm inistrative f,e es a nd ,costs of the
   a r1b~t rator (unless the .Associat e vo luntanfly opts. to pay up to one -ha lf of the fees a nd exlPenses). !Each party sha ll pay
   th eir own ,c osts. (indliuding w1it hout limitation ex1Pert witness fees) a nd attorne y fees, if a ny, unll'ess th e a rb it rator rul es
   othe rwi:s,e . If t he law app licable to t he cla im(s), being arbit rate d, o r a ny agreem ent, affo rds th e prevailin g party
   attorneys' fees and costs, the n the arbitrato r sha lll appl¥ the same sta ndards a court wou ld a pply t o awa rd such
   attorneys' f,e es o r ,costs . Ass ociates s ha ll not be required to pay any fee o r cost that they wo uld not be r,e quire d t o pay
   in a :state o r fe de ra I ,court a ction.

   10.      msoovery

   The part11es will be entitle d t o e ngage in tlhe fiull range of d iscove ry t hat wo uld be availlab l'e under app!licab!le stat e o r
   fe de ral! law.

   11.      DisposiUve Motions

   The a rbitrator willl have the authority to oo ns ide r a nd grant motions dis p o:sitive of all or pa rt of a ny dla im, using th e
   :standa rds gove rning such motions unde r tlhe Fede ral Rul,e s of Civil Proce dure o r applicable :st ate law . This indudes
   mot11on s of :summaryjudgme nt, whidh, if gra nte d, a ll!ow a pa rty, prtorto the a rbit ration, to ,e ither (1) hav,e all o r part of
   th e othe r party's claim dismissed or (2) o bta in an affirmative find ing on a d aim brought by that pa rty.

   12.      ~


   Arbit ration unde r this Program will be in the ,county where the Asso ciate wo rlke d at the tim e tlhe d isp ute arose .
   The arbitration wflll be conducte d at a site mutua By agreed upon by the parties after due ,conside ration of issues s udh
   as conve nie nce t o the parties and witnesses a nd costs of th e facilities . lif t he parties ca nnot agree on s uch :s it e, the ADR
   provide r sha lll designate a !lo cation after giiving due conside rat ion of issu es such as conv,e nie nce to the pa rt11es and
   witnesses a nd costs of the facilities.

   13.      Exd usive R.e m edy

   For cll a,im s ,cove re d by tlh is Program, a rbitration on an ind ivitduall basis is t he parties' exclusive r,e medy . Th e a r1bit rator' s
   authority to re:s,o lve claims a nd ma k!e written aw ards is Iim ited t o cla ims between the Company a nd tlhe As:s,o of ate o nly.
   Only a ,court can interpret tlhe scope and a ppl'ication of this class, con sollidat e d, oo llectiv,e or represe ntative actio n
   waiver. In the ,e ve nt t hat tlhe wa iv,e r is found to be unenforceable o r unlawfull, the onl:y forum for such an action is tlhe
   fe de ral! or stat e court in tlhat jurisd ictio n. Othe r tha n the wa ive r, o nly t he a r1b~trator can inte rpret the scope and
   application of tlhe re ma inde r of tlh is Program a nd the Agr,e eme nt. The ar1bit1rator sha Ill have no powe r to vary or jgnor,e
   th e terms of this Program or tlhe Agreeme nt a nd :sh all be bound t o fo ll!ow the a ppl'icab!l!e fe de ra l or st ate law in r,e ndening
   a decision a nd, whe n appropriat e, d eV11sing a reme dy on t he arbitrate d dlaim.


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    The arbitrator's award is to be in wr1iting,. w1ith reaso ns given #:135
                                                                       #:746and evidence cit:ed for the award . Tlhe opin ion shou ld be
    issued with in 30 days from the late r of the date on wh ich the arbitration hea1ring co m:: 1:u:des or the date on which po st-
    hea ring briefs (if appl icabl,e )1are received. Any court of competent Jurisd iction may e nte r judgime nt upon the award,
    e ithe r by (1) confirming th e award,. or (2.) vacating, modify1ing, or correcUng th e award on any giround referre.d to in the
    F,e deral Ar1bitratio n Act or Callli fom ia Code of Ofvilll Procedure Section 1286 et seq .

     14 .    Appeal

     Subject to tJhe limitations set forth in Section 13 above,. the parties reta in their right to appealll tJhe arb itrator's decis ion
     in a court of lla w according to the standard for appelllate review set forth in the Fed,e ral Ar1bitrat1ion Act or applicabl,e
     state a r1bitration lla w.

     16..     Mi!sceHaneous Tennis

                1 6.1.   Consideration

                In addition to any other consideration that may exJist for the agreement to arbitrate on an individual basis,
                eadh party's mutualll promise to resol:ve cla ims and controversies by arbit:ration on an individual basis in
                accordance Wlith the prrovisi ons of t his Program and tJhe Agreement between the parties ,c onstitutes
                consideration for tJhe Agreement. 1.Jkew ise, Associate adm owledges that h is.~ her ,c ontinued emp!Ioyment w ith
                the Company after r,e ce iving notice of tlhis Program (and any amendments to the Program) w iUalso constitute
                consideration for the Agreement (and any modifications to tJhe .Agreement)i and suclh continued ,e mployment
                willl de monstrate acceptance of the provisions of this Progra m.

                16.2.    Not an Agreement of Continued Employment

                Tihe agreement to ar1bitrate (as set fortJh in the Program and tJhe Agreement) is not, and shall not be ,c onstrued
                to creat e, a ,c ontract of continue d employment, exlPress or imp'.lied, nor shalll this Program or tlhe Agreement
                be construed in any way to alter the Associate's status as an e mployee at w1m, permitting e itlhe r the Associate
                or th e Company to t e rminate the employment r,e l'a1tionship at anytime, wit:h or without ,c ause or advance notice.

                16.3.    Term, Modification and Revocation

                Tihe parties' agreement to arbitrate shaU survive the e mployer-e mployee rella tionship between the Company
                and the Associate and shall .a,pp lyto any cove red d aim whe ther it: arises or is ass,e rted during or afterte:rm ination
                of the Associate's ,e m ployment wit:h the Company or tJhe exlPfration of any be nefit plan. No emp loyee of
                Company ca,n orally amend, modify or change the te rm5 of this Program. Tihis Program ,c an be mod ified or
                revoked in wniting only by t he Company's corporate general counse l or clhief human r,e sou rces officer. Such
                modification or revocation willl only take place with 14 days' notice to the Ass,ociates . !Furth e r, any modification
                or revocation willl not apply to any claim t hat has a lready been filed under this Program or any dharge that has
                been filed with any fed,e ral, state or lo,call agency to satisfy tJhe federa l and/or state conditions precede nt for
                empl1oyment-r,e late d claims. The parties specificall,y agree that the Company w1illl not be considered to have
                knowledge of any actualll, potentialll, or prospective da,im unle ss such d aim has been filed und,e r this Program
                or a dharge has been filed to satisfy tJhe federal and/or state conditions precedent for ,e mployme nt-related claims.

                16.4.    Severabilirty

                If any provision of tJhis Program or tJhe Agreement is adjudged to be void orotherrwise unenforceab!le, in who le or
                in part, su:dh adjudication s hal II not affectthe va Ii d ity ofthe re mainder of the Program or Agr,e e ment .

                1 6.5.   Sole and Enti~e Agrieement

                Tihis Program document and tJhe Agreement constitute the compl'e te agireement of tlhe parties on tlhe subject
                of ar1bitration of dispurtes, except for any arbitration provision conta ined in any pension pl'a n, benefit plan, or

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          collllective bargaining agreement. This Program document and the Agir,ee m ent supersed,e any prior or
          contemporaneous oral or written agreeme nt or understanding on the subject.

          :Hi.6..   Effective Date

          llhis Dispute Reso lurtion Program is effective as of February 1 51, 2018.




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                        Exhibit 2
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             Pambakian, Rosette



                                                                                                                                                       2017-04-2817:13:22

                      How are you? I am worried about you.


                                                                                                                                                                            2017-04-2817:17:01

                                                   I'm ok I guess


                                                                                                                                                                            2017-04-2817:17:20

                                                   Everyone is losing it


                                                                                                                                                                            2017-04-2817:17:47

                                                   I'm just super scared of how this could play out for me


                                                                                                                                                                            2017-04-2817:18:19

                                                   Things were finally going well with work.


                                                                                                                                                                            2017-04-2817:18:23

                                                   And then this happens


                                                                                                                                                                            2017-04-2817:18:49

                                                   Money really is the root of all evil


                                                                                                                                                       2017-04-2817:21:10

                      Understandably so (that you are scared for how this will play out). When is this all
                      supposed to happen?


                                                                                                                                                       2017-04-2817:21:26

                      I am so sorry, Rosette.


                                                                                                                                                       2017-04-2817:23:02

                      Let me know how I can support you through this.




       CONFIDENTIAL                                                                                                                                                                  PLS0008348
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                        Exhibit 3
FILED: NEW YORK COUNTY CLERK 09/19/2019 10:00 AM                                                              INDEX NO. 654038/2018
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                                                                                     RECEIVED104  Page ID
                                                                                               NYSCEF: 09/19/2019
                                                             #:140
                                                             #:751
     Date:        Thu, 3Aug 2017 6:47:39 PM (UTC)
     Sent:        Thu, 3 Aug 2017 6:47:38 PM (UTC)
     Subject: Re: RE:
     From:        Rosette Pambakian <rosette.pambakian@gotinder.com >
     To:          Greg Blatt
     BCC:         rosette.pambakian@gotinder.com

    Hahaha.
    Stay. Get rid of the people who don't put what's best for the company first.                              .. we're all
    on the same page. Things aren't perfect but it's not difficult to make it better. Various external forces were
    causing chaos. They shouldn't be an issue anymore. Everyone just had a reality check and has put their heads
    back on straight, finally (except for you know who).
    Anyway, more to say in person one day.
    On Aug 3, 2017, at 2:25 PM, Greg Blatt <Grcg.Blatt@match.com > wrote:

    Absolutely.

    (What is it?)


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Thursday, August 3, 2017 1:23 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re:

    I bet. But you can cut through the bullshit. End of the day, what's right is right. Take everyone's emotions and personal
    agendas out of it. There's still just one right direction to go in. And you know what that is.

    On Aug 3, 2017, at 1:04 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

    I wish I could share with you some of the emails. It's all just so incomprehensible.




                                                                                                               MAT RAD00090673
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                                                                              #:142




Pambakian, Rosette

               James Kim;                                                                                              Rosette;


                                                                                                                                                    2016-12-07 01:59:27

                       How did your meeting with Greg go?


  James Kim                                                                                                                   2016-12-07 02:02:08

     Fine. Just board slide stuff.


                                                                                                                                                    2016-12-07 02:13:10

                       I love Greg Blatt


  James Kim                                                                                                                   2016-12-07 02:15:39

     He's a great business leader


                                                                                                                                                    2016-12-07 02:16:37

                       Well I don't know about that. Loi. I just love him


  James Kim                                                                                                                   2016-12-07 02:16:52

    I know. I'm totally not joking.


  James Kim                                                                                                                   2016-12-07 02:17:03

    I hope I am him one day


                                                                                                                                                    2016-12-07 02:17 :28

                       I hope I'm him one day too


  James Kim                                                                                                                   2016-12-07 02:17:43

    I don't doubt you will




                                                                                                                                                              PLS0008342
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BlattGreg@gmail.com

From:                            Rosette Pambakian <rosette.pambakian@gotinder.com>
Sent:                            Saturday, December 10, 2016 10:35 PM
To:                              Greg Blatt
Cc:
Subject:                         Re:


Well I don't know about you two but I just had a 90 minute massage and I feel amazing

--

Rosette Pambakian
VP Communications & Branding, Tinder
rosette@tinder.com




On Dec 10, 2016, at 3:48 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

Not fun when everyone wants to do a shot with the boss.

> On Dec 10, 2016, at 11:33 AM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:
>
> Sounds a bit drastic. This is nothing a Bloody Mary can't fix ;)
>
> --
>
> Rosette Pambakian
> VP Communications & Branding, Tinder
> rosette@tinder.com
>
>
>
>
>
> On Dec 10, 2016, at 10:51 AM, Greg Blatt <Greg.Blatt@match.com> wrote:
>
> Checking into an institution.
>
>> On Dec 10, 2016, at 10:08 AM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:
>>
>> Same. I literally can't get out of bed.
>>
>> --
>>
>> Rosette Pambakian
>> VP Communications & Branding, Tinder

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                                        #:145
                                        #:756
>> rosette@tinder.com
>>
>>
>>
>>
>>
>> On Dec 10, 2016, at 9:49 AM, Greg Blatt <Greg.Blatt@match.com> wrote:
>>
>> My head hurts.




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                 from: Rosette
                  enl: Saturday, December 10 2016 6:0 1 PM
                 To: Voice Mail                                               Rosette
                 Subject:

                 Good mornin g! Hope no one is as hung over as I am . Aboul last night...we should keep the hotel room anti cs lo
                 ourselves. It wou ld be bad if word gol out that greg came back to the room. So for his sake and ours let's keep that in
                 the vault. But by all means we can rehash it amongst ourselves as often as possible @ ob o




                  Confidential                                                                                      MAT _RAD00 288782
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                                        #:772

BlattGreg@gmail.com

From:                               Rosette Pambakian <rosette.pambakian@gotinder.com>
Sent:                               Saturday, July 22, 2017 6:12 PM
To:                                 Greg Blatt
Subject:                            Re:


Praise be. Already seeing posts on Instagram from influencers at the Surf Lodge. Instagram is an app where you can
upload photos and share with all of your friends and followers. Influencers are people with a high number of followers.

(Sorry. Couldn't help myself)

Have some more frosè pops for me. That shade of blue looks nice on you.


On Jul 22, 2017, at 2:59 PM, Greg Blatt<Greg.Blatt@match.com> wrote:

All coming together.



        On Jul 22, 2017, at 5:41 PM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:


        We call it swag.


        On Jul 22, 2017, at 2:37 PM, Greg Blatt <Greg.Blatt@match.com> wrote:


        Got my handouts.


        On Jul 22, 2017, at 5:05 PM, Rosette Pambakian
        <rosette.pambakian@gotinder.com<mailto:rosette.pambakian@gotinder.com>> wrote:


        My spies at surf lodge tell me you're having a great time talking to the attractive brand ambassadors. I
        expect that's the reason you haven't responded to my email yet ;)


        Heard great things so far. Pics are giving us good content for social. Go enjoy yourself and let me know if
        anything bad happens.




        On Jul 22, 2017, at 1:50 PM, Rosette Pambakian
        <rosette.pambakian@gotinder.com<mailto:rosette.pambakian@gotinder.com>> wrote:


        Too late. Already yelled.


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  From Lauren:


  So Surf Lodge is very strict about what activations we can and cannot have at Tinder Beach. Here's what
  we were able to negotiate:


  - Tinder Beach Flag
  - Tinder Jenga
  - Tinder Connect Four
  - Tinder Rose Pops Cart
  - Tinder Post Card photo activation
  - Tinder Boat photo opp
  - Tinder Tandem Bike Photo opp (back Beach)
  - Tinder Swag (Hats / Shirts) handed out
  - Tinder Pashminas handed out


  This sound right to you? All of these things there?


  On Jul 22, 2017, at 1:41 PM, Greg Blatt <Greg.Blatt@match.com<mailto:Greg.Blatt@match.com>>
  wrote:


  Um ... there are two little branded carts off in a corner. I'll take pictures. But don't yell at anyone
  because they're being very nice to me.




  --


  Rosette Pambakian
  Head of Marketing & Communications
  8833 Sunset Blvd. | Los Angeles, CA 90069<x-apple-data-detectors://1/0>
  rosette@tinder.com<mailto:rosette@tinder.com>




  On Jul 22, 2017, at 4:38 PM, Rosette Pambakian
  <rosette.pambakian@gotinder.com<mailto:rosette.pambakian@gotinder.com>> wrote:


  How so?



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  On Jul 22, 2017, at 1:30 PM, Greg Blatt <Greg.Blatt@match.com<mailto:Greg.Blatt@match.com>>
  wrote:


  Not much Tinder at Tinder Beach.




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BlattGreg@gmail.com

From:                              Rosette Pambakian <rosette.pambakian@gotinder.com>
Sent:                              Friday, August 4, 2017 12:03 AM
To:                                Greg Blatt
Subject:                           Re:


Daylight is overrated. I missed my flight. Still in NYC. Currently shutting down Lure after my 4th tequila soda. You are in
much better shape than I.


On Aug 3, 2017, at 11:49 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

Honestly I don't think I'll ever show my face in the daylight again.

> On Aug 3, 2017, at 10:34 PM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:
>
> You're only allowed in the video if you still have pink eye while we are shooting the scenes (and I'm sure you're still
gorgeous, even with an itchy swollen eye).
>
>
> On Aug 3, 2017, at 10:29 PM, Greg Blatt <Greg.Blatt@match.com> wrote:
>
> Although in a crowning achievement of an awesome few weeks I spontaneously developed an eye infection on
Tuesday which has progressed to the point that it is now swollen shut and itchy as Hell. Looking good. Feeling good.
>
>> On Aug 3, 2017, at 10:23 PM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:
>>
>> Do we own the building that Tinder is in? Or are we leasing? Need to know for filming purposes for the Tinder
Reactions shoot.
>>
>>




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                                                           #:778
     Date:     Tue, 1 Aug 2017 7:41 :50 PM (UTC)
     Sent:     Tue, 1 Aug 2017 7:41 :49 PM (UTC)
     Subject: RE: Initial Comments for Tinder all Hands
     From:     Greg Blatt <Greg.Blatt@match.com>
     To:       Rosette Pambakian

    2003?


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 12:41 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re: Initial Comments for Tinder all Hands

    You'd literally have to resurrect Steve Jobs and make him ceo for anyone to be excited about this.


    On Aug 1, 2017, at 3:35 PM, Greg Blatt <Greg.Blatt@match.eom> wrote:

    Are you being serious?


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 12:35 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re: Initial Comments for Tinder all Hands

    She's freaking me out. You might want to call off the search.



    Rosette Pambakian
    Head of Marketing & Communications
    8833 Sunset Blvd. I Los Angeles, CA 90069
    rosette@tinder.com
    818.314.8226


    On Aug 1, 2017, at 3:28 PM, Greg Blatt <Greg.Blatt@match.eom> wrote:

    Great. Thanks,-

    From:
    Sent: Tuesday, August 1, 2017 12:26 PM
    To: Greg Blatt <Greg.Blatt@match.com>; Rosette Pambakian <rosette.pambakian@gotinder.com >
    Subject: Re: Initial Comments for Tinder all Hands

    I think we can change the tone a bit in this.

    Frankly, I read it multiple times and still time the message a bit confusing. I guess you are trying to accomplish
    multiple goals in this message, maybe you could focus on one and move out some others to be communicated
    later.

    If this message to Tinder internal only, I suggest you focus on Tinder. Maybe you could you start with the
    history of Tinder. How you believed in them, when no one else did. How you gave all Tinder has needed, either
    it is capital or anything else, ultimately to your devotion full time as CEO of Tinder. And now you are feeling


                                                                                                  MAT RAD00090680
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                470                            Document
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                                                        #:779
    it is capital or anything else, ultimately to your devotion full time as CEO of Tinder. And now you are feeling
    more positive than ever about Tinder and you want to give yourself a little break that you so deserve ...

    Our biggest concern and main objective is to minimize risks of destabilizing the team at this moment from this
    shocking announcement. We've all worked so hard and came so far, it would traject to see destabilization of a
    strong but still fragile team, even an exodus exists, in the worst case scenario. Snap is calling every single
    developer on our Android team. Riot Games and Tesla in LA have also started targeting our engineering team.
    We need to instill confidence and stability to our still newly formed and transformed team. You, as the leader,
    need to instill that confidence and conviction at this moment.

    Please feel free to call me if you would like to discuss further.



   -On Tue, Aug 1, 2017 at 11:51 AM Greg Blatt <Greg.Blatt(l1;match.eom> wrote:
      Yup. l agree.

      ls there anything else I'm missing? -

      From: Rosette Pambakian [mailto:roscttc.pambakian@gotindcr.eom]
      Sent: Tuesday, August 1, 2017 11:34 AM
      To: Greg Blatt <Grcg.Blatt@match.com>
      Cc:
      Subject: Re: Initial Comments for Tinder all Hands

      It's good. Strong finish. They'll probably ask what type of person you're looking for. It's important to stress
      that you aren't leaving until the optimal situation presents itself, and that you will get buy-in from the exec
      team. Otherwise it's going to be Operation Chris Payne Ejection Plan 2.0



      Rosette Pambakian
      Head of Marketing & Communications
      8833 Sunset Blvd. I Los Angeles, CA 90069
      rosette@tinder.com
      818.314.8226


      On Aug 1, 2017, at 2:25 PM, Greg Blatt <Grcg.Blatt@match.com > wrote:

      See attached. Still refining. -       your thoughts would be welcome.


      <Tinder All Hands Remarks 8-1-17 .docx>




                                                                                                   MAT RAD00090681
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                      Exhibit 14
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NYSCEF DOC.  2:19-cv-07046-MWF-FFM
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                471                                 Document
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                                                             #:170
                                                             #:781
     Date:      Tue, 1 Aug 2017 11 :52:07 PM (UTC)
     Sent:      Tue, 1 Aug 2017 11 :52:05 PM (UTC)
     Subject: RE: RE: RE: RE:
     From:      Greg Blatt <Greg.Blatt@match.com>
     To:        Rosette Pambakian

    01<. On earnings prep call right now. Will call when I'm off.


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 4:51 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re: RE: RE: RE:

    Can you call me when you leave the office today. No big rush. Just-being weird and saying weird things.

    On Aug 1, 2017, at 7:35 PM, Rosette Pambakian <rosette.pambakian@gotinder.com > wrote:

    Haha. Perfect. I'm in.

    On Aug 1, 2017, at 7:34 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

    l<eep talking. We'll break off and start a business where we rent out nice houses and have parties.


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 4:33 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re: RE: RE:

    I'm back in the office Friday. I'm w i t h - r i g h t now drinking tequila and talking about how much we love you.

    On Aug 1, 2017, at 7:24 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

    I doubt it. I think I have too much to do here. But I'm so tired. And I haven't even started to focus on earnings yet. When are
    you back here?


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 4: 23 PM
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re: RE:

    Thank God for that. Are you coming back to NYC tomorrow?

    On Aug 1, 2017, at 7:17 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

    But you'll never really be rid of me.


    From: Greg Blatt
    Sent: Tuesday, August 1, 2017 3:42 PM
    To: 'Rosette Pambakian' <rosette.pambakian@gotinder.com >
    Subject: RE:

    Appreciate it.


    From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
    Sent: Tuesday, August 1, 2017 3:33 PM




                                                                                                              MAT RAD00090678
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                                                            #:171
                                                            #:782
    To: Greg Blatt <Greg.Blatt@match.com>
    Subject: Re:

    You did well. If you didn't know already, everyone has a lot of respect for you. You're crazy smart and talented and you care.
    We are lucky to have you. Just wish we can keep you longer. All will be good.

    On Aug 1, 2017, at 6:25 PM, Greg Blatt <Greg.Blatt@match.com> wrote:

    I feel sick.




                                                                                                               MAT RAD00090679
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                      Exhibit 15
FILED: NEW YORK COUNTY CLERK 09/19/2019 03:32 PM                                                                                         INDEX NO. 654038/2018
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                                                                                                                   RECEIVED NYSCEF: 09/19/2019
                                                                            #:173

                                     Source                   Body                            Timestamp:   Timestamp:
                                                                                       1111   Date         Time          llllllilWlRIIII
                                                              Greg, Rosette and i     Read    11/15/2017   11/15/201 7               11/15/2017   11/15/201
                                                              would like to invite                         2:19:17                                7 2:21 :50
                                                              you to a drink this                          AM(UTC+O)                              AM(UTC+
      Rosette                                                 evening if You D                                                                    0)
      Pambakian
       -- -                                                   aren 't busy. It's a
                                                              school night we
                                                              know. But we'd like to.

                                                 -            GB - don't say no.       Read   11/15/2017   11/15/201 7               11/15/2017   11/15/201
                                                 26 Rosette   Our fragile hearts                           2:22:02                                7 2:22:14
                                                  Pambakian   can't take any more                          AM(UTC+O)                              AM(UTC+
      Rosette                                                 rejection                                                                           0)
      --
      ...
                                                 -            Unfortunately, I can't   Sent   11/15/2017   11/15/201 7
                                                 89 Greg      do tonight. Gladly do                        2:32:04
                                                              tomorrow night                               AM(UTC+O)
      Rosette                                                 though .
      .-.. -
      Pambakian
                                                                                                                                                                                                   #:784




                                                 -            We'll take it            Read   11/15/2017   11/15/201 7               11/15/2017   11/15/201
                                                 26 Rosette                                                2:33:45                                7 2:34:17
                                                  Pambakian                                                AM(UTC+O)                              AM(UTC+
      Rosette                                                                                                                                     0)
      --
      ..
       • .. II• ...   1.   ...   I




                                                 -            Great. Only reason I Sent       11/15/2017   11/15/201 7
                                                 89 Greg      always go home is no                         2:35:05
                                                              one ever asks me to                          AM(UTC+O)
      Rosette                                                 do anything. It's very
                                                              lonely.
       --- -
                                                                                                                                                               Case 2:19-cv-07046-MWF-FFM Document 23-2 Filed 10/15/19 Page 128 of 148 Page ID




                                                                                                                            GB_ 00098 (Native - Excerpt)
FILED: NEW YORK COUNTY CLERK 09/19/2019 03:32 PM                                                                                  INDEX NO. 654038/2018
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                                                                                                    RECEIVED NYSCEF: 09/19/2019
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      Participants    Source      From         Body                    Status   Timestamp:   Timestamp:   Delivered Delivered Read: Date Read:
                                                                                Date         Time         : Date    : Time               Time
                      iMessage:              Can you keep coming Read           11/16/2017   11/16/2017                       11/16/2017 11/16/201
      Greg (owner)                26 Rosette out to LA so we can                             4:44:51                                     7 4:45:03
                                  Pambakian do that at least once                            PM(UTC+0)                                   PM(UTC+
      Rosette                                a month?                                                                                    0)
      Pambakian


                      iMessage:                Yes.                    Sent     11/16/2017   11/16/2017
      Greg (owner)                89 Greg                                                    4:45:21
                                                                                             PM(UTC+0)
      Rosette
      Pambakian


                      iMessage:                Week.                   Sent     11/16/2017   11/16/2017
      Greg (owner)                89 Greg                                                    4:45:28
                                                                                             PM(UTC+0)
      Rosette
      Pambakian


                      iMessage:                Yay!!!                  Read     11/16/2017   11/16/2017                      11/16/2017   11/16/201
                                                                                                                                                                                          #:785




      Greg (owner)                26 Rosette                                                 4:45:41                                      7 4:46:38
                                  Pambakian                                                  PM(UTC+0)                                    PM(UTC+
      Rosette                                                                                                                             0)
      Pambakian


                      iMessage:                That was really good    Read     11/16/2017   11/16/2017                      11/16/2017   11/16/201
      Greg (owner)                             fun. I laughed really                         4:45:59                                      7 4:46:38
                                               really hard. “Greg,                           PM(UTC+0)                                    PM(UTC+
      Rosette                                  yeah this guy Greg.                                                                        0)
      Pambakian                                He calls me a genius
                                                       Really he
                                               does.” 😅😅😅

                      iMessage:                Love that story.        Sent     11/16/2017   11/16/2017
      Greg (owner)                89 Greg                                                    4:46:57
                                                                                             PM(UTC+0)
      Rosette
      Pambakian
                                                                                                                                                      Case 2:19-cv-07046-MWF-FFM Document 23-2 Filed 10/15/19 Page 129 of 148 Page ID
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      Participants    Source      From         Body                 Status   Timestamp:   Timestamp:   Delivered Delivered Read: Date Read:
                                                                             Date         Time         : Date    : Time               Time
                      iMessage:                I'm perfect          Read     11/16/2017   11/16/2017                       11/16/2017 11/16/201
      Greg (owner)                26 Rosette                                              5:36:41                                     7 5:36:47
                                  Pambakian                                               PM(UTC+0)                                   PM(UTC+
      Rosette                                                                                                                         0)
      Pambakian


                      iMessage:                What is going to       Sent   11/16/2017   11/16/2017
      Greg (owner)                89 Greg      protect me from                            5:38:15
                                               complete sustained                         PM(UTC+0)
      Rosette                                  deterioration once
      Pambakian                                showing up for work
                                               is no longer required?
                                                Oh my.
                      iMessage:                I’ll keep a scheduled Read    11/16/2017   11/16/2017                      11/16/2017   11/16/201
      Greg (owner)                             VTC ... that will help                     5:38:52                                      7 5:38:55
                                               you a little. But not                      PM(UTC+0)                                    PM(UTC+
      Rosette                                  much.                                                                                   0)
      Pambakian


                      iMessage:                Oh yeah. I'll stay   Sent     11/16/2017   11/16/2017
                                                                                                                                                                                       #:786




      Greg (owner)                89 Greg      sober for that.                            5:39:11
                                                                                          PM(UTC+0)
      Rosette
      Pambakian


                      iMessage:              I don't even want to   Read     11/16/2017   11/16/2017                      11/16/2017   11/16/201
      Greg (owner)                26 Rosette think about that. So                         5:39:40                                      7 5:40:03
                                  Pambakian depressing. Nothing                           PM(UTC+0)                                    PM(UTC+
      Rosette                                to look forward to                                                                        0)
      Pambakian                              anymore.


                      iMessage:                I am sure Ankur or     Read   11/16/2017   11/16/2017                      11/16/2017   11/16/201
      Greg (owner)                             Sean will wrangle into                     5:40:22                                      7 5:40:26
                                               a pseudo                                   PM(UTC+0)                                    PM(UTC+
      Rosette                                  responsibility that                                                                     0)
      Pambakian                                you’ll inevitably
                                               detest and wonder
                                               why you ever
                                               committed
                                                                                                                                                   Case 2:19-cv-07046-MWF-FFM Document 23-2 Filed 10/15/19 Page 130 of 148 Page ID
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                      Exhibit 16
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                                        #:788

BlattGreg@gmail.com

From:                              Rosette Pambakian <rosette.pambakian@gotinder.com>
Sent:                              Monday, December 4, 2017 11:10 AM
To:                                Greg Blatt
Subject:                           Re: RE:


Ok. We’ll call the Long Island medium....

On Dec 4, 2017, at 7:53 AM, Greg Blatt <Greg.Blatt@match.com> wrote:

30 years from now I’ll be a dead has-been.

From: Rosette Pambakian [mailto:rosette.pambakian@gotinder.com]
Sent: Monday, December 4, 2017 10:44 AM
To: Greg Blatt <Greg.Blatt@match.com>
Subject: Re:

30 years from now you still won’t be an old has-been. And we’ll all still be coming to for advice.

Thanks.



On Dec 4, 2017, at 7:40 AM, Greg Blatt <Greg.Blatt@match.com> wrote:

I just had a meeting with    on marketing. I think he’s in a very reasonable place and understands well what we have
and haven’t done. My understanding is he’s meeting with you on Wednesday. I’ve asked           to schedule time
together tomorrow so that I can walk you through what I walked him through and impart to you a few tidbits of wisdom
from an old has-been.




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                                    #:789




                      Exhibit 17
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                                                        #:179
                                                        #:790
     Date:     Sat, 30 Dec 2017 5:04:27 PM (UTC)
     Subject: Re:-bonus
     From:     Greg Blatt <Greg.Blatt@match.com>
     To:       Rosette Pambakian <rosette.pambakian@gotinder.com >;

    I figured. It's a good one.

    Sent from my iPhone

    > On Dec 30, 2017, at 12:01 PM, Rosette Pambakian <rosette.pambakian@gotinder.com > wrote:
    >
    > Thatiif™s none of my business anyway. Just really wanted to use that emoji.
    >
    >
    >
    > On Dec 30, 2017, at 8:33 AM, Greg Blatt <Greg.Blatt@match.com> wrote:
    >
    > He hasn't asked, by the way. Just tidying up after myself.
    >
    > Sent from my iPhone
    >
    > On Dec 30, 2017, at 10:59 AM, Rosette Pambakian <rosette.pambakian@gotinder.com wrote:
    >
    > That guy... t:YY0:0YD»ii€Dii™€"i. [
    >
    > Of course, anything for you GB.
    >
    > I hope youii€™ve already started planning your first LA trip of 2018.
    >
    > --
    >
    > Rosette Pambakian
    > Vice President, Marketing & Communications
    > rosette tinder.com <mailto:rosette@tinder.com >
    >
    >
    >
    >
    > On Dec 30, 2017, at 7:49 AM, Greg Blatt <Greg.Blatt@match.com wrote:
    >
    >Hey.
    >
    > Hope you had a merry Christmas.
    >
    > I told llllllllwhen he left that he'd be entitled to a discretionary bonus based on performance and impact of
    Select over rest of this past year. I don't think performance merits it, but I want to tie it up. Can you compile
    some basic stats - active cities, active male members, active female members, etc. I want to just be able to have
    Lisa give him a very dry declaration that based on current status, no bonus has been earned.
    >
    > No urgency, but first week back?
    >
    > Thanks.
    >
    >


                                                                                                  MAT RAD0009077 4
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    >
    > Sent from my iPhone




                                                                              MAT RAD00090775
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                      Exhibit 18
FILED: NEW YORK COUNTY CLERK 09/19/2019 03:32 PM                                                                                             INDEX NO. 654038/2018
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                                                              #:182

      Participants    Source      From        Body                                      Status   Timestam Timestam Delivered Delivered Read:          Read:
                                                                                                 p: Date  p: Time  : Date    : Time    Date           Time

                      iMessage:                                                         Read     4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                                                                                         5:17:17                                   5:42:45
                                  Rosette                                                                   PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                                  0)                                        0)
      Pambakian                   n


                      iMessage:               You should come. It’ll be fun             Read     4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                                                                                         5:17:26                                   5:42:45
                                  Rosette                                                                   PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                                  0)                                        0)
      Pambakian                   n

                      iMessage:               Badeen will be giving the opening         Read     4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                           remarks                                                       5:17:36                                   5:42:45
                                  Rosette                                                                   PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                                  0)                                        0)
      Pambakian                   n
                                                                                                                                                                                                     #:793




                      iMessage:            Guests will include Cher, Katie Couric, Read          4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                        Patrick Stewart, Sophia Bush, Rebecca                            7:23:08                                   7:48:59
                                  Rosette  Minnoff, Monica Lewinsky and a bunch                             PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia of other interesting people                                      0)                                        0)
      Pambakian                   n


                      iMessage:               I have a restraining order out on Katie   Sent     4/6/2018   4/6/2018 4/6/2018   4/6/2018
       Greg (owner)                      Greg Couric. She’s not allowed within 200                          7:49:41             7:49:36
                                              yards of me.                                                  PM(UTC+             PM(UTC+
      Rosette                                                                                               0)                  0)
      Pambakian

                      iMessage:               I’ll make sure she doesn’t touch you      Read     4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                                                                                         7:50:20                                   7:51:37
                                  Rosette                                                                   PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                                  0)                                        0)
      Pambakian                   n
                                                                                                                                                                 Case 2:19-cv-07046-MWF-FFM Document 23-2 Filed 10/15/19 Page 137 of 148 Page ID




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      Participants    Source      From          Body                                Status   Timestam Timestam Delivered Delivered Read:          Read:
                                                                                             p: Date  p: Time  : Date    : Time    Date           Time

                      iMessage:               Unfortunately I can’t change my plans. Sent    4/6/2018   4/6/2018 4/6/2018   4/6/2018
       Greg (owner)                      Greg Next time you’re in NY putting on a nice                  7:57:40             7:57:35
                                              event maybe send an invitation in                         PM(UTC+             PM(UTC+
      Rosette                                 advance?                                                  0)                  0)
      Pambakian

                      iMessage:                 You should just make an executive   Read     4/6/2018   4/6/2018                       4/6/2018   4/6/2018
       Greg (owner)                             decision and change your plans                          7:58:34                                   7:58:35
                                  Rosette                                                               PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                              0)                                        0)
      Pambakian                   n

                      iMessage:                 Unfortunately, can’t.               Sent     4/6/2018   4/6/2018 4/6/2018   4/6/2018
       Greg (owner)                      Greg                                                           9:23:47             9:23:42
                                                                                                        PM(UTC+             PM(UTC+
      Rosette                                                                                           0)                  0)
      Pambakian

                      iMessage:                                                     Read     4/7/2018   4/7/2018                       4/7/2018   4/7/2018
                                                                                                                                                                                                 #:794




       Greg (owner)                                                                                     1:42:05                                   1:42:12
                                  Rosette                                                               AM(UTC+                                   AM(UTC+
      Rosette                     Pambakia                                                              0)                                        0)
      Pambakian                   n

                      iMessage:                                                     Read     4/7/2018   4/7/2018                       4/7/2018   4/7/2018
       Greg (owner)                                                                                     1:42:21                                   1:42:36
                                  Rosette                                                               AM(UTC+                                   AM(UTC+
      Rosette                     Pambakia                                                              0)                                        0)
      Pambakian                   n

                      iMessage:               Looks like a blast. Let me know in    Sent     4/7/2018   4/7/2018 4/7/2018   4/7/2018
       Greg (owner)                      Greg advance next time.                                        8:11:33             8:11:37
                                                                                                        PM(UTC+             PM(UTC+
      Rosette                                                                                           0)                  0)
      Pambakian
                                                                                                                                                             Case 2:19-cv-07046-MWF-FFM Document 23-2 Filed 10/15/19 Page 138 of 148 Page ID
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      Participants    Source      From          Body                                 Status   Timestam Timestam Delivered Delivered Read:          Read:
                                                                                              p: Date  p: Time  : Date    : Time    Date           Time

                      iMessage:                 Now that I know you’re not opposed to Read    4/7/2018   4/7/2018                       4/7/2018   4/7/2018
       Greg (owner)                             going to great events I’ll let you know in               8:16:16                                   8:18:48
                                  Rosette       advance next time                                        PM(UTC+                                   PM(UTC+
      Rosette                     Pambakia                                                               0)                                        0)
      Pambakian                   n

                      iMessage:                 Great.                               Sent     4/7/2018   4/7/2018 4/7/2018   4/7/2018
       Greg (owner)                      Greg                                                            8:19:03             8:19:06
                                                                                                         PM(UTC+             PM(UTC+
      Rosette                                                                                            0)                  0)
      Pambakian
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BlattGreg@gmail.com

From:                             Lisa J. Nelson
Sent:                             Monday, May 15, 2017 2:39 PM
To:                               Greg Blatt
Subject:                          timely


Rosette is on board to play a bigger role post       departure. She said she is fine working with you and has always had
a good relationship and just wants to get back to business as usual.
So we need to resolve timing/messaging to rest of team.




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BlattGreg@gmail.com

From:                             Greg Blatt
Sent:                             Wednesday, October 18, 2017 9:57 PM
To:                               Rosette Pambakian
Subject:                          Re: Productive


It's a good investment for the company. You're going to do great.

> On Oct 18, 2017, at 5:50 PM, Rosette Pambakian <rosette.pambakian@gotinder.com> wrote:
>
> They were. Thank you for everything - for helping me so much. It means a lot and I know there was a much easier
route that would have resulted in much less work for you. I realize that and I appreciate what you've done for me. I
promise I'll do my best to make you not regret it.
>
>
> On Oct 18, 2017, at 5:22 PM, Greg Blatt <Greg.Blatt@match.com> wrote:
>
> Those were productive meetings today. I think.
>
>
>
>
>




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BlattGreg@gmail.com

From:                             Rosette Pambakian <rosette.pambakian@gotinder.com>
Sent:                             Saturday, November 4, 2017 1:57 PM
To:                               Greg Blatt
Cc:
Subject:                          Re: Events -


We did a whole thing with him at Sundance a couple years ago. He's a fun guy. Most of the opps he sends our way aren't
worthwhile, but I wouldn't mind skiing at Sundance next year ;) Greg you should come this time.


On Nov 4, 2017, at 10:31 AM, Greg Blatt <Greg.Blatt@match.com> wrote:

Awesome. He's a pain in the ass. But he's my pain in the ass. And he's very funny.

On Nov 4, 2017, at 1:28 PM,                 @gotinder.com<mailto:                    @gotinder.com>"
<             @gotinder.com<mailto:                 @gotinder.com>> wrote:

Hey!
I’ve emailed with him several times over the past two years for various different opportunities and had several calls.

He emailed again yesterday, and I’ve responded :)



Sent while swiping...




On Nov 4, 2017, at 17:08, Greg Blatt <Greg.Blatt@match.com<mailto:Greg.Blatt@match.com>> wrote:

I think you guys know my friend,                 ? He’s been bugging me to get him involved in Tinder events. I don’t
know that there is anything we do that he could be involved in, or that even if there was you guys would want to use his
company. And those decisions are totally up to you guys. But as a favor I’d love it if you could connect with him at some
point and let him know that you’ll think of him, or at least bullshit about things you could do together. Is that possible?
Let me know




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    Re: Today's Call

    From:
    Sean Rad <sean@gotinder.com>
    To:
    Storm Duncan <storm@jefferies.com>
    Date:
    Tue. 18 Apr 2017 14:30:34 -0400


    Fuck him
    We're at war.
    We will destroy him
    This is going to be the biggest lesson of his life.
    He will be a changed man ... excited for him :).

    Sean Rad
    Founder & Chairman, Tinder

    From : Storm Duncan <Storm@Jefferies.com >
    Sent: Tuesday, April 18, 2017 11:28:18 AM
    To: Sean Rad
    Subject: RE: Today's Call

    Fuck this is going to be painful.


    From : Sean Rad [mailto :sean@gotinder.com]
    Sent: Tuesday, April 18, 2017 11:08 AM
    To: Storm Duncan <Storm@Jefferies.com >
    Subject: Re: Today's Call

    He was never on the cal invite. He's either delusional or lying.

    Sean Rad
    Founder & Chainnan, Tinder

    From : Storm Duncan <Storm @Jefferies.com >
    Sent: Tuesday, April 18, 2017 11:07:31 AM
    To: Sean Rad
    Subject: RE: Today's Call

    Also, was he ever on the calendar invite or just his assistant?


    From : Sean Rad [mailto:sean @gotinder.com]
    Sent: Tuesday, April 18, 2017 11:05 AM
    To: Shiva Kumar <shiva@Jefferies.com>; Storm Duncan <Storm @Jefferies.com >; Korman, Martin <mkorman @wsgr.com >
    Cc: imateenl @gmail .com
    Subject: Re: Today's Call




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